APPENDIX 2
IN THE MATTER OF AN ARBITRATION BEFORE A TRIBUNAL CONSTITUTED IN
    ACCORDANCE WITH A MANAGEMENT SERVICES AGREEMENT DATED
     SEPTEMBER 9, 2011 AND THE UNCITRAL ARBITRATION RULES 2010




                                 BETWEEN

GLOBAL GAMING PHILIPPINES LLC (AS ASSIGNOR)
GGAM NETHERLANDS B.V. (AS ASSIGNEE)

                                                                  CLAIMANTS

                                    AND



BLOOMBERRY RESORTS AND HOTELS INC.
SURESTE PROPERTIES, INC.

                                                                 RESPONDENTS




                    PARTIAL AWARD ON LIABILITY

                            SEPTEMBER 20, 2016




                            The Arbitral Tribunal:

                     Mr. R Doak Bishop, Esq. (Arbitrator)

                     Mr. Michael Hwang, S.C. (Arbitrator)

                 Dr. Andres Rigo Sureda (Presiding Arbitrator)




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I. PARTIES

  A. Claimants

  1.   The Claimants are Global Gaming Philippines LLC (as assignor) and GGAM
       Netherlands B.V. (as assignee) (respectively "GGAM" and "GGAM
       Netherlands" and collectively the "Claimants").

  2.   The Claimants are represented by:

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       Igor V. Timofeyev
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B. Respondents

3.   The Respondents are Bloomberry Resorts and Hotels, Inc. ("BRHI" or
     "Bloomberry") and Sureste Properties, Inc. ("Sureste") (collectively the
     "Respondents"). The Respondents are owners of the Solaire Resort and Casino,
     an integrated casino hotel entertainment complex located in Paranque City,
     Metro Manila, Philippines (the "Solaire")

4.   The Respondents are represented by:

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     Elitza Popova-Talty
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            rclomibao@picazolaw.com




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  5.   The Claimants and the Respondents are collectively referred to as the "Parties".
       The different Claimants and the different Respondents are, for practical
       purposes, treated as one entity with identical rights and liabilities. The Parties
       have proceeded on the basis that they are either jointly entitled or jointly liable
       (e.g. if the Claimants are successful with a claim, both of the Claimants will be
       jointly entitled and, conversely, both of the Respondents will be jointly liable for
       that claim; similarly, if the Respondents are successful with a counterclaim, both
       Respondents will be jointly entitled and both Claimants will be jointly liable for
       that counterclaim). Since neither the Claimants nor the Respondents have sought
       to distinguish or apportion entitlement or responsibility as between themselves,
       this award proceeds on the same basis.

II. PROCEDURAL HISTORY

  A.   Proceedings following the Interim Measures Hearing

  6.   The procedural history of the present proceedings has been set out at paragraphs
       6 — 23 of the Tribunal's decision dated December 9, 2014 following an interim
       measures hearing from October 20 — 22, 2014 in Washington, D.C. (the
       "Decision"). The Decision also sets out other relevant background details of the
       dispute, which will therefore not be repeated in this Partial Award on Liability
       (the "Liability Award").

  7.   The Liability Award adopts the abbreviations set out in the Decision, and sets
       out the procedural history following the interim measures hearing.

  8.   On September 8, 2014, the Claimants filed their Statement of Claim ("SOC").

  9.   On December 7, 2014, the Respondents filed their Statement of Defense along
       with (among others) the following documents:

       (a)   Declaration of Mr. Anthony See Toh, dated December 5, 2014 ("See Toh
             Declaration").

       (b)   Declaration of Mr. Arcan L. Lat, dated December 5, 2014 ("Lat
             Declaration").

       (c)   Declaration of Mr. Cyrus Sherafat, dated December 5, 2014 ("Sherafat
             Declaration").



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     (d)   Declaration of Mr. Donato C. Almeda, dated December 5, 2014 ("Almeda
           Declaration").

     (e)   Declaration of Mr. Enrique K. Razon, Jr., dated December 7, 2014
           ("Razon Declaration").


     (f)   Declaration of Mr. Fritz Jerrold Lacap, dated December 5, 2014 ("Lacap
           Declaration").

     (g)   Declaration of Mr. Jose Oscar 0. Salvacion, dated December 7, 2014
           ("Salvacion Declaration").

     (h)   Declaration of Mr. Leo D. Venezuela, dated December 7, 2014
           ("Venezuela Declaration").

     (i)   Declaration of Ms. Lorraine Koo Mann Loo, dated December 4, 2014
           ("Lorraine Declaration").

     (j)   Expert Report of Ben Lee, dated December 7, 2014 ("Lee Report").

     (k)   Expert Report of Jim Kilby, dated December 6, 2014 ("Kilby Report").

     (1)   Expert Report of Roy Wheatley, dated December 7, 2014 ("Wheatley
           Report").

10. On February 2, 2014, the Respondents filed their amended Statement of Defense
    and Counterclaims ("Defense").

11. On June 15, 2015, the Claimants filed their Reply ("Reply"), along with (among
    others) the following documents:

    (a)    Declaration of Mr. Andrew M. Klebanow, dated June 15, 2015
           ("Klebanow Declaration").


    (b)    Declaration of Mr. William P. Weidner, dated June 14, 2015 ("Weidner
           Declaration")".

    (c)    Declaration of Mr. Bradley H. Stone, dated June 15, 2015 ("Stone
           Declaration")'.




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    (d)    Declaration of Mr. Garry W. Saunders, dated June 15, 2015 ("Saunders
           Declaration")"".

    (e)    Declaration of Mr. Jonathan D. Rein, dated June 13, 2015 ("Rein
           Declaration")'.


    (f)    Declaration of Mr. Michael D. French, dated June 13, 2015 ("Rein
           Declaration")'.

    (g)    Declaration of Mr. Michael D. Often, dated June 15, 2015 ("Otten
           Declaration")'.

    (h)    Expert Report of Professor Anthony Lucas, dated June 15, 2015 ("Lucas
           Report")'.

    (i)    Expert Report of Mr. William Timmins, dated June 15, 2015 ("Timmins
           Reporff .

    (j)    Expert Report of Professor Guhan Subramanian, dated June 15, 2015
           ("Subramanian Report")".

    (k)    Expert Report of Professor Joseph P. Kalt, dated June 15, 2015 ("Kalt
           Report")".

    (1)    Expert Report of Mr. Dean M. Macomber and Mr. Stephen J. Karoul,
           dated June 15, 2015 ("Karoul-Macomber Report").

    (m)    Expert Report of Mr. Simon Oaten, dated June 15, 2015 ("Oaten
           Report").

12. On September 4, 2015, the Respondents filed their Rejoinder ("Rejoinder")
    along with the following documents:

     (a)   Supplemental Statement of Mr. Enrique K Razon Jr dated August 28,
           2015 ("Razon Supplemental Declaration").

     (b)   Supplemental Declaration of Mr. Donato C Almeda dated September 3,
           2015 ("Almeda Supplemental Declaration").




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     (c)   Supplemental Declaration of Ms. Lorraine Koo Mann Loo dated
           September 2, 2015 ("Koo Supplemental Declaration").

     (d)   Supplemental Declaration of Mr. Fritz Jerrold Lacap dated September 4,
           2015 ("Lacap Supplemental Declaration").

     (e)   Declaration of Peter Nicholas Boekel dated September 1, 2015 ("Boekel
           Declaration").

B. Procedural Orders issued since the Interim Measures Hearing

13. The Tribunal also issued the following procedural orders since the Interim
    Measures Hearing:

     (a)   Procedural Order 5, dated January 16, 2015 ("PO 5"), denying in part the
           Claimants' request dated November 12, 2014 that the Tribunal make a
           determination that the Claimants may disclose Confidential Information
           (as defined in PO 3) to nine individuals.

     (b)   Procedural Order 6, dated April 27, 2015 ("PO 6"), which resolved that
           the document production period was closed as of April 15, 2015; that the
           Parties were to file their principles on privilege and the application of
           those principles in respect of documents on their privilege log; and that the
           Claimants and the Respondents were to file their Reply and Rejoinder on
           June 15, 2015 and August 14, 2015, respectively.

     (c)   Procedural Order 7, dated May 15, 2015 ("PO 7"), which resolved the
           Parties' dispute as to whether some documents on each side's privilege log
           were properly listed as such, and denied both the Respondents' request to
           appoint an independent expert to review the Claimants' privilege log and
           the documents contained therein as well as their request to reconsider the
           briefing schedule.

     (d)   Procedural Order 8, dated July 1, 2015 ("PO 8"), which denied the
           Respondents' request to appoint an independent expert to review the
           Claimants' privilege log and the documents contained therein, and granted
           the Respondents' request for an extension of the deadline for the
           submission of its Rejoinder from August 14, 2015 to September 4, 2015.




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(e)   Procedural Order 9, dated July 23, 2015 ("PO 9"), which denied in part
      (and allowed in part) the Respondents' request for production of certain
      categories of documents listed on the Claimants' privilege log.

(f)   Procedural Order 10, dated August 3, 2015 ("PO 10"), which allowed
      both Parties to file further submissions on the Respondents' request to
      bifurcate the proceedings; and denied the Respondents' request for
      production of reports reviewed by but not relied on by the Claimants'
      expert Mr. Oaten.

(g)   Procedural Order 11, dated August 12, 2015 ("PO 11"), which granted the
      Respondents' request to bifurcate the proceedings and allowed the
      Respondents to submit their Rejoinder as to damages by December 15,
      2015.

(h)   Procedural Order 12 ("PO 12"), dated September 17, 2015, set out the
      program for the Hearing on Liability.

(i)   Procedural Order 13 ("PO 13"), dated October 9, 2015, denied the
      Respondents' request to postpone the Hearing on Liability scheduled to
      begin on October 15, 2015.

(j)   Procedural Order 14 ("PO 14"), dated December 12, 2015, denied the
      Respondents' request to appoint a special master and indicated that it
      would address in this Liability Award the allegations made by the
      Respondents at the closing of the Liability Hearing.

(k)   On December 21, 2015, the Claimants requested that PO 5 be amended in
      order to reflect the fact that Ms. Sandra Yu had replaced Mr. Eric Su. As
      explained by the Claimants, Mr. Su no longer worked for GGAM or
      Cantor Fitzgerald ("Cantor") and had no access to Confidential
      Information regarding this arbitration, and Ms. Yu bore the same title as
      Mr. Su and provided direct support to Mr. Jon Rein. The Respondents
      expressed no objection to this change. The Tribunal amended PO 5 on 28
      December 2015.




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C. Hearing on Liability

14. On October 15, 2015, the Tribunal commenced its merits hearing on liability
    (the "Liability Hearing") at Maxwell Chambers, Singapore, and concluded the
    Liability Hearing on October 24, 2015.

D. Interlocutory Matters

15. For completeness, the Tribunal highlights the salient circumstances surrounding
    interlocutory matters in relation to the production of documents and the
    Claimants' privilege log, and the filing of documents by and between the
    Parties.

E. Privilege Log

16. On April 10, 2015, the Claimants sent to the Respondents their privilege log
    ("Privilege Log"). The Respondents wrote to the Tribunal on April 17, 2015
    (the "April 17 letter"), requesting the following:

       "[TJhat the Tribunal order that an independent and impartial expert be
       appointed to review the documents and report on the objections. Prior to
       such appointment, in order to alleviate the burden on the Tribunal, the
       Parties should be invited to confer regarding (1) identification and
       appointment of an independent and impartial third- party who is an expert
       in U.S. privilege law, and (2) development of a procedure and process for
       the expert or "special master" to review the documents. In the event that a
       third-party review process such as this is not employed, Bloomberry
       requests that Claimants be directed to provide a fair response to
       Bloomberg 's August 16 letters regarding the privilege log and
       subsequently to confer with Bloomberry with the objective of narrowing
       any disagreements about the propriety of Claimants' withholding of certain
       documents prior to Bloomberg 's presentation of remaining points of
       disagreement to the Tribunalfor resolution."

17. The Respondents then sent a letter to the Tribunal dated April 18, 2015 (the
    "April 18 Letter") meant to "supplement" the April 17 Letter. The April 18
    Letter re-iterated the Respondents' request that the Tribunal appoint an
    independent expert "to analyze and resolve these and other questions of
    privilege".



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18. The Claimants replied to the Respondents' April 17 and April 18 Letters with a
    letter dated April 22, 2015 (the "April 22 Letter").

19. While the Respondents' letters addressed various facts, and asserted that these
    facts constituted "exceptional circumstances" within Article 3(8) of the IBA
    Rules on the Taking of Evidence in International Arbitration 2010 (the "IBA
    Rules"), the Tribunal was not assisted in relation to the law on privilege.
    Crucially, the Tribunal had no assistance, in the Parties' letters referred to
    above, as to:

     (a)   What law (or rules) governed questions of privilege; and

     (b)   Whether privilege should be characterized as substantive or procedural?

20. The mere incantation of facts and assertions that entries on a privilege log
    contain "questionable designations" or constitute "exceptional circumstances"
    do not aid the Tribunal in determining whether or not Article 3(8) is applicable,
    or whether the Tribunal should "appoint an independent and impartial expert".
    Article 3(8) of the IBA Rules is reproduced below for ease of reference.

       "In exceptional circumstances, if the propriety of an objection can be
       determined only by review of the Document, the Arbitral Tribunal may
       determine that it should not review the Document. In that event, the
       Arbitral Tribunal may, after consultation with the Parties, appoint an
       independent and impartial expert, bound to confidentiality, to review any
       such Document and to report on the objection. To the extent that the
       objection is upheld by the Arbitral Tribunal, the expert shall not disclose to
       the Arbitral Tribunal and to the other Parties the contents of the Document
       reviewed."

21. The Tribunal notes that Article 3(6) expressly contemplates that "[u]pon receipt
    of any such objection, the Arbitral Tribunal may invite the relevant Parties to
    consult with each other with a view to resolving the objection". In the
    circumstances, the Tribunal received the Claimants' privilege log on April 17,
    2015, which was sent under cover of the Respondents' April 17 Letter, and
    received the Respondents' privilege log, dated March 24, 2015, only on April
    22, 2015, when the Respondents' privilege log was sent under cover of the
    Claimants' April 22 Letter.




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22. Accordingly, and having regard also to the lack of principles of law or rules
    supporting the Respondents' request, the Tribunal thereafter issued PO 6 and
    determined that the Parties should be given an opportunity to fully brief the
    Tribunal on the following matters:

     (a)   "the principles that the parties have followed in selecting the documents
           that have been included in the privilege logs"; and

     (b)   "how these principles have been applied in respect of any documents
           whose privilege status has been questioned by the other party".

23. On April 29, 2015, both Parties submitted the principles of privilege
    respectively applied in determining the documents to be listed on their privilege
    logs, in accordance with the Tribunal's direction in PO 6.

24. The Tribunal considered the Parties' principles of privilege, and ordered in PO
    7, dated May 15, 2015, the following:

      "1. That, in terms offairness, the same privilege principles shall apply to
       documents retained by each party and, therefore, to the extent that there
       may be differences in the applicable laws, the law that gives the greatest
      protection to privilege to both parties shall apply.

       2. That each party shall produce to the other party, no later than May 22,
       2015, redacted documents retained on grounds of privilege that contain
       mixed legal and business advice.

       3. That each party shall justify to the other party, no later than May 22,
       2015, the existence of the attorney-client relationship in the case of
       documents retained on the basis of attorney-client privilege.

       4. That, in the case of documents produced redacted before the date of this
       order, the party who produced them shall explain, no later than May 22,
       2015, to the other party the basis on which the documents were redacted.

       5. To deny the request to reconsider the briefings schedule.

       6. To deny the request to appoint an expert.




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       7. That the parties shall report back to the Tribunal on the implementation
       of this order no later than May 26, 2015, and that the Tribunal shall decide
       any pending matters between the parties."

25. The Tribunal placed emphasis on the need for procedural equality between the
    Parties and, accordingly, its directions in PO 7 ensured that the Parties were on
    an equal footing in respect of applying the same principles of privilege. The
    Tribunal was not persuaded that there was any reason, on the face of the facts
    relied on by the Respondents, to conclude that the "propriety of an objection
    [i.e., that documents were privileged] can be determined only by review of the
    Document".

26. On May 27, 2015, each of the Parties wrote to the Tribunal stating how they had
    complied with PO 7. The Respondents took issue with the Claimants'
    "perfunctory" implementation of PO 7 and requested that the Tribunal:

      "(1) Appoint an independent and impartial expert, as contemplated by the
       IBA Rules of Evidence and the UNCITRAL Rules, 55 to review certain
       documents withheld by Claimants' and report on Bloomberg 's questions
       regarding specific entries (attached hereto as Exhibit B) on Claimants'
      privilege log;

       (2) Order Claimants to produce their engagement letters (with appropriate
       redactions for commercially sensitive information) with each of the law
      firms listed on their privilege log, or, if engagement letters do not exist, to
      provide as an alternative supporting documentation for when each
       representation of Global Gaming Philippines LLC began and the scope of
       each representation.

       (3) Order Claimants to identify the parties to the "draft letter agreement
       regarding the exercise of the Option" referenced in Entry No. 721, the
       document exchanged by the CEOs of GGAM and Cantor Fitzgerald."

27. The Respondents' May 27 letter also enclosed an Exhibit B, which comprised
    20 pages of "comments" on various documents of the Claimants' Privilege Log.

28. The Tribunal invited the Claimants to comment on the Respondents' re-iterated
    and new requests, as well as on the Respondents' Exhibit B. Following the
    Claimants' comments on June 4, 2015, the Tribunal provided the Respondents
    an opportunity to respond, and on June 11, 2015, the Respondents filed their


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     response. The Tribunal considered the Parties' submissions and decided, in an
     email to the Parties dated June 17, 2015, as follows.

      "The Tribunal has considered the parties' comments and arguments in
      support of their requests. The Tribunal refers to its decision in Procedural
       Order No. 7 denying the request to appoint an independent expert under
      Article 3(8) of the IBA Rules to review documents withheld by Claimants
       on the basis that they are privileged. There is nothing in Respondents'
      submissions that allays the Tribunal's concerns in respect of such
       appointment and that would justify the revision of its decision.

      The Tribunal also recalls that in Procedural Order No. 7 the Tribunal
      stated that the Tribunal shall decide any pending matters between the
      parties. Therefore, the Tribunal orders: (a) Claimants (0 to produce the
      engagement letters with each of the law firms listed on their privilege log,
      and (ii) to identify the parties to the "draft letter agreement regarding the
      exercise of the Option" referenced in Entry No. 721; and (b) Respondents
      to produce a log of redacted documents. Such documents and identification
      to be communicated by each party to the other no later than five days from
      the date of this communication.

      As to Claimants' request that Respondents produce minutes of ExCom
      meetings after September 2013, the Tribunal refers to the letter of
      Respondents' of June 11, 2015 where Respondents explain that they
      produced such minutes for the period prior to GGAM ceasing to be the
      management services provider for the Solaire. Claimants did not object
      and requested on April 17, 2015 that the Tribunal declare the document
      exchange period to be closed, without raising any issue about the ExCom
      minutes post-dating the time when GGAM ceased to be the management
      services provider to the Solaire. In view of this explanation the Tribunal
      denies Claimants' request."

29. In response to the Claimants' Reply, filed on June 15, 2015, on June 22, 2015,
    the Respondents filed a request for postponement of the Liability Hearing. The
    Respondents stated, among others, that the Claimants' damage case spans nearly
    80 pages (or "more than half' of their Reply brief). The Respondents also
    submitted, among others, that "Bifurcation of Damages Would Enhance
    Efficiency and Ensure that Bloomberg Is Not Prejudiced by Claimants'
    Repeated Attempts to Leverage the Schedule".



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30. The Tribunal invited the Claimants to respond to the Respondents' application
    for postponement, and the Claimants did so by filing a response dated June 25,
    2015.

31. The Tribunal carefully considered the various issues canvassed by the Parties,
    and in respect of the Respondents' request that the Tribunal extend the deadline
    for the Respondents' Rejoinder, the Tribunal granted that request and extended
    the deadline for the Rejoinder from August 14, 2015 to September 4, 2015.

32. In respect of the Respondents' further request to order the Claimants to produce
    the draft and final letter agreement referenced in Entry No. 721, the Tribunal
    found in favor of the Respondents and made such an order (among others).

33. In particular, the Respondents themselves have stated that "IVhe Tribunal need
    consider just one document to conclude that Claimants' refusal to engage in any
    meaningful exchange about their claims of privilege is unsustainable and that
    Bloombeny's concerns should be addressed" (see Respondents' letter to
    Tribunal dated April 17, 2015, at page 3). The "one document" in question was
    Entry No. 721. Not only has the Tribunal had the opportunity to review Entry
    No. 721, the Respondents have also had a chance to be heard on Entry No. 721
    during the Liability Hearing.

34. In short, if, on the Respondents' own case, the Tribunal need consider "just one
    document", then the Tribunal has indeed considered that document — with the
    full benefit of the Respondents' Counsel's cross-examination at the Liability
    Hearing — and has found that it is neither relevant nor material to the outcome of
    the case. Nevertheless, the Tribunal did not stop at merely considering only one
    document on the Claimants' privilege log. The Tribunal has also reviewed the
    Claimants' privilege log and finds that on its face, there is nothing relevant or
    material to the outcome of the case (notwithstanding the fact that there is also
    nothing on its face which leads the Tribunal to disbelieve the Claimants' claims
    of privilege). The Tribunal further considers this matter in addressing the
    Respondents' concerns on procedural fairness and equality in the Annex to this
    Liability Award.

35. For completeness, the Tribunal notes that, on July 24, 2015, the Respondents
    filed an application for bifurcation of the proceedings into a hearing on liability
    and a hearing on quantum. Again, the Respondents emphasized that the
    Claimants' damage case spans "more than half' of their Reply, and is



                                            18
     accompanied by three expert reports, 77 exhibits and 54 authorities, totaling
     more than 5,200 pages.

36. The Tribunal granted the Respondents' request to bifurcate the proceedings in
    PO 11. On the Respondents' case, this had the effect of halving the case that the
    Respondents had to meet. In particular, the Tribunal notes the following dates:

     (a)   The Defense was filed on December 7, 2014.

     (b)   The Amended Defense was filed on February 2, 2015.

     (c)   The Reply was filed on June 15, 2015.

     (d)   The Rejoinder was filed on September 4, 2015.

F.   Filing of Additional Documents

37. On October 5, 2015, in accordance with PO 12, the Claimants filed the
    following Witness Declarations and Expert Reports (as well as exhibits and
    attachments to these documents) (the "Claimants' Additional Documents").

     (a)   Supplemental Declaration of Andrew Klebanow Declaration;

     (b)   Supplemental Declaration of Jonathan D. Rein;

     (c)   Supplemental Declaration of Michael French;

     (d)   Supplemental Declaration of Garry W. Saunders;

     (e)   Supplemental Declaration of William P. Weidner;

     (f)   Supplemental Expert Report of William Timmins; and

     (g)   Third Expert Report of Professor Guhan Subramanian.

38. Paragraph 4 of PO 12 provided that "No direct examination (other than
    introduction of the witness or expert), however Claimants may file, no later than
    October 8, 2015, supplemental declarations related to new evidence submitted
    by Respondents with the Rejoinder. Cross-examination shall be limited in scope
    to the witness 's declaration". This position was negotiated between the Parties,


                                           19
           who had agreed that both sides could submit new "documents or information...
           up to October 5, 201P1.

    39. The only dispute between the Parties in relation to new documents was whether,
        in relation to such new documents or information, each side should have the
        chance to respond or address them in direct examination. The Respondents
        submitted that no direct examination should be permitted save for witness
        introductions. The Claimants, however, contemplated direct examination limited
        to introductions and opportunities to supplement the witness's previously
        submitted declarations but only to the extent necessary to respond to or address
        any new documents or information submitted by October 5, 2015. At a
        teleconference on September 11, 2015, the Parties had the full opportunity to
        present their various positions, and had then agreed to the wording of Paragraph
        4 of PO 12, which memorialized the Parties' agreement at the teleconference.

    40. Subsequently, on October 13, 2015, the Respondents wrote to the Tribunal
        stating that, "in light of Claimants' submission of witness statements, expert
        reports, factual exhibits, and legal authorities of last Monday [October 5,
        2015], Bloomberg requests that documents be included in the record of the
        Arbitration and also be available for cross and rebuttal". The Respondents
        provided the Tribunal a link to an FTP site that contained a number of exhibits
        (the "Respondents' Supplemental Exhibits").

    41. On the first day of the Liability Hearing, the Tribunal provided both Parties with
        an opportunity to deal with both the Claimants' Additional Materials and the
        Respondents' Supplemental Exhibits2.

    42. The Tribunal thereafter decided as follows3:

             "As regards the documents filed recently by [the RJespondents, we will take
              them in in the record provisionally, and as we go along and see what use
             you make of them, we will consider it at the time specifically on each
              document, what we do as you use it."




1 Annex to PO 12.
2 See Transcript (October 15), pp 3 — 7.
3 See Transcript (October 15), p 91 at lines 12 — 17.




                                                        20
43. Accordingly, the Respondents were free to rely on and adduce material that, at
    their initiative, they had filed two days before the Liability Hearing.
    Nevertheless, the Respondents did not rely during the hearing on any of the
    documents that they had adduced as part of their Supplemental Exhibits.

44. On December 10, 2015, the Respondents requested that the Tribunal include in
    the record the Resolution by the Philippine Court of Appeals, dated November
    27, 2015 (the "Resolution"). At the invitation of the Tribunal, the Claimants
    commented on December 15, 2015 that they did not oppose the inclusion of the
    Resolution in the record, but that they did not agree with the Respondents'
    characterization of the Resolution or its intended effects. On December 17,
    2015, the Tribunal informed the Parties that it had included the Resolution in the
    Record.

45. At the closing of the Liability Hearing the Respondents raised concerns on
    procedural equality and balance. Because of their extent, these concerns are
    described and addressed by the Tribunal in the Annex to this Liability Award.




                                           21
III. CHRONOLOGY OF EVENTS LEADING TO THE ARBITRATION

     46. In early March 2011, Mr. Razon and Mr. Weidner had an initial meeting. By
         March 16, 2011, Mr. Razon and Mr. Weidner began negotiations.

     47. By a Management Services Agreement dated September 9, 2011 (the "MSA")
         between Respondents and GGAM (collectively, the "MSA Parties"), the
         Respondents engaged GGAM to manage the Respondents' integrated casino
         resort, trading as the Solaire in Manila. This Arbitration arises from the
         Claimants' allegation of wrongful termination of the MSA by the Respondents.
         Under the MSA, Bloomberry Hotels and Sureste engaged GGAM to provide
         management and technical services in the development and construction of the
         Facilities, and to manage the operation of the Facilities for a ten-year period.
         GGAM would be paid fees according to formulae specified in the MSA.

     48. On January 26, 2012, Prime Metroline acquired 75% ownership of Active
         Alliance, Inc. ("AM") (later renamed Bloomberry Resorts Corp., or "BRC").

     49. By an Equity Option Agreement dated April 16, 2012 (the "EOA") between and
         among Prime Metroline Transport Corp. ("PMTC," the predecessor in interest
         to Prime Metroline Holdings, Inc., or "PMHI"), BRC and GGAM (the "EOA
         Parties"). Under the EOA, PMTC, as Grantor, granted GGAM an option to
         purchase (the "Option"),4 at an agreed-upon strike price of PHP 1.67 per share,
         921,184,056 shares (the "Shares") in BRC.

     50. Between April 16, 2012 and May 2, 2012, the Parties took part in a roadshow
         (the "Roadshow") preceding the IPO of BRC. The Respondents submit that this
         is a misnomer, and that this exercise was in fact not an IPO but a "top-up
         offering" where the shares in BRC were not sold to the public. For ease of
         reference, the Tribunal will refer to this as the "Top-up Offering", without
         prejudice to either Party's rights. The Top-up Offering closed on May 3, 2012 at
         PHP 7.50 per share, with the IPO six times oversubscribed.

     51. On December 20, 2012, GGAM exercised its Option, paying approximately
         US$37.43 million to PMTC.5 The price was calculated by taking the pre-IPO
         strike price of PHP 1.67 per share multiplied by 921,184,056 BRC shares, for a
         total of PHP 1,538,377,374.


 4 JCB-76/ Claimants' Exhibit CE-10 (Section 2.1 of the EOA).
 5 Claimants' Interim Measures Exhibit CE-4, Letter from B. Weidner to E. Razon, December 20, 2012.



                                                       22
    52. The Claimants say that they paid fair value for the Shares, the Shares were
        purchased free and clear of all liens or restrictions, and (at the time of the
        Statement of Claim) were valued at over US$200 million.

    53. The Claimants further say that Mr. Razon and his representatives subsequently
        acknowledged GGAM's ownership of the GGAM Shares on numerous
        occasions, both before and after the termination of the MSA, and even offered to
        help GGAM sell its Shares, as follows:

          (a) In a letter delivered to GGAM on July 12, 2013, Bloomberry acknowledged
              GGAM's "8.7% equity stake".6

          (b) On September 12, 2013, Razon publicly stated in The Wall Street Journal in
              reference to the GGAM's stock, "[t]hat's their's. They can do whatever they
              want with the stake . . . For the right price I might buy it".7

          (c) On September 13, 2013, another BRC official publicly acknowledged
              GGAM's independent, ongoing ownership interest in the Shares following
              the termination of the MSA, stating that "[s]ome people have already been
              pitching to us that they are interested in acquiring the stake if GGAM wants
              to get rid of it".8

    54. On December 20, 2012, GGAM, BRC and PMTC entered into a Participation
        Agreement ("PA") as the Investor, Company, and Grantor, respectively. Under
        the PA, Clause 5.4 provides that "in the event that the MSA terminates for any
        reason whatsoever (other than a willful breach of the MSA by Claimants),
        [Claimants] shall have the ongoing right to require [PMTC] to purchase all, but
        not part, of[Claimant] 's Shares at the Fair Value of such Shares".9

    55. On March 16, 2013, the Solaire had its Grand Opening.

    56. On July 12, 2013, Mr. Razon sent GGAM an e-mail asserting that Respondents
        had come to the "arm conclusion" that the MSA had "failed" and that "an
        amicable parting of ways" was "in everyone's interest." That e-mail enclosed


6 Claimants' Exhibit CE-3.
7 Claimants' Exhibit CE-235.
8 Claimants' Interim Measures Exhibit CE-82.
9 Claimants' Interim Measures Exhibit CE-60.




                                               23
         an unsigned letter (the "12 July Letter") providing a list of grievances in
         connection with GGAM's performance under the MSA.

    57. On July 22, 2013, Ms. E. Occelia (Chief Financial Officer of Respondents and
        PMTC, as well as the Treasurer, Executive Officer, and former Director of
        BRC) requested that the GGAM principals meet with her "to discuss the
        disengagement of GGAM".

    58. On September 12, 2013, GGAM received a Notice of Termination of the MSA
        ("Notice of Termination") effective at midnight.1°

    59. On September 12, 2013, GGAM submitted a Notice of Arbitration in
        accordance with Clause 19.2 of the MSA and Article 3 of the UNCITRAL
        Rules. In the Notice, GGAM requested arbitration of its claims against the
        Respondents "aris[ing] out of or related to the MSA" pursuant to Clause 19.2(a)
        of the MSA.




m Claimants' Exhibit CE-5.



                                              24
IV. RELIEF SOUGHT BY THE PARTIES

     A. Claimants' Relief Sought

     60. Claimants request that the Tribunal make an awardll:

           (a) Finding that the Respondents materially breached their obligations under the
               Management Services Agreement;

           (b) Awarding Claimants damages for the Respondents' material breaches in an
               amount to be determined at the final hearing in the matter;

           (c) Awarding the Claimants pre-judgment and post judgment interest, as
               appropriate;

           (d) Designating the Claimants as the Party whose position has been
               substantially upheld by the Tribunal in accordance with Clause 19.2(h) of
               the Management Services Agreement and awarding Claimants their costs
               and expenses in the Arbitration, including but not limited to:

                  (i) The fees and expenses of the Claimants' counsel, experts, fact
                      witnesses, professional advisors, and vendors;

                 (ii) The Claimants' share of the fees and expenses paid or owed to the
                      Tribunal;

                 (iii) The Claimants' fees and expenses paid or owed to any vendor that
                       provided services at the arbitral hearing(s) or otherwise;

                 (iv) Compensation for the Claimants' in-house counsel;

           (e) Finding that the Respondents' counterclaims are without merit and denying
               all relief requested by the Respondents, including but not limited to
               dismissing any claim for rescission, restitution or return of the Shares,
               whether based on putative breach, causal fraud or any other ground;

           (f) Enter the following injunctive and declaratory relief:



 " SOC at para. 239; Reply at para. 266.



                                                  25
                  (i)    Declaring that there is no valid claim by the Respondents or their
                         affiliates for the rescission of the EOA or for restitution of the shares
                         granted under it;

                 (ii)    Enjoining the Respondents and their officers and agents from further
                         interfering with the Claimants' free disposition of the Shares and
                         require the Respondents and their officers and agents to take all
                         reasonable steps to enable the Claimants to sell the Shares;

                 (iii)   Declaring that the Claimants did not breach the MSA, that the
                         Claimants performed their duties under the MSA, and that the
                         Respondents' termination of the MSA was wrongful; and

                 (iv)    Determining that the final award be made public so that the Claimants
                         can use it to vindicate their right to respond to the continuing effects
                         of the Respondents' defamatory statements.

           (g) Ordering any and all further or other relief that the Tribunal may consider
               appropriate.

    B. Respondents' Relief Sought

    61. The Respondents have requested that the Tribunal issue an award12:

           (a)     Declaring that the Respondents rightfully ended the Management Services
                   Agreement due to GGAM's material breach of its obligations thereunder;

           (b)     Declaring that the Respondents rightfully rescinded the Management
                   Services Agreement, including the equity option granted therein, due to
                   GGAM's substantial breach of the Parties' agreement;

           (c)     Annulling the Management Services Agreement, including the equity
                   option granted therein, due to GGAM's causal fraud;

           (d)     Declaring that GGAM will be unjustly enriched if it is permitted to sell the
                   Shares, and enjoining GGAM from pursuing such a sale;




12 Defense at para. 190; Rejoinder at paras. 228 — 229.




                                                          26
(e)   Awarding the Respondents monetary damages equivalent to the value of
      the Shares, and/or awarding mutual restitution in the form of ordering
      GGAM to transfer the block of Shares to the Respondents in exchange for
      approximately US$ 37 million;

(f)   Awarding the Respondents damages for GGAM's willful and material
      breaches and non-contractual wrongs in an amount to be determined at the
      final hearing in this Arbitration;

(g)   Designating the Respondents as the Party whose position has been
      substantially upheld pursuant to Clause 19.2(h) of the Management
      Services Agreement, and awarding the Respondents (1) all reasonable
      attorneys' fees, costs and expenses, (2) its share of the fees and costs paid
      to the Tribunal; and all other fees and expenses incurred in connection
      with this Arbitration the Tribunal deems appropriate; and

(h)   Awarding such other and further relief as may be found appropriate.




                                       27
V. PRELIMINARY MATTERS

    62. The Tribunal has carefully considered the Parties' submissions, witness
        statements, expert reports and exhibits. Given that Philippine law, as indicated
        below, is the law applicable to the MSA, the Tribunal has found expert
        testimony on U.S. law of limited assistance. In any case, if no specific reference
        is made to the testimony of a witness or expert, it is not for lack of its
        consideration by the Tribunal.

    63. When the Tribunal has not summarized an argument that either or both Parties
        may have made, the Tribunal has nevertheless considered the argument, but
        decided that it is not necessary (or helpful) to summarize it. For conciseness, the
        Tribunal may also summarize the Parties' arguments by reference to the
        paragraph or page numbers contained in the relevant document, exhibit, or
        submission by the Parties.

    A.     Applicable law

    64. Clause 19.3 of the MSA provides that Philippine law is the law of the contract:
        "This Agreement is made under and shall be governed by and construed in
        accordance with the laws of the Republic of the Philtppines". In addition to the
        UNCITRAL Arbitration Rules in force on the date of the MSA, the parties
        agreed that, "the arbitration shall be conducted according to the International
        Bar Association Rules of Evidence as current on the date of the commencement
        of the arbitration"13

    B.     Pleadings Related to the Construction of the Casino

    65. The Parties have dedicated a considerable part of their pleadings to the
        construction of the casino and the role played by the Claimants in this respect.
        Nevertheless, the Parties have not requested the Tribunal to grant any relief
        related to services that GGAM provided in this area. In their Opening Statement,
        the Respondents pointed out that the extended submission about the road show
        and the construction phase of the Solaire project is a diversionary tactic because
        termination of the MSA was based on other grounds. The Respondents further
        stated that, contrary to the Claimants' allegations, Bloomberry never alleged that
        the Claimants breached their construction-related obligations. On the other hand,



13 See Clause 19.2(g).




                                                28
          the Claimants in their Closing Argument affirmed that the Respondents had
          challenged GGAM's performance in the construction phase.

    66. Since the Parties have not requested that the Tribunal grant them any relief for
        claims related to the construction phase, the Tribunal understands that any
        pleadings that relate to the construction phase provide context to the Parties'
        relationship but do not require a decision of the Tribunal. The Tribunal will
        consider the arguments of the Parties related to the casino construction only to
        the extent that they have a bearing, if any, on the relief sought by the Parties.

    C.     Contract Interpretation

    67. It has been a matter of dispute between the Parties whether pre-contractual
        evidence was admissible for purposes of interpretation of the MSA in view of
        the Integration Clause14 (Clause 18.12 of the MSA). The issue is related to the
        claim of causal fraud, the evidence adduced in its support and the extent to
        which this evidence may be considered for purposes of interpreting the MSA
        itself.

    68. The Claimants submitted that the effect of the Integration Clause is to preclude
        consideration of any pre-contractual conduct and negotiating history prior to the
        conclusion of the MSA15. The Respondents, meanwhile, submitted that the
        Integration Clause "does not mean that the MSA is to be construed in isolation,
        but expressly mandates that their contemporaneous and subsequent acts be
        considered"16.

    69. The Integration Clause stipulates that the MSA and the Disclosure Letters
        "constitute the entire agreement between the Parties hereto pertaining to the
        subject matter hereof and fully supersedes any and prior oral or written
        agreements or understanding between the Parties pertaining to the subject
        matter hereof"

    70. Under Philippine law, the law applicable to the MSA, "If the terms of a contract
        are clear and leave no doubt upon the intention of the contracting parties, the
        literal meaning of its stipulation shall control." 17 For the purposes of
        determining the parties' intention, "their contemporaneous and subsequent acts

14 See Clause 18.12 of the MSA.
15 Claimants' Closing Argument at Slides 40 and 46.
16 Respondents' Closing Argument at Slide 160.
17 Article 1371 of the Civil Code.




                                                      29
          shall be principally considered."18 The Tribunal notes that this article does not
          exclude consideration of other acts that may not be contemporaneous or
          subsequent, but only requires the Tribunal to "principally" consider those. On
          the other hand, under the UNCITRAL Rules agreed by the Parties, the Tribunal
          has ample discretion to determine "the admissibility, relevance, materiality and
          weight of the evidence offered"19.

    71. In its analysis, the Tribunal finds that the effect of Clause 18.12 is that the MSA
        is to be taken as embodying the entirety of the Parties' obligations on the subject
        matter defined therein, to the exclusion of any prior or pre-existing obligation(s).
        However, that clause does not have the effect of precluding consideration of
        "contemporaneous"" facts and events leading up to and surrounding the
        conclusion of the MSA, for the purposes of ascertaining the proper interpretation
        of those obligations.




18 Article 1372 of the Civil Code.
19 Article 27 of the UNCITRAL Rules 2010.
2° Article 1371 of the Philippine Civil Code; Respondents' Closing Argument at Slide 160.



                                                       30
VI. ALLEGED MISREPRESENTATIONS AND/OR CONDUCT OF GGAM
    AMOUNTING TO CAUSAL FRAUD

    A. Respondents' Arguments

    72. The Respondents submit that the Claimants made the following representations
        to the Respondents, and that these representations were false:

           (a)    First, the GGAM Principals "projected an image equating their
                  management company with the Las Vegas Sands"21.

           (b)    Second, the GGAM Principals "assured [Mr. Razon] that, through their
                  collective experience at the Las Vegas Sands, they had strong
                  relationships with "junket operators" in Asia who would bring VIP
                  players to the Solaire" and also "claimed to have data regarding
                  individualforeign VIP players, who they would bring into the Solaire"22.

           (c)    Third, the GGAM Principals represented that there would be "proprietary
                  documentations prepared by GGAM in connection with the performance
                  of Services and furnished to the Owner" 23 and assured the Respondents
                  that they would "putt]in place policies and procedures for operating the
                  Solaire"24.

           (d)    Fourth, "Mr. Weidner assured [Mr. Razon] that he, along with Messrs.
                  Stone and Saunders, would provide a "hands-on approach to
                  management" of the Solaire" and that "[Mr. Weidner] would "personally
                  oversee" the management activities, spending `significant time in Manila
                  with the team"25.

           (e)    Fifth, Cantor's role in respect of the negotiations leading up to the MSA
                  and EOA was not fully disclosed to the Respondents.




21 Defense at para. 23; Rejoinder at para. 14.
22 Defense at paras. 25 and 107; Razon Declaration at para. 9.
23 Defense at para. 104.
24 Defense at para. 24; Rejoinder at para. 15.
25 Defense at para. 26; Rejoinder at para. 27.




                                                         31
     73. The Respondents also submit that it was "[oJn the basis of these representations
         and promises" that "Mr. Razon decided to enter into a management services
         agreement with GGAM"26.

     74. In respect of each of these alleged misrepresentations, the Respondents have
         submitted arguments as detailed below.

           (i) Equating GGAM with Las Vegas Sands

     75. The GGAM Principals "projected an image equating their management
         company with the Las Vegas Sands"27.

     76. Mr. Weidner represented himself as the "architect" of Las Vegas Sands28.

     77. The GGAM Principals "strongly assured Mr. Razon that they could deliver for
         the Solaire the same services and expertise that they had deliveredfor numerous
         other casino-resorts in Asia that they had developed, opened, and operated".29

           (ii) Guest and VIP Player Data

           Junket Operators

     78. The GGAM Principals "assured [Mr. Razon] that, through their collective
         experience at the Las Vegas Sands, they had strong relationships with "junket
         operators" in Asia who would bring VIP players to the Solaire" and also
         "claimed to have data regarding individualforeign VIP players, who they would
         bring into the Solaire".30

     79. The Respondents characterize these statements as "representations that they had
         the data for and connections with VIP players and junket operator".31 This is
         supported by the following example. "[DJuring the top-up offering road show,"
         when asked how they planned to bring in VIP players to the Philippines, Mr.
         Weidner said that it would only take "7 phone calls ". 32 See, in particular:


26 Defense at para. 27.
27 Defense at para. 23; Rejoinder at para. 15.
28
  Rejoinder at para. 39.
29 Defense at para. 24; Rejoinder at para. 15.
39 Defense, para. 25 and 107, Razon Declaration at para. 9.
31 Ibid.
32 Defense at para. 116; Razon Declaration at para. 45; Rejoinder at para. 89.




                                                         32
              (a) Paragraph 9 of the Razon's Declaration.

                  [The GGAM Principals] claimed to have a database offoreign (i.e., non-
                  Filipino) VIP players, and that they would bring these BIP players into the
                  Solaire...

              (b) Paragraph 44 of the Razon's Declaration.

                  ... one of the ways GGAM misled me was with respect to their promise to
                  provide highly sought-after "Guest Data"... GGAM's principals...
                  represented to me that they had personal relationships with junket
                  operators and access to VIP players. During the negotiations of the MSA,
                  GGAM heavily negotiated the language regarding "Guest Data"...
                  GGAM sold themselves as having this Guest Data, which they caused us
                  to believe was extremely valuable...

    80. According to the Respondents, it was not the Claimants, but instead "Mr. Razon
        and other Bloomberry employees who identified potential junket operators to
        target, contacted them, and convinced them to come to Solaire" 33. "GGAM did
        not contribute to [the Respondents' junket] database or provide a list of
        players".34

    81. Not a single VIP player has been identified as having come to the Solaire as the
        direct result of Mr. Weidner's "leveraging", which leads to the conclusion that
        "Mr. Weidner was "leveraging" and "cultivating" his relationships for the
        benefit of some other entity (perhaps Weidner Resorts) or his relationships are
        not as strong as he led Mr. Razon to believe".35

    82. GGAM "had not made arrangements with a single junket operator prior to
        Opening", and it was "Mr. Razon and other Bloomberry executives and
        employees" who "reached out to their contacts to bring in junkets".36




33 Rejoinder at para. 92; Koo Supplemental Declaration at paras. 12 — 14.
34 Rejoinder at para. 91.
35 Rejoinder at para. 93.
36 Rejoinder at para. 149; Razon Declaration at para. 47.




                                                            33
           Guest Data

    83. The Respondents also submit that the fact that Clause 6 of the MSA contained
        the phrase "The Guest Data of GGAM shall remain to be its property"
        "indicates that GGAM's Guest Data was already in existence"37.

    84. By way of elaboration, the phrase "Guest Data" is defined as follows38:

            `Guest Data' shall mean any and all guest or customer profiles, contact
           information (e.g., addresses, phone numbers, facsimile numbers and email
           addresses), histories, preferences, and any other information from guests or
           customers of a casino or hotel.

    85. The representation that the Claimants had Guest Data was false, since "GGAM
        admitted that it did not have any pre-existing "Guest Data" from which they
        could connect VIP players or junket operators with the Solaire".39

    86. In respect of inducement, the Respondents submit that the Claimants'
        "misrepresentation that it would provide "hands-on" management and that its
        principals had the contact information forforeign VIP "high rollers" and junket
        operators, induced Bloomberg to enter into the imsAT,4o

         (iii) Possession or Development of Policies and Procedures

    87. In March 2011, "Mr. Razon agreed to meet with Mr. Saunders and his
        colleagues in Las Vegas"41.

    88. During this meeting, the GGAM Principals "strongly assured Mr. Razon that
        they could deliver for the Solaire the same services and expertise that they had
        delivered for numerous other casino-resorts in Asia that they had developed,
        opened, and operated", and "IVhis included putting in place policies and
        proceduresfor operating the Solaire"42.




37 Defense at para. 110.
38 Annex H to the MSA.
39 Defense at paras. 114 and 164; Claimants' Exhibits C-25 and C-95.
40 Defense at para. 180.
41 Defense at para. 22.
42 Defense at para. 24; Rejoinder at para. 15.




                                                       34
    89. During the negotiations of the MSA, the Respondents submit that GGAM
        represented that there would be "proprietary documentations prepared by
        GGAM in connection with the performance of Services and furnished to the
        Owner"43.

    90. The Respondents also submit that GGAM represented — in the MSA in a section
        entitled "Representations, Warranties and Covenants" — that "GGAM has the
        management and technical expertise, track record, experience, adequate
        capitalization and financial resources to comply with its obligations under this
        Agreement"44.

    91. The Respondents further submit that "GGAM's reliance on Cantor, an
        investment bank, to run its management company and provide numerous
        services to GGAM [evidenced by the Support Services Agreement between
        GGAM and Cantor dated August 28, 2012 (R-187)], which GGAM then owed to
        Bloomberg, is an admission that GGAM was incapable of fulfilling its
        obligations under the MSA and that it misrepresented its abilities to
        Bloomberg"45.

    92. The Respondents contend that "GGAM was hired based on, among other things,
        its promises that it had operating policies, procedures, and systems ready to be
        implemented"46.

         (iv) Hands-on Management

    93. After the Las Vegas meeting in March 2011, the Respondents argue that "Mr.
        Weidner assured [Mr. Razon] that he, along with Messrs. Stone and Saunders,
        would provide a "hands-on approach to management" of the Solaire" and that
        "[Mr. Weidner] would "personally oversee" the management activities,
        spending `significant time in Manila with the team"47 .

    94. According to the Respondents, the Claimants also represented that "[n]o other
        gaming company provides the same level of senior executive hands-on
        involvement in these activities at a property level"48.


43 Defense at para. 104.
44 Rejoinder at para. 167; Clause 10.2(J) MSA.
45 Rejoinder at para. 167.
46 Defense at para. 102.
47 Defense at para. 26; Rejoinder at para. 27; Claimants' Exhibits C-33 and C-104.
48 Rejoinder at para. 24; Respondents' Exhibit R-198.




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    95. The Respondents contend that, when asked how he was planning to oversee
        operations if he was not planning to move to Manila, Mr. Stone replied: "Yes,
        will I be here? Will I have a presence here? All the time . . . And, you know, I'll
        always have a presence here"49.

    96. The Respondents submit that the Claimants' "misrepresentation that it would
        provide "hands-on" management and that its principals had the contact
        information for foreign VIP "high rollers" and junket operators, induced
        Bloomberry to enter into the [MSAJ"5°.

          (v) Cantor's role

    97. The Respondents allege that the Claimants misrepresented Cantor's role. In
        particular:

          (a)     "Mr. Weidner explained that Cantor Fitzgerald ("Cantor') provided
                  "backing" and a "significant capital commitment" to GGAM's
                  activities " 51.

          (b)     "When Bloomberry questioned Cantor's role in the negotiations,
                  Bloomberry was informed that some Cantor employees provided "admin"
                  services to GGAM. That was to be expected of a new start-up company
                  that needed administrative support, and was consistent with Mr.
                  Weidner's explanation to Mr. Razon in their first meeting that Cantor
                  provided "backing " 52.

    98. The Respondents characterize GGAM as "an investment vehicle for a New York-
        basedfinancial institution", and submit that this was "not what Bloomberry was
        seeking—and not what GGAM represented itself to be—when it entered into its
        agreement"53.

    99. The Respondents submit that, while Mr. Razon had thought that he was "getting
        Mr. Weidner as a partner and visionary", in fact, Mr. Razon "was getting Mr.
        Weidner as an entrepreneur with divided loyalties, who had already wedded


49 Rejoinder at para. 37; Respondents' Exhibit R-114.
50 Defense at para. 180.
51 Rejoinder at para. 31.
52 Rejoinder at para. 32; Respondents' Exhibit R-235
53 Rejoinder at para. 154; Razon Supplementary Declaration at para. 14.




                                                        36
           himself to a much larger and complex organization, Cantor Fitzgerald—with
           which Razon had no interest in being affiliated"54.

    100. An alternative misrepresentation pleaded by the Respondents is as follows55:

           (a)    The Claimants, through William Weidner, represented that they were
                  undertaking an "equity risk" in purchasing the Shares56.

           (b)    Since it was Cantor which provided the funds to purchase the Shares,
                  GGAM in fact did not undertake any "equity risk" since "Mr. Weidner, in
                 fact, undertook no risk at all"57.

    101. The Respondents submit that "[o]n the basis of these representations and
         promises, Mr. Razon decided to enter into a management services agreement
         with GGAM'58.

    B. Claimants' Arguments

    102. The Claimants' response to the Respondents' allegations of misrepresentation
         and inducement is summarized below.

    103. First, the MSA's Integration Clause59 provides that the MSA (including the
         associated disclosure letters) "constitute[s] the entire agreement between the
         Parties ... and fully supersedes any and all prior oral or written agreements or
         understanding between the Parties "60. Accordingly, any prior oral or written
         agreements between the GGAM Principals and Mr. Razon (which is denied) are
         not part of the contract.

    104. Second, and in any event, the Claimants deny that the GGAM Principals had
         ever made any of the following "binding representations during the Parties'
         negotiations that are not reflected in the MSA"61. The Claimants submit that
         "[al bsence of evidence is evidence of absence":



54 Rejoinder at para. 162.
55 Rejoinder at para. 170.
56 Claimants' Exhibit C-33.
57 Rejoinder at para. 170; Respondents' Exhibit R-189.
58 Defense at para. 27.
59 Clause 18.12 of the MSA.
60
   Reply at para. 26.
61 Reply at para. 40.




                                                         37
              (a)    The Claimants deny, in particular, that they had ever "represented to Mr.
                    Razon or the Respondents that they had any existing "database" of
                    foreign VIP players, nor promise to transfer such a "database" to
                    Solaire"62.

              (b)   The Claimants submit that it is "implausible" that they would have made
                    such a representation, since "GGAM has no proprietary right to
                    confidential customer information to which GGAM's management
                    principals were privy as a result of their prior employment; that
                    information remained the property of the Las Vegas Sands or Melco
                    Crown. Misappropriation of such information for subsequent competitive
                    use would be illegal. It is not credible that Mr. Razon genuinely believed
                    that high-level executives could simply misappropriate their prior
                    employers' proprietary customer contact database, and then put that
                    information to competitive use" 63.

       105. Third, the Respondents could not have formed "any legitimate, mutually-shared
            `expectations' concerning GGAM 's performance that are not reflected in the
            Parties' Agreement" 64.

       106. The Claimants elaborate on each of these alleged misrepresentations as set forth
            below.

             (i) Equating GGAM with Las Vegas Sands

       107. The Claimants deny that the GGAM Principals "projected an image equating
            their management company with the Las Vegas Sands"65, to the extent that this
            would be an actionable misrepresentation66.

       108. In particular, the Claimants point to the following facts that contradict this
            alleged misrepresentation:

              (a)   First, Mr. Razon "knew GGAM was a newly formed gaming management
                    company and was well aware of the GGAM [J Principals' highly-
                    publicized splitfrom Las Vegas Sands"67.

62
     Reply at para 28.
63 Reply at para 28.
64
     Reply at para 40.
65 See Defense at para. 23.
66
     Reply at para. 23.



                                                    38
           (b)    Second, "Mr. Razon's own headhunter, who introduced him to the GGAM
                  management principals, pointed out that they were potentially available to
                  assist Mr. Razon with his casino venture precisely because they were no
                  longer employed by the Las Vegas Sands"68.

           (c)    Third, Respondents themselves acknowledge that it was "precisely
                  because the GGAM Principals were not affiliated with an established
                  large-scale casino operator (such as MGM, the Las Vegas Sands, or
                  Melco Crown Entertainment) that Mr. Razon recognized he could obtain
                  the expertise of a major operator to develop and manage the Project
                  without surrendering the degree of control such an operator would
                  demand"69.

          (ii) Guest and VIP Player Data

    109. The Claimants deny that GGAM had promised to provide to the Solaire "data
         regarding individualforeign VIP players"70.

    110. The Claimants submit that the Respondents have not put forward any evidence
         (such as contemporaneous minutes) to support Mr. Razon's allegations that the
         GGAM Principals had made the VIP Guest Data Representation71. Specifically,
         "It is inconceivable that, despite having extensively negotiated the MSA, Mr.
         Razon's representatives failed to document a representation he now claims was
         central to his "expectations"from this business deal, and failed to provide any
         terms that would describe the data, when GGAM would provide it, and how it
         was to be used" 72.

    111. According to the Claimants, Clause 6 of the MSA "reflects the Parties'
         agreement with respect to customer data for the Project and dealt solely with
         ownership of data to be collected in the future — the prospective acquisition of
         data from Solaire's operation and the operation of other projects that GGAM
         would pursue with Mr. Razon's knowledge" (emphasis in original)73.


67 Reply at para. 23.
68
  Reply at para. 23.
69 Reply at para. 24.
7° Defense at paras. 25 and 107; Reply at para. 26.
71 Reply at para. 29.
72 Reply at para. 29.
73 Reply at para. 30.




                                                      39
    112. The Claimants submit that the lack of contractual language obliging Claimants
         to make any existing data in its possession available to the Respondents shows
         that the Respondents are "conjuring up an unrecorded "promise" that finds no
         support in the evidentiary record [or] the Parties agreements"74.

         (iii) Possession or Development of Policies and Procedures

    113. The Claimants deny that GGAM made "promises that it had operating policies,
         procedures, and systems ready to be implemented"75, on the contrary, "GGAM
         never represented that it had, on hand and ready-to-go, existing policies and
         procedures that could simply be transferred to Solaire"76.

    114. Further, the Claimants submit that such a representation is implausible for the
         following reasons:

           (a)    Such a representation is "contrary to standard industry practice" since
                  such policies "must be tailored to a specific casino project"77.

           (b)    Such policies and procedures "must be developed together with the entire
                  management personnel; they cannot simply be imposed upon a new
                  casino"78.

    115. According to the Claimants, what the GGAM Principals offered to the Solaire
         was "extensive familiarity with that development and implementation process
         [of policies and procedures]" and "the expertise to make [policies and
         procedures] to measure for Solaire"79.

         (iv) Hands-on Management

    116. The Claimants deny that GGAM's Principals (and, specifically, Mr. Weidner)
         promised to be physically present at the Solaire while performing their Services
         under the MSA80.



74 Reply at para. 31.
75 Defense at para. 102.
76 Reply at paras. 32 -33. See also the Reply at para. 123: "GGAM never represented to the Owners during the
   Parties' negotiations that it had proprietary guest data or pre-fabricated plans, policies and procedures".
77 Reply at para. 34.
78 Reply at para. 35.
79 Reply at para. 35.
80 See Defense at paras. 26, 117 — 119; Reply at para. 37.




                                                             40
       117. The Claimants submit that — apart from the Respondents' lack of evidence to
            support this claim — this is implausible for the following reasons81:

              (a)   The MSA contains no man-hour requirement82.

              (b)   Such an expectation by the Respondents is "unreasonable and contrary to
                    standard industry practice" 83.

              (c)   Such an expectation was "inconsistent with GGAM's obligation to
                    generate high-end marketing networks for Solaire elsewhere in Asia and
                    with the MSA 's requirement (insisted upon by the Owners) that GGAM
                    was to perform its services through the Management Team" 84.

       118. Mr. Stone himself had, in speaking with investors on behalf of BRC, made clear
            that the GGAM Principals "did not need to be physically present full-time in
            Manila to develop the property, oversee operations, and fulfil GGAM's MSA
            obligations" 85.

            (v) Cantor's role

       119. The Claimants deny that GGAM is Cantor's "investment vehicle" to "and and
            secure new investment opportunities for the deployment of Cantor Fitzgerald's
            capital"86.

       120. The Claimants submit that the Respondents were aware of Cantor's role within
            the GGAM joint venture, including with respect to payment of the strike price
            for the Shares under the E0A87.

       121. The Claimants further submit that "GGAM's management principals explained
            Cantor's role during the Parties' initial meeting in Las Vegas [prior to the
            signing of the MSAJ, including the fact that Cantor provided access to capital
            and credibility vis-a-vis thefinancial market" 88.



81 Reply at para. 37.
82
     Reply at para. 37.
83 Reply at para. 38.
84
   Reply at para. 38.
85
   Reply at para. 39; Claimants' Exhibit C-136.
86 Defense at para. 165; Reply at para. 41.
87 Reply at para. 41.
88
   Reply at para. 41; Saunders Declaration at para. 15; Weidner Declaration at para. 16.



                                                         41
     C. Tribunal's Analysis

     122. These sections of the Tribunal's analysis should be read in conjunction with the
          later sections. The Tribunal strives to be as concise as possible in each section,
          but much of the detail on which the Tribunal relies is set out in different sections
          of this Liability Award, and all of it must be considered together.

     123. The Tribunal will first consider misrepresentation and causal fraud under
          Philippine law, and whether the Respondents are prevented from seeking the
          rescission of the contract before this Tribunal by terminating the MSA under
          Article 1191 of the Civil Code.

     124. According to Article 1338 of the Philippine Civil Code, "There is fraud when,
          through insidious words or machinations of one of the contracting parties, the
          other is induced to enter into a contract which, without them, he would not have
          agreed to." The Supreme Court of the Philippines has defined fraud as "a
          deception employed by one party to or simultaneous to the contract in order to
          secure the consent of the other."89 Also in the words of the Supreme Court in the
          case of Geraldez v. Court of Appeals, casual fraud is fraud "present or employed
          at the time of the birth or perfection of the contract"9°.

     125. However, not every fraud makes a contract voidable. For fraud to justify
          annulment under Article 1390 of the Civil Code, the deceit must be serious as
          required by Article 1344 of the Code. The Supreme Court has held a fraud to be
          serious when "it is sufficient to impress, or to lead an ordinarily prudent person
          into error, that which cannot deceive a prudent person cannot be ground for
          nullity"91.

     126. As to the evidence required to establish fraud, the Supreme Court has
          determined that it must be "full, clear, and convincing evidence, and not merely
          by a preponderance thereof'92.

     127. Thus to justify rescission of a contract on account of causal fraud, the fraud must
          be serious, be present at the time of the birth or perfection of the contract, and
          the evidence must be "full, clear and convincing".


89 Samson v. Court of Appeals, G. R. No. 108245, November 25, 1994.
9° In answer of counsel to a question of a member of the Tribunal at Transcript (October 24) at p 59, lines 10 —11.
91 Spouses Fernando and Lourdes Viloria v. Continental Airlines, Inc. G.R. No. 188288, January 16, 2012.
92 Ibid.




                                                         42
           (i) Equating GGAM with Las Vegas Sands

    128. There is no evidence to support the allegation that the Claimants represented that
         they were the same entity as Las Vegas Sands. The evidence is clearly to the
         contrary. In fact, Mr. Razon contracted with GGAM because its principals were
         no longer employed by Las Vegas Sands. Mr. Razon thought the circumstances
         would be a source of motivation for Mr. Weidner, who, according to Mr. Razon,
         "seemed very much `to have something to prove' following his departure from
         Las Vegas Sands."93 The record clearly shows that Mr. Razon did not want an
         established casino to manage the Solaire if it meant giving up the chance to
         establish his own brand; part of the bargain between Mr. Razon and the GGAM
         Principals was that Mr. Razon would be able to establish his own brand.

          (ii) Relationships with Junket Operators and Possession of Guest Data

    129. In his testimony Mr. Razon states that the GGAM Principals had "represented to
         [him] that they had personal relationships with junket operators and access to
          VIP players". This is supported by Mr. Weidner's own testimony that he could
         "bring in VIP players to the Philippines" with just "[seven] phone calls"'
         Respondents claim that this was not true because it became evident later that the
         GGAM Principals lack such relationships. On the other hand, Claimants say that
         at "no point did GGAM's management principals represent to the Owners that
         they had any existing `database' offoreign VIP players, nor promise to transfer
         such `database' to Solaire."95 Claimants affirm: "What GGAM did have that
         Respondents did not was knowledge of and reputation with, the junket
         operators and key Asian executives who would bring in high rolling casino
         players".

    130. The Respondents have based their argument in relation to possession of guest
         data on Clause 6 of the MSA. The Respondents assert that this section shows
         that Claimants had guest data while as a matter of fact they did not have any at
         the time. Although the Parties heavily negotiated clause 6, nevertheless, the
         clause is ambiguous. The sentence, "The Guest Data of GGAM shall remain to
         be its property," could be interpreted to refer to existing data or to data
         generated in the future. The Claimants have argued that it is a prospective clause
         and refers only to future data generated in the Facilities or elsewhere. The

93 Razon Supplemental Declaration at para. 4.
94 Defense at para. 111; Razon Declaration at para. 45; Rejoinder at para. 89; Transcript (October 19) at p 191, line
   17.
95 Reply at para. 28.




                                                         43
          Tribunal agrees and is unable to find that Clause 6 of the MSA, on its proper
          construction under Philippine law, refers to existing data that was in the
          Claimants' possession at the time of contracting. It would have been legally or
          ethically improper for Claimants to have maintained any Guest Data from prior
          properties at which they worked, and Respondents clearly could not have
          expected otherwise. Nor was there any transfer of such data from Claimants to
          Respondents upon signature, nor any demand to do so. Even if this clause
          could be interpreted to refer to existing data, the Tribunal is not persuaded that
          the Respondents relied on or were induced by this alleged fact or representation
          to enter the MSA (i.e., the Clause is not one which tends to "lead an ordinarily
          prudent person into error"96).

    131. As regards junket operators, the Tribunal observes that the Claimants' principals
         made statements about junket operators during the IPO road show. But by then,
         the MSA and the EOA had already been signed. Therefore, because of their
         timing, those statements could not have induced the Respondents to sign the
         MSA on false pretenses. The Tribunal is persuaded that, given the standing of
         the GGAM Principals in the gaming industry, they did have access directly or
         indirectly to "high rollers" as they testified. Whether their reputation was
         translated into clients for the Solaire once the casino started to operate is another
         matter. Mr. Razon may have been disappointed in this respect, but that does not
         support a claim of misrepresentation. Ample testimonial and documentary
         evidence supports the proposition that both the Claimants and the Respondents
         planned not to seek "high rollers" prematurely, that is, until the property was
         sufficiently able to provide them with a pleasant experience. This would not
         have occurred until some months, or possibly even a year or more, after
         opening. The Respondents, however, terminated the Claimants before that point
         arrived. Thus, the Tribunal finds there was no misrepresentation in this regard.

         (iii) Possession of Policies and Procedures

    132. As a preliminary matter, the Tribunal notes that the Respondents state that,
         during the negotiations of the MSA, GGAM made the representation that there
         would be "proprietary documentations prepared by GGAM in connection with
         the performance of Services and furnished to the Owner"97. In other words, the
         Respondents argue that the Claimants should have provided all written policies
         and procedures themselves. However, the Respondents do not cite any witness


96 Spouses Fernando and Lourdes Viloria v. Continental Airlines, Inc. G.R. No. 188288, January 16, 2012.
97 Defense at para. 104.




                                                       44
           statements but instead cite Clause 14.1 of the MSA to support this assertion. But
           this clause of the contract is an undertaking, not a "representation".

    133. The Respondents have not shown the Tribunal that there is any evidence that
         such a representation was made by the Claimants to the Respondents. Notably,
         the best particulars that the Respondents articulate in support of their contention
         that the Claimants represented that they had policies and procedures is at
         paragraph 24 of the Defense and paragraph 15 of the Rejoinder: "[the GGAM
         Principals] strongly assured Mr. Razon that they could deliver for the Solaire
         the same services and expertise that they had delivered for numerous other
         casino-resorts in Asia that they had developed, opened, and operated", and
         "[t]his included putting in place policies and procedures for operating the
         Solaire".

    134. At its highest, therefore, the Respondents' case on this point only discloses a
         mere assurance as to future performance, not a representation of existing fact.
         The Respondents' counsel attempted to advance the notion that
         misrepresentation under Philippine law did not draw the "same bright line"
         distinction between a promise or assurance as to future conduct and a
         representation of existing fact98. In support of this, reliance was placed99 on
         references to "false promises" and the "exaggeration of hopes and benefits" by
         Tolentino in his commentary on the meaning of "insidious word or
         machinations" under Article 1338 of the Civil Code°.

    135. The Tribunal is unable to find sufficient support for this interpretation of
         Philippine law. In fact, the evidence of the Respondents' own expert on
         Philippine law, Justice Vitug, appeared to run contrary to such an
         inteipretationml. The following exchange between the Claimants' counsel and
         Justice Vitug during cross-examination is salientm:
                 "Q. Justice Vitug, let me ask you to assume that at the
                      time the speaker said that he fully intended to
                     perform, that he intended to do in thefuture what
                     he said he would do and then in the future he did
                     not. Am I right that that would not be causalfraud
                     orfraud in the inducement under Philippine law

98 See Transcript (October 24) at p 73, line 4.
99 See Transcript (October 24) at p 73, line 18 top 74, line 14.
m° See Commentaries and Jurisprudence on the Civil Code of the Philippines, Vol. IV (2002) at p 505.
mi See Transcript (October 23) at p 174, line 18 top 178, line 25.
102 See Transcript (October 23) at p 177, line 18 top 178, line 3.



                                                          45
            A. On a purely hypothetical basis if he did not intend
               it to be so then it's notfraud if he had no
               intention really to make any misrepresentation,
               obviously it would not befraud. It would be a case
               of his inability to perform the obligation."

136. The Tribunal's finding on this point ultimately turns on the following:

     (a)   There is no credible evidence to support the contention that the Claimants
           made representations that they had "operating policies, procedures, and
           systems ready to be implemented" or that they had proprietary
           documentation, policies and/or procedures that were ready to be
           implemented for the Solaire.

     (b)   If anything, the Tribunal finds that the nature of the statements made were
           concerned with the Claimants' contractual promise and/or obligation to
           formulate the written policies and procedures through and in collaboration
           with the officers and employees of the Solaire. And in fact, such policies
           and procedures were prepared by the staff of the Solaire in collaboration
           with GGAM. In other sections of this Liability Award, the Tribunal has
           found that this was an obligation that the Claimants fulfilled. Further, the
           Respondents were not able to establish that these statements were `false'
           or lacked bona fides at the time they were made.

     (c)   Moreover, the Tribunal cannot find that these representations, even if
           made, were, whether subjectively or objectively assessed, serious enough
           to have falsely induced the Respondents to enter the MSA.

    (iv) Hands-on Management

137. To prove that these "promises" were made in bad faith to induce the
     Respondents to contract with GGAM, something more than their alleged breach
     later needs to be provided. Failure to comply with promises is not, of itself,
     sufficient to prove that they were made with the intention not to fulfill them.
     Whether GGAM breached its obligations under the MSA will be considered by
     the Tribunal later in this Liability Award as part of its analysis of the grounds
     for termination of the MSA. The evidence will be reviewed in that context in
     that section, but is also relevant to a certain extent here.



                                            46
    138. The Tribunal is persuaded by the evidence that, when the GGAM Principals
         stated that they would provide a "hands-on approach to management" of the
         Solaire and that "[Mr. Weidner] would "personally oversee" the management
         activities, spending "significant time in Manila with the team" 103 , these
         statements of intention were true at the time they were made. The Respondents
         rely on their allegations that these "promises" were not honored to show that the
         Principals had no intention to honor them, but they did not produce sufficient
         evidence to show that Claimants' principals did not intend to do the things they
         stated at the time they made such statements.

    139. The fundamental problem with Respondents' claim is that, after Mr. Weidner
         made these statements, the deal that was being discussed was changed by Mr.
         Razon. Mr. Razon decided that he wanted the contract to reflect that the
         Claimants would perform their duties largely through the officers and employees
         of the Solaire, and Mr. Razon also changed the reporting obligations of the CFO
         away from the Claimants and to himself. He certainly had the right to do so and
         this was accepted by the Claimants, but it necessarily had implications for the
         representations and obligations of the Claimants. Based on the changes made at
         Mr. Razon's insistence, Respondents could no longer rely on representations
         that were inconsistent in material respects with the new management structure.
         On the full facts, the Tribunal cannot find a misrepresentation or a right to rely
         on such.

         (v) Cantor's role

    140. In January 2011, before any contact of GGAM with Mr. Razon, Fernando
         Gaspar of International Container Terminal Services Inc. ("ICTSI") spoke to
         head hunters who sent him a PowerPoint presentation of GGAM, and he sent it
         on to E. Razon attached to an email on which Mr. Fernando explains his
         contacts with the head hunters and states: "They also sent the attached document
         (GGAM) and felt it was important for you to consider speaking with Gary
         Saunders (page 12 of GGAM document) since he has experience in start ups and
         managing gaming operations in Las Vegas and Asia."104 This GGAM document
         explains that the partnership of GGAM with Cantor "provides superior access to
         capital and proprietary technology and infrastructure"1°5.



103 Defense at para. 26; Rejoinder at para. 27.
1°4 See JCB-4/Respondents' Exhibit RE-39 at p 12, which contains the biography of Saunders.
1°5 Ibid. at p 2.



                                                      47
    141. Subsequently, in a series of emails in May and June 2011, Ms. Occelia explained
         to Messrs. Alarilla and Almeda that Mr. Rein was Managing Director of
         Cantor106 Mr. Rein asked Ms. Occelia whether she had objections to changes in
         the MSA (this email is copied to K. Russell, Vice-President and Assistant
         General counsel of Cantor)107, Mr. Russell explained to Mr. Tan, Bloomberry's
         counsel, that Cantor provided services to GGAM "including but not limited to
         legal and financial advisory services (as a representative of the NDA)"108 and
         Mr. Russell transmitted the revised draft of the MSA to Ms. Occelia and Mr.
         Tan"109 Then on July 1, 2011, Mr. Rein stated in an email to Ms. Occelia: "we
         realize and acknowledge that both you and we must consult with our principals
         prior to executing the MSA, and in our case neither Bill nor Howard have had a
         chance to review or opine on this list in its entirety.   99110




    142. At the time of signature of the MSA, GGAM signed a disclosure letter as part of
         the representations made under clause 10.2 of the MSA. Exhibit A to this letter
         shows in a schematic fashion how the relationship between GGAM and Cantor
         is structured and the 50% interest of Cantor GGAM LP in Global Gaming Asset
         Management Holdings, LLC.

    143. At an investor conference held on November 16, 2012, Ms. Occelia explained
         that GGAM brought the gaming expertise, but for financing had turned to
         Cantor, "Cantor owns 50 per cent. So the money will comefrom Cantors"111.

    144. It follows from the above that Bloomberry was aware since the very beginning
         of its relationship with GGAM that Cantor provided financial support and
         certain other services to GGAM. The Respondents argue that the Claimants did
         not disclose the exact nature of the relationship: "Cantor had a much more
         significant role than was disclosed, we don't really know exactly what the role
         is."112 The argument of the Respondents is based on the non-disclosure of the
         terms and conditions of Cantor's provision of funds to exercise the equity
         option. The Respondents explain that Bloomberry has received only the third
         version of the related draft letter agreement during the discovery process and
         only by order of the Tribunal. The Claimants have repeatedly represented to the
         Tribunal that there was no final agreement. The Respondents have expressed

106 Later Head of Business Development and Corporate Finance of GGAM; see Claimants' Exhibit CE-126.
107 JCB-25/ Respondents' Exhibit RE-235, email dated May 18, 2011 at 12:25 AM.
1°8 Ibid., email dated May 24, 2011 at 10:12 PM.
109 JCB-30/ Respondents' Exhibit RE-78.
110 Claimants' Exhibit CE-142.
ill JCB-124/ Claimants' Exhibit CE-127.
112
    See Transcript (October 15) at p 183, line 10 —12.



                                                    48
             disbelief that Cantor would provide undocumented fmancing for the exercise of
             the equity option. The Respondents suggest certain inferences from the non-
             production of this document based on the IBA Rules. Based on these inferences,
             the Respondents contend that the interests of Messrs. Razon and Weidner would
             not be aligned as stated in the exchange of emails between them of March 2011.

       145. The Tribunal observes that the EOA had no stipulations on the financing of the
            option. Similarly, the EOA does not limit the time period when the option had to
            be exercised; there was no limitation regarding how long or short a period the
            Shares needed to be held. While the alignment of interests may have been one of
            the motivations for Mr. Razon to make the offer, by the time the EOA was
            signed, and notwithstanding that this was a heavily negotiated agreement, there
            is no provision in the EOA that translated such motivation into clear and binding
            terms. For these reasons, the Tribunal does not find relevant the terms on which
            Cantor provided financing to exercise the option and does not venture to draw
            inferences about the non-production of an allegedly non-existent document.
            Furthermore, Mr. Razon himself does not seem to have considered his interests
            to be perfectly aligned with the Claimants, notwithstanding GGAM's equity
            participation in Bloomberry. As explained in the Rejoinder, the purpose of the
            change in the management reporting of the CFO was to ensure the protection of
            the long-term interests of the Respondents in the success of the enteTrise113.

       146. Crucially, the Respondents have not, in their pleadings or at the Liability
            Hearing, advanced any persuasive case as to whether there was an obligation to
            disclose this relationship, and if so, which clause of the MSA or which principle
            of Philippine law obligated the Claimants to disclose the relationship between
            Cantor and GGAM.

       147. In sum, the Tribunal finds that the Respondents have not established any false
            statement made in respect of Cantor's role. To the extent that the Respondents
            are arguing that the Claimants failed to disclose Cantor's role to them, the
            Respondents have not shown any legal basis for imposing a duty of disclosure,
            and the allegedly non-disclosed document is not relevant to the Tribunal's
            reasoning.




113
      Rejoinder at para. 146.



                                                  49
148. The Tribunal concludes that, to the extent that the Claimants made
     representations, the evidence does not show that the representations were false at
     the time they were made. The Tribunal has rejected each of the grounds the
     Respondents have advanced in support of their claim of causal fraud;
     consequently this claim is dismissed.




                                            50
VII. THE MISTAKE ARGUMENT

     149. The Respondents have also argued during the Liability Hearing that, if fraud
          could not be shown, the MSA could be voidable on the basis of Article 1331 of
          the Philippine Civil Code. This article provides in relevant part that "In order
          that mistake may invalidate consent, it should refer to the substance of the thing
          which is the object of the contract, or to those conditions which have principally
          moved one or both parties to enter into the contract." The Respondents adduce
          the fact that (a) neither Mr. Weidner nor his colleagues devoted the time and
          attention to the Solaire set forth in Mr. Wiedner's "thoughts on principles of
          alignment", and (b) Cantor acquired the ability to cause the Bloomberry shares
          to be sold for its own benefit, thus negating the alignment of interests.

     150. The Tribunal notes that the mistake argument is new, was touched upon for the
          first time on the ninth day of the nine-day Liability Hearing114 and the Claimants
          did not address it. The Tribunal further notes that the facts the Respondents have
          adduced in support are the same facts also alleged in support of causal fraud.
          The Tribunal has dismissed the causal fraud claim, and the Respondents have
          not elaborated on how the evidence in support of that claim can also form the
          basis of a mistake argument under Philippine law. It is not self-evident from the
          contemporary evidence before the Tribunal that the Respondents or the
          Claimants were mistaken, and the evidence does not establish a mistake. For
          these reasons the Tribunal finds that the mistake argument has not been
          substantiated on the facts or on the basis of Philippine law.




 114 See Transcript (October 24) at p 68, line 7 — 18 and p 75, line 19 top 78, line 15.




                                                            51
VIII. TERMINATION OF THE MSA UNDER CLAUSE 15.1(a)

     151. Clause 15.1(a) of the MSA provides as follows:

     "15. Termination

     15.1 By ownerfor GGAM s Breach

            The Owners may at any time, by written notice addressed to GGAM, give
            prior notice of intention to terminate the Services under this Agreement, in
            whole or in part if any of thefollowing have occurred:

            (a) GGAM has committed a material breach of this Agreement that either is
                incapable of remedy or, if capable of remedy, has not been remedied
                within 30 days of the Owner's notice or such longer period not exceeding
                60 days as is reasonably necessary to effect the remedy;..."

     152. The Claimants' claims on wrongful termination and the Respondents'
          counterclaims for breach are closely linked.

     153. The Claimants' case is, essentially, that the Respondents wrongfully terminated
          the MSA — since, according to the Claimant, it had no contractual basis to do so
          — and that this wrongful termination itself amounted to a material breach of the
          MSA.

     154. The Respondents' case, meanwhile, is that the termination was justified on the
          basis of the various breaches of the MSA that they allege the Claimants to have
          committed. The Respondents' case regarding the Claimants' alleged breaches of
          the MSA, also form part of their counterclaims in this arbitration.

     155. It follows, then, that the Respondents bear the burden of persuasion to establish
          the various breaches that the Respondents allege the Claimants to have
          committed. On the other hand, the Claimants bear the burden to establish that
          the termination was wrongful and that it amounted to a material breach of the
          MSA.




                                                52
    A.     Respondents' General Arguments

    156. The Respondents have asserted, without more, that "Bloomberry exercised its
         right under Clause 15.1(a) of the MSA to terminate Gaz1M's services under the
         MSA due to GGAM's material breach of its obligations" 115 and that "in the face
         of GGAM's substantial and material breach of its obligations, as well as its
        failure to provide the consideration promised in exchange for the right to
         purchase the Shares, Bloomberry and Sureste have standing to maintain actions
         to remedy Gaz1M's breach" 116.

    157. The Respondents have also submitted in respect of the provision of a "cure
         period" that:

           (a)    First, the breach was not capable of remedy117; and

           (b)    Second, even if the breach was capable of remedy, "Bloomberry continued
                  to work with GGAM over the subsequent 60 days [following the
                  Respondents' Notice of Termination dated 12 September 20131 in an
                  attempt to reach an amicable parting of ways"; however, "GGAM did not
                  use this 60-day period to address its deficient performance
                                                                           1   or to develop
                  constructive ways to salvage the Parties' relationship,,  18


    B.     Claimants' General Arguments

    158. The Claimants submit that, as a starting point, to lawfully terminate the MSA,
         the Respondents must demonstrate that GGAM committed a "material breach"
         of its obligations under the MSA119. This follows from a plain reading of Clause
         15.1(a) of the MSA.

    159. According to the Claimants, the Philippine courts have stated that "[a]
         contractual breach is material if it will adversely affect the nature of the
         obligation that the obligor promised to deliver, the benefits that the obligee
         expects to receive afterfull compliance, and the extent that the non-performance
         defeated the purposes of the contract" 120, citing Int'l Hotel Corp. v. Joaquin Jr.,


115 Defense at para. 47.
116 Defense at para. 169.
117 Defense at para. 48.
118 Defense at paras. 48 — 49.
119 SOC at para. 30.
120
  Ibid.



                                                  53
          G.R. No. 158361, April 10, 2013 (citing Corbin on Contracts, Section 709 at
          661 (One Volume Ed. 1952) ("Int'l Hotel Corp").

    160. The Claimants submit that this means the Respondents "must show that GGAM
         violated contractual provisions that require strict adherence and the
         performance of which is intrinsic to the benefits Respondents expected. Where
         the allegations regarding a party's non-performance are unsubstantiated or
         immaterial to the object of the agreement or where the actual harm to the
         terminating party is attenuated and exaggerated, termination is improper"121.

    161. Alternatively, the Claimants submit that the Respondents failed to terminate the
         MSA in accordance with "the circumstances under which either party may
         terminate the MSA". Specifically, Clause 15.1 permits the Owners, "by written
         notice addressed to GGAM, [to] give prior notice of intention to terminate the
         Services" under the MSA if GGAM commits a "material breach" that is "either
         incapable of remedy or, if capable of remedy, has not been remedied within 30
         days of the Owners' notice"122.

    162. In the present case, the "Respondents did not provide GGAM with any prior
         notice of any breach of the MSA that would justify termination asserted in the
         July 12, 2013 letter, nor did Respondents afford GGAM an opportunity to cure
         GGAM's alleged breaches. Instead, as soon as Respondents sent the July 12,
         2013 Letter to GGAM, they began to inform Solaire management and personnel
         that GGAM 's termination was a fait accompli" 123

    163. Specifically, after sending the Claimants the July 12, 2013 letter, which stated
         that the Respondents had come to the "arm conclusion" that the MSA had
         "failed" and that "an amicable parting of ways" was "in everyone's interest",
         the "Respondents ceased providing GGAM with critical information necessary
        for GGAM to perform its rights and obligations under the MSA, such as the
         daily flash report and the daily operating report", which "provided GGAM with
         necessary operating information". The Respondents also disabled the GGAM
         principals' access to the Solaire email accounts, "including removing their
         access to all previously-received e-mails"124.

121 SOC at para. 30 citing Ong Yong v. Tiu, G.R. No. 144476, April 8, 2003 ("Ong Yong") which stated that "[The
    Petitioners 7 shortcomings were far from serious and certainly less than substantial; they were in fact
    remediable and correctable under the law. It would be totally against all rules of justice, fairness and equity to
    deprive the [party] of their interests on petty and tenuous grounds".
122 SOC at para. 55.
123 SOC at para. 125.
124 SOC at para. 127.




                                                         54
164. The Claimants submit that, since they did not commit any "material breaches",
     the Respondents' purported termination of the MSA and subsequent refusal to
     pay the Claimants their fees were unlawful (and itself a material breach of the
     MSA).

                                      * * * * *



165. In the following chapters the Tribunal will address each of the alleged specific
     breaches and afterwards the claim that the Respondents breached the MSA by
     terminating it.




                                           55
IX. ALLEGED FAILURE TO SUBMIT BUSINESS AND MARKETING PLANS
    THAT MET PRUDENT INDUSTRY PRACTICE

   166. The Claimants' obligation to submit business and marketing plans is provided in
        MSA clauses 2.2, 2.5 and 2.10, read along with Annexes A and H to the MSA.
        They are reproduced here for convenience.

        "2 OBLIGATIONS OF GGAM




        2.2 Services

       GGAM shall carry out the Services enumerated in Annex A upon the terms
       and conditions contained in this Agreement. The Services shall constitute as
       rights as well as responsibilities of GGAM under this Agreement. GGAM's
       obligation to provide the Services shall be subject to: (A) Owners ' funding of the
       amounts set forth in the Annual Budget for each fiscal year as provided in this
       Agreement, and (B) equitable adjustment in the event of any Force Majeure,
       change in law, or change in the provisions of the PAGCOR License. If the
       Owners disapprove of any Proposed Annual Budget prepared by GGAM with
       expenditure levels reasonably required in order to provide the Services and
       GGAM can reasonably demonstrate that the Owners' refusal to approve such
       Proposed Annual Budget will have an adverse effect on GGAM's ability to
       provide the services, then GGAM will not be in breach of the performance of the
       particular Services that is so adversely affected by such disapproval.




        Clause 2.5 Standard of Care

        GGAM warrants and undertakes that, in performing the Services through the
        Management Team, it shall use commercially reasonable efforts to comply with
        thefollowing, which shall be collectively referred to as the "Standard of Care":

        (a)   It shall exercise all the skill and care reasonably to be expected of a
              professionally qualified and competent manager of casino and hotel
              facilities experienced in performing work of similar nature and scope as
              the Services ("Prudent Industry Practice");



                                              56
(b)   It acts in the highest standards of business ethics;

(c)   It will at all times act in the best interests of the shareholders of
      [Bloomberg] and [Sureste], and to maximize such shareholders' value in
      the performance of its obligation under this Agreement and in all dealings
      carried out by it in its capacity under this Agreement; and

(d)   It shall comply with applicable Philippine law in the performance of the
      Services under this Agreement."

Provided that GGAM's obligation to meet the Standard of Care set forth in this
Clause 2.5 shall be subject to: (A) Owners ' funding of the amounts set forth in
the Annual Budget for each operating year and as provided in this Agreement,
and (B) equitable adjustment in the event of any Force Majeure, change in law,
or change in the provisions of the PAGCOR License. If the Owners disapprove
of any Proposed Annual Budget prepared by GGAM with expenditure levels
reasonably required in order to provide the Services and GGAM can reasonably
demonstrate that the Owners' refusal to approve such Proposed Annual Budget
will have an adverse effect on GGAM's ability to comply with this Clause 2.5,
then GGAM will not be in breach of the provision of this Clause 2.5 that is so
adversely affected by such disapproval.




2.10 Budget

(a) GGAM acting through the Management Team shall prepare the Annual
    Budget which shall include 0 the replacements of and additions to FF&E
    and Operating Supplies to be made as part of the Services; (ii) a proposed
    budget of capital expenditures; and (iii) a budget of the estimated Facilities
    Revenue and Projected EBITDA and a Projected Base Fee EBITDA for the
    Facilities for the following Fiscal Year, all in reasonable detail ("Proposed
    Annual Budget'), Business Plan, and marketing plans for discussion with
    the Owners and approval by the Board.




Annex A

SERVICES


                                        57
GGAM's Pre-Opening
Services.

 GGAM acting through the Management Team has the right, authority,
obligation, and discretion, and is instructed to take all such pre-opening actions
for and on behalf of the Owners to operate all aspects of the Facilities,
 including to:




4. Establish, implement, and monitor the pre-operating accounting, internal
   controls, security, human resources, marketing and regulatory compliance
   systems in accordance with the pre-operating plan and key employees.




8. Recommend the selection and order the gaming facilities' data processing
   equipment and software, surveillance and security systems.




GGAM's Post-
Opening Services.

 GGAM acting through the Management Team has the right, authority,
obligation, and discretion, and is instructed to take all such pre-opening actions
for and on behalf of the Owners to operate all aspects of the Facilities,
 including:

Operations. GGAM through the Management Team shall operate and manage
the day-to-day operations of the Facilities, including to:

1. Establish, implement, and monitor all operating systems (e.g., sales,
   marketing, reservations services, quality assurance), establishment of rates
   and charges for guest rooms, food, beverages, entertainment and other
   services orfacilities, and to manage the day-to-day affairs of the Facilities.




                                       58
          3. Establish, implement, and monitor gaming systems, management information
             systems, I- J surveillance and other monitoring activities, floor and entrance
             security, cage operations, casino accounting, slot and table operations, and
             the management of the day-to-day affairs of the casino.




          Annex H

          DEFINITIONS




          "Business Plan" shall mean the business plan prepared by GGAM acting
          through the Management Team and approved by the Owners prepared in
          accordance with GGAM s standard planning and budgeting requirements,
          including plans for items such as projected estimates of revenues, expenses,
          and cash flow associated with the Facilities, estimated results of Facilities'
          operations, anticipated capital expenditure projects, [furniture, fixture, and
          equipment] improvement and replacement plans, and marketing plans.
          [Emphasis added]

    A.      Respondents' Arguments

           N Scope of the Claimants' Obligation

    167. The Respondents submit, in essence, that the Claimants failed to provide an
         adequate business plan or marketing plan that was capable of being
         implemented or that reflected the skill and care to be expected in the industry, in
         breach of Clauses 2.2, 2.5 and 2.10(a) of the MSA read with Annex A of the
          MSA12s

    168. The Respondents further submit that the purpose of the phrase "through the
         Management Team" in Clauses 2.5 and 2.8 of the MSA was to prevent GGAM
         from being able to "thoroughly take over the management and operation of a
         high-end resort such that the owners of the resort and the directors and officers
         of the company owning the resort were effectively reduced to "outsiders"
         without any control over the operation and management of the resort", such that

125 Defense at paras. 73 —101.




                                                59
             "the resort would not be able to operate if the foreign management team pulled
             out of the project" 126.

       169. According to the Respondents, "[aJny other interpretation would result in the
            absurd conclusion—and unfortunate reality—that Bloomberry was paying
            GGAMfor services Bloomberry was expected to perform". Accordingly, it is not
            true that GGAM fulfilled its obligations under Clauses 2.5 and 2.8 of the MSA
            simply because employees or persons paid by the Respondents have fulfilled
            those obligations 127.

             (ii) Business Plan

       170. The Respondents submit that "Under the MSA, the Business Plan had to include
            the following: (a) projected estimates of revenues, expenses, and cash flow
            associated with the Facilities; (b) estimated results of Facilities operations; (c)
            anticipated capital expenditure projects; (d) furniture, fixture, and equipment
            ("FF&E') improvement; (e) replacement plans; and (fi marketing plans"128.

       171. The Respondents also submit that Clause 2.5 of the MSA "required GGAM to
            deliver a business plan that satisfied the professional standard of care in the
            industry" over and above the specific requirements of the MSA129.

       172. The Respondents point out as failures of the Business Plan that:

              (a)   GGAM continually drew comparisons to the U.S. market — the market
                    they knew — without tailoring the Business Plan to the Philippine market.
                    For example, page 60 boldly states that the "wants and needs" of the
                    Manila mass market gaming customer are "nearly identical" to those of a
                    U.S. gaming customer.

              (b)   Portions of the Business Plan were wholesale copied from other
                    documents. Extensive portions parrot basic information that could have
                    been gleaned from a textbook or the Internet.

              (c)   The Business Plan "fail[s] to discuss the specifics of the Philippine
                    gaming market. The Business Plan completely ignores the specifics of the

126
      Rejoinder at para. 135.
127 Rejoinder at para. 138.
128 Defense at para. 73, referring to Annex A and Annex H to the MSA.
129 Defense at para. 74, citing clause 2.5(a) MSA.




                                                       60
                  domestic Philippine market. GGAM states that the Philippine market is
                  more similar to the U.S. market than to the Macau market without
                  investigating or researching the Philippine market". According to the
                  Respondents, "[iJt was essential that the Philippine market be specifically
                  and rigorously assessed so that a business model based on that research
                  could be developed"13°.

            (d)   "GGAM also failed to analyze Bloomberg 's competitors properly. For
                  example, GGAM's Business Plan failed to give real consideration to the
                  actual experience of Solaire's nearest competitor, Resorts World, with
                  respect to international players, facilities tailored for the local market,
                  and player retention. This imparts a false impression of the competitive
                  landscape" 131.

            (e)   "The Business Plan failed to provide important financial information and
                  five-year projections, some of which was expressly required by the
                  MSA:132 "annual budgets, revenue market share, expenses, results of
                   operations, cash flow, capital expenditure projects (such as facilities, and
                  FF&E), profit margins (total and by department), number of employees
                   (total and by department), EBITDA, and casino bankroll" 133.

            (f)    The Business Plan "failed to establish an appropriate business
                   infrastructure for the Solaire. For example, it fails to address the
                  following essential functions: (1) Accounting, Payroll, Accounts Payable;
                   (2) Casino Cashier Cage & Credit; (3) Convention Services; (4)
                  Engineering & Maintenance; (5) Entertainment Management and F&B
                  Inventory Control; (6) Finance; (7) Gaming Revenue Count; (8) Human
                  Resources; (9) Information Technology Management; (10) Internal Audit;
                   (11) Purchasing; (12) Receiving; (13) Safety, Security, and Surveillance
                  Management; (14) Spa, Health Club, and Pool Management; (15) Tenant
                   leases; and (16) Concessions" 134.

            (g)   The Business Plan "failed to identify the Solaire's business objectives or
                  to establish a method in which to measure whether these objectives were



130 Defense at para. 79.
131 Ibid.
132 See Claimants' Exhibit C-1, Clause 2.10(a) read with, Annex H — Definitions, "Business Plan".
133 Defense at para. 80.
134 Defense at para. 81.




                                                        61
                  being met", such as through identifying Key Performance Objectives
                  ("KPOs") and Key Performance Indicators ("KPIs").

           (h)    The Business Plan was provided only "[six] weeks before the Solaire was
                  scheduled to open" instead of the 60 days required by the MSA.

    173. In short, the Business Plan was "largely a boilerplate template business plan
         copied and pastedfrom other casinos", "included a compilation of "motherhood
         statements" and general descriptions largely lifted from previous reports
         commissioned for the Solaire" and "did not provide the required business road
         map [but] contained over-broad "strategies" and "action plans" that did not fit
         within the requirements of the MSA". The "deficiencies of the Business Plan, in
         combination and in the aggregate, rendered the Plan substantially inadequate
         and inoperable. Simply put, the Solaire could not be successfully operated under
         GGAM's `Business Plan"' 135.

          (iii) Marketing Plan

    174. The Respondents recall that the Claimants were required to "develop an
         adequate marketing plan... that conformed to industry standards" under Clauses
         2.2 and 2.10 of the MSA136 and to "to develop, implement, and manage a
         marketing plan for the Solaire" pursuant to Clause 6 of the MSA, which
         provides as follows137.

           "GGAM and the Management Team shall develop, implement and manage a
           marketing program for the Facilities, which may include utilization of brands,
           centralized services, affiliate programs, or other programs of GGAM, its
           affiliates, or third parties..."

    175. The Respondents complain that:

           (a)    "The purported "marketing plans" contained within the Business Plan
                  were merely strategic overview documents" 138 . Similarly, the "Casino
                  Mass Marketing Strategic Overview" was a PowerPoint presentation
                  which "contained statements of intent (i.e., "Solaire shall. . .') with no
                  details or mechanics of what actually needed to be done" and was merely

135 Defense at para. 78; Wheatley Supplemental Report at para. 1.
136 Defense at para. 83.
137 Defense at para. 87.
138 Defense at para. 89.




                                                        62
                  "a conceptual presentation" which was "delivered to the Executive
                  Committee on February 14, 2013, approximately one month before the
                  Solaire opened" 139.

           (b)    The "marketing plan" submitted by GGAM "did not contain any
                  timelines, a promotions calendar, a marketing budget, action plans, or
                  contingency plans. GGAMfailed to develop a comprehensive advertising
                  or media plan after opening day, and there were no agreed-upon metrics
                  to measures success or to ensure efficient spending"

           (c)    The "marketing plan" was "simply a disorganized assembly of data and
                  previously-drafted marketing plans without meaningful evaluation of the
                  local conditions or the specifics of the Solaire project". The Claimants
                  "assumed, without foundation, that the "Vegas" model would work". The
                  Respondents also submit that "it is perplexing why GGAM, as the experts
                  with "100 years of collective experience" felt it necessary to hire a
                  consultant to draft the marketing plan", concluding that "kJonsultants
                  were hired to make up for GGAM's lack of time and attention at the
                  Solaire" 141

    176. The Respondents also submit that one of the Claimants' "critical marketing
        failures was the establishment of the Solaire's customer loyalty program" 142:

           (a)    This program under the name of "Solaire Rewards Club" was "a hybrid
                  points-rewards system. Not only did the system generate complaints from
                  customers, who did not understand the dual-points system, but even Mr.
                  Stone admitted, notwithstanding his experience, that he did not understand
                  the system either"143.

           (b)    The program was a "complicated and confusing system" which "resulted
                  in a loss of goodwill among new patrons". For example, during the
                  Solaire's grand opening, "the "Solaire Rewards Club" complications and
                  inefficiencies resulted in countless people waiting in line at the Rewards
                  Club, rather than gambling"144.


139 Ibid.
140 Defense at para. 90.
141 Defense at para. 91.
142 Defense at para. 87.
143 Defense at para. 93; Respondents' Exhibit R-56.
144 Defense at para. 94; Razon Declaration at para. 40.




                                                          63
    177. In short, "GGAM did not prepare a marketing plan that reflected the skill and
         care to be expected in the industry, let alone a plan that was capable of being
         implemented" 145.

    178. The Respondents also point to GGAM "develop[ing] promotions and events on
         the fly, on a week-by-week basis" as evidence of the absence of a workable
         marketing plan146.

    179. The Respondents recall that "Bloomberg informed GGAM that it was alarmed
         at and upset by the absence of a marketing plan" in the following terms:

          [Estella Occefia is] so upset and disappointed that we have no marketing
          strategy and almost two months after opening, the marketing program,
          promotions and events are still in the formulation stage. The mechanics are still
          in the drawing board...147

    180. Finally, the Respondents submit that, "GGAM's principals did not rectify the
         situation", and that "GGAM's failure to provide a marketing plan is another
         incurable breach of its obligations under the MSA"148.

    B.      Claimants' Arguments

    181. The Claimants submit that GGAM developed and implemented comprehensive
         Business and Marketing Plans for the Facilities that followed prudent industry
         practice and satisfied the requisite standard of care149.

           (i) Business Plan

    182. GGAM asserts that it "developed a comprehensive Business Plan,
         communicated that Business Plan to the Owners and Solaire's management
         during its development, submitted the Business Plan to the EXCOMM, obtained
         the EXCOMM's approval of that Business Plan, and then executed and
         monitored Solaire's progress as measured against the Business Plan"15°. The


145 Defense at para. 89.
146 Defense at para. 96.
147 Defense at para. 98, Respondents' Exhibits R-53 and R-54.
148 Defense at para. 99 (Emphasis added).
149 SOC at para. 72; Reply at para. 73.
150 Reply
         at para. 73.



                                                       64
          Claimants emphasize that "EXCOMM accepted the final Business Plan without
          objection" 151.

    183. The Claimants argue that "the Business Plan presented to the EXCOMM fully
         complied with the requisite Standard of Care under the MSA", for the following
         reasons152:

          (a)    "There is no minimum or maximum limit to a written business plan in
                 terms of size, weight, mass, number of pages, or word count that can be
                 applied to all situations because all business situations are different..."

          (b)    The Business Plan "address[es] specifics of the Philippine gaming
                 market"153.

          (c)    The Business Plan discussion of the mass market for the Solaire was
                 sufficiently detailed so that "it is hard to imagine more detail and
                 comments regarding how Solaire will cater to the Manila/Philippines
                 market....pre-opening Business/Marketing Plans never are since they are
                 "best guesses" that are proven right or wrong because consumers "vote
                 with their pocketbook" upon opening"154.

          (d)    The Business Plan "contained KPIs and KPOs, even though they may not
                 have been expressly labeled with those names. For example, in the
                 incentive portion of Table Games and Slot sections of the Business Plan, a
                 number of references are made to loyalty club incentive thresholds and
                 measurements and compensation, commission, and other marketing
                 incentive thresholds. These performance measurement mechanisms are
                 examples of commonly utilized KPIs" 155.

          (e)    The Business Plan "address[es] specifics of the Philippine gaming
                 market" 156.

          (f)    The Business Plan "address[es] various elements of "business
                 infrastructure" such as systems to be employed (Bally casino software),


'Reply at para. 76; Claimants' Exhibit C-189.
152
    Reply at para. 76; Karoul & Macomber Report at paras. 67 and 101.
153 Karoul & Macomber Report at para. 74.1; Business Plan at pages 16 35, 36 — 45, 45 — 46, 47 — 52 and 52 — 53.
154 Karoul & Macomber Report at para. 74.3.
155 Karoul & Macomber Report at para. 73.2.
156 Karoul & Macomber Report at para. 74.1.




                                                       65
                 employee training programs, a loyalty club program, transportation
                 programs, use of third parties like SK+ G (advertising communication),
                 Universal McCann (media placement), Inviro Studios (animation studio),
                 Visions and Expressions (public relations), and the like" 157.

          (g)    In respect of "anticipated capital expenditure projects", the Claimants'
                 experts say that "It is not uncommon for a new property like Solaire to
                 have elected not to anticipate a capital expenditure ("CapEx") program
                 other than, perhaps, a working capital account on the balance sheet from
                 which small CapEx projects could be funded, during the first year of
                 operations" 158.

          (h)    In respect of "FF&E improvement and replacement plans", the
                 Claimants' experts say that "typical industry practice" is to "submit[) for
                 each operating year after opening the capital expenditure repair and
                 replacement request/budget" However, "[bJecause GGAM was terminated
                 prior to the start of the next operating year (2014), we believe that it is
                 reasonable to conclude that GGAM would have satisfied this requirement
                 just as it satisfied all otherfinancialforecast requirements in the past"159.

    184. Further, "[s_1everal components of the Business Plan, as defined by Annex H of
         the MSA, were provided to EXCOMM and Mr. Razon under separate cover or
         were not necessary components of the Business Plan for the first year of
         operations" 160 These included the following:

         (a)     "Projected estimates of revenues, expenses, and cash flow associated with
                 the Facilities", which were submitted in a 2013 Operating Budget161.

         (b)     "Estimated results of Facilities operations", which were submitted in
                 monthly "Financial Books" from March to July 2013162.

    185. In respect of the timing of GGAM's submission of their Business Plan, the
         Claimants submit that "[wJhile GGAM did not present the completed Business
         Plan to EXCOMM until January 2013...as early as January 2012, GGAM began


157 Karoul & Macomber Report at para. 75.2.
158 Karoul & Macomber Report at para. 72.3.
159 Karoul & Macomber Report at para. 72.4.
' 6° Karoul & Macomber Report at para. 72.
161 Karoul & Macomber Report at Exhibit 36.
162 Karoul & Macomber Report at Exhibits 15, 37 — 40.




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            to circulate detailed drafts of the Business Plan to, and discuss financial
            projections with, the Owners' representatives, underwriters, and attorneys.
            These initial drafts contained business and marketing sections of the Business
            Plan that also had to be incorporated into the Offering Circularfor Bloomberg
            Resorts Corp. 's equity offering. The Owners and their representatives reviewed
            and vetted these drafts"163.

            (ii) Marketing Plan

     186. GGAM explains that its marketing plan was incorporated into its Business Plan,
          and submit that the marketing plan:

            (a)   Was based on "extensive, targeted market research and customer analysis
                  of the local Philippine market commissioned by GGAM specifically for the
                  Solaire project" 164.

            (b)   Contained "market research of the local Philippine gaming market and a
                  strategic mass-marketing plan undertaken by Gaming Market Advisors
                  ("GMAT. GMA "conducted in-depth market research and competitor
                  analysis of Resorts World, in order to better inform GGAM and the
                  Management Team which marketing strategies were likely to succeed in
                  the local market" and "included interviews with local Philippine focus
                  groups regarding their desired experience at a casino resort" 165.

     187. The Claimants also submit that, in respect of hiring (among others) GMA to
          conduct market research, "engaging specialized consultants to assist with
          development of a marketing strategy is a normal gaming industry practice; most
          casinos find it beneficial and cost-effective to secure such consultant
          services"166.

     188. Separately, the Claimants also developed a comprehensive strategy to attract and
          develop foreign VIP and junket market segment 167 . This was done by
          establishing a framework and strategy for the Solaire's VIP marketing and




163 Reply at para. 75.
164 Reply at para. 83.
165 Ibid.
166 Reply at para. 84.
167 Reply at para. 88.




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            business development team's outreach to potential junket operators and foreign
            VIP customers168.

    C.       Analysis of the Tribunal

            N Scope of the Claimants' Obligations

    189. The Tribunal's starting point is to consider the precise scope of the Claimants'
         obligations under the MSA. Under Clause 2.4(a) of the MSA, GGAM was
         obliged to "perform its Services through the Management Team" (such Services
         being defined in Clause 2.2 as "the Services enumerated in Annex A"). The
         Claimants placed significant weight on this phrase in their written submissions
         and at the Liability Hearing, and both Parties commented on it at length.
         According to Clause 2.4(a), the Management Team, is "composed of the officers
         that GGAM will nominate, and the other department heads and officers and
         personnel who report to and are under the direction of the COO", as shown in
         the organizational chart attached as Annex D to the MSA.

    190. The expression "through the Management Team" was added to the draft contract
         by Mr. Razon to avoid having a company — GGAM — within a company and so
         that Mr. Razon could retain ultimate control of the management of the company.
         The Parties have different views on the significance of this expression. The
         Claimants submit that "the Tribunal must assess its performance under the MSA
         in light of the actions of the Management Team (taken with the GGAM
         management principals' advice and under their direction)."169 On the other
         hand, Respondents consider that the expression "through the Management Team
          `in no way diminished GGAM's obligations, including its obligations to `operate
         and manage the day-to-day operations of the Managed Facilities' ... These
         obligations are not seconded to the Management Team; rather, they were
         supposed to be accomplished in collaboration with the Management Team"17°.

    191. These statements reflect confusion in the roles of GGAM and the Management
         Team. This confusion is encapsulated in Clause 2.4(a) of the MSA which, if
         anything, reflects the Parties' failure to clearly delineate the roles of each
         contracting party. GGAM was to nominate and build most of the Management
         Team and to be involved thereafter as needed, but once the Management Team
         was in place and the COO had been appointed, it was the Management Team
168 Reply
          at para. 84.
169 Reply
          at para. 88.
170
    Rejoinder at para. 141.



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          who was responsible for the day-to-day operation of the Solaire. This was
          clearly the design and intent of Mr. Razon. Given the terms of the MSA and the
          structuring of the Management Team and its reporting requirements, it could not
          have been otherwise. The expressed confusion of Respondents on the roles of
          GGAM and the Management Team carries over to the criticism leveled at
          GGAM for not building up the company business infrastructure. There was no
          such obligation in the MSA, and the business infrastructure had been created in
          the Solaire as a result of how the relationship between GGAM and Bloomberry
          had been structured. The Respondents cannot now seek to rely on hindsight to
          belatedly modify their bargain when the express terms of the contract do not
          support such an interpretation.

    192. The plain language of the Parties' heavily-negotiated contract, entered into with
         the benefit of legal counsel on both sides, shows that it was through the
         Management Team — and not solely through the three GGAM principals — that
         GGAM was to perform its Services. As it became evident throughout the
         Liability Hearing, the GGAM Principals would approach and hire persons who
         could fill the roles in the Organizational Chart — roles which, it bears emphasis,
         were subject to the Owners' (i.e., the Respondents') consent. Thereafter, these
         persons formed the Management Team and were responsible for carrying out the
         necessary Services (in effect, to prepare the business infrastructure for the day-
         to-day operation of the Solaire).

    193. The Tribunal finds that what the Management Team did under Mr. French is to
         be attributed to GGAM for purposes of performing its obligations under Clauses
         2.2, 2.5 and 2.10 of the MSA, read together with Annexes A and H to the MSA.

          (ii) Business and Marketing Plans

    194. Under Clause 2.10, GGAM was obliged to prepare an Annual Budget, and
         Business and Marketing Plans and deliver them to the Respondents through the
         Management Team not later than 60 days before the commencement of the
         fiscal year, except in the case of the first time when they were due 60 days
         before the opening day of the Solaire171. The Marketing Plan was part of the
         Business Plan as presented in January 2013. The Tribunal will consider them
         together as part of its consideration of the claim of breach of the standard of



171 As defined in Annex H to the MSA, the Fiscal Year coincides with the calendar year, but for Fiscal Year 2013,
   which starts on the Start Date.



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          care. The criticism leveled by the Respondents at the Business and Marketing
          Plans refers to their timing, length and content.

    195. The Tribunal first observes that there is no record of any of the Respondents'
         criticisms at the time the Business and Marketing Plans and the 2013 Operating
         Budget were approved by EXCOMM and, by default as per Clause 2.10(b) of
         the MSA, by the Owners. When Mr. French was preparing for the forthcoming
         discussion of these documents by EXCOMM in February 2013, he noted that
         "Overall it should be an `easy' meeting. At one time or another, the above topics
         have been discussed with them individually so we are not starting from scratch.
         Also, they have all read the business plan (which they all complimented as well
         done) so they have that background information"172. Furthermore, there is no
         doubt that Mr. Razon saw the Business Plan. When asked at the Liability
         Hearing whether he received a report from the EXCOMM on issues related to
         the Business Plan, he replied: "I don't recall, but I saw the business plan. Unless
         there is an email there you want to point out"173.

    196. As to the issue of timing of the Business and Marketing Plans, on January 31,
         2013, Mr. Stone, President of GGAM, presented to EXCOMM and the Board of
         Directors the 2013 Operating Budget and the Business and Marketing Plans174.
         Thus, these documents were submitted for formal approval to the Board of
         Directors about six weeks before the opening date of March 16, 2013. However,
         there is no record that, at the time of their submission the Respondents raised
         timeliness as an issue. It is also evident from the record that the Management
         Team had worked on the Business Plan, including the Marketing Plan, since
         June 2012.175 For these reasons the Tribunal is satisfied that Claimants did not
         materially breach the MSA by presenting the Business and Marketing Plans to
         EXCOMM about two weeks late.

    197. As to content, the Business Plan is a document of 307 pages divided into 12
         chapters. The first chapter is an Executive Summary of 13 pages. The Tribunal
         has heard conflicting expert opinions on the desirable length of a business plan.


172 See Claimants' Exhibit C-189, E-mail from Mr. French to Mr. Saunders and Mr. Stone dated February 9, 2013
    (emphasis added by the Tribunal).
'Transcript (20 October) at p 117, lines 5 — 8.
" 4 JCB-142/ Claimants' Exhibit CE-25.
175 JCB-66/ Claimants' Exhibit CE-184, Compilation of Management Team Meeting Minutes, at Mgmt 052, 054
    (June 5, 2012) stating that the Business Plan template would be ready that day and that J. Valdes would focus on
    the Marketing Plan; at Mgmt 120 (August 28, 2012) stating that J. Valdes would send the revised Business Plan
    to "everyone"; at Mgmt 268 (November 13, 2012) stating that copies of the Business Plan were "distributed to
    everyone during last week's meeting".



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           For instance, that, on average, business plans should be 50 pages in length and
           not more, or that for a project of the magnitude of the Solaire, 50 pages would
           not be sufficient. The Tribunal does not consider the length a significant factor,
           the length may be affected by the way the text is laid out and presented. The
           question is how useful is the content of the Business and Marketing Plans to
           achieve their purpose. Here again the experts' opinions vary on what is the
           purpose of a business plan and the amount of detail to be included in it.

    198. Respondents' experts opine that the "Business Plan could not be used as a
         strategy document"176, was "not the high level road map it was meant to be"177,
         and there was no way that, if you were an employee and were replaced with
         someone else, this person could take the Business Plan and know how to
         proceed178 . The amount of detail to be included in a business plan varies
         depended on whom you ask. Experts Wheatly179 and Kleisner180 consider that
         the Business Plan did not include enough detail, while expert Lee opines the
         opposite and favors business plans that provide "concise high level
         overviews"181 But experts of both Parties concur that there are diverse opinions
         on what is a good business plan. When at the Liability Hearing expert Wheatley
         was asked whether reasonable minds may disagree on what is a good business
         plan, he replied: "Yes, everyone has a different point of view"182. Experts Karoul
         and Macomber opined similarly: "there are many ways to develop an effective
         business plan and execute the overall Business Effort"183.

    199. Notwithstanding the divergence of experts' opinions on what should or should
         not be in a business or marketing plan, or what should be its purpose, expert Lee
         states: "The areas that need to be covered are the target customers, the service
         product, operations, marketing, the management team and as well as a quick
         analysis of the market and competition, culminating in a projection of the
         business economics. Most of these components are covered in the Plan."184




176 Wheatley Report at p 1.
177 Lee Report at para. 2.2.
178 Witness testimony of Jim Kilby, Transcript (October 22) at p 211, lines 8 — 16.
179 Wheatley Report at p 1.
18° Kleisner Report at p 22.
181 Lee Report at para. 2.2.
182 Transcript (October 21) at p 236, lines 24 to p 237, line 2.
183 Karoul & Macomber Report at para. 63.
184 Lee Report at p 2 (emphasis added by the Tribunal).




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    200. That they are covered in the Business Plan is evident by a simple perusal of the
         index of the document. It is particularly relevant how the Business Plan was
         developed. Mr. Klebanow describes its development:

         "by those managers who would ultimately be involved in its implementation. For
         example, the food & beverage ("F&B ") director prepared his plan, the hotel
         director prepared the hotel business plan, and Dennis Andreaci and Loraine Koo
         (Vice President of VIP Services and Business Development) prepared the VIP
         plan. Individual sections were forwarded to Joe Valdes, who was the keeper of
         the document. He would receive the various sections from the different
         departments responsible for drafting, combine them together, and then sent that
         single, compiled document to the advertising agency, SK+ G, whose job was to
         make the document attractive. Mr. Valdes also created a Dropbox folder
         containing each department's respective sections for the Business Plan, which I
         could access as needed. "185

    201. Each of the managers who developed parts of the Business Plan were part of the
         management team put in place by GGAM and reporting to Mr. French. Thus,
         the Business Plan was developed by GGAM working through the Management
         Team of the Solaire.

    202. It is puzzling and unconvincing to the Tribunal that a document prepared by
         such a bottom-up approach would encounter such criticism addressed to the
         Claimants when it is evident that the Business Plan was the result of a group
         effort, and approved at the highest level by the Respondents.

    203. The Tribunal turns now to specific criticisms of the Marketing Plan. It concerns
         the mass marketing segment prepared with the assistance of Mr. Klebanow, the
         lack of details related to the foreign VIP and junket segments, and the
         implementation of the plan.

    204. The criticism of the mass marketing segment focuses on the alleged lack of
         understanding of the Philippine market by Mr. Klebanow, his methods and the
         type of incentives such as the Solaire Rewards Club. But his research and
         proposals were discussed with members of the Management Team186 and Mr.
         Stone, a matter not disputed by the Respondents. The Respondents have shown
         to what extent Mr. Klebanow's report was incorporated verbatim in the


185 Klebanow Declaration at para. 59.
186 Klebanow Declaration at paras. 22 and 57.




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          Marketing Plan187. On the other hand, some aspects of the player rewards
          program may have been modified before the Strategic Marketing Plan reached
          EXCOMM in order to accommodate Ms. Koo, who at the time was in charge of
          the rewards program at the Solaire.188 Ms. Koo was interested in "mimicking"
          the rewards program of the Galaxy in Macau, where she was Vice-President
          before joining the Solaire, and Mr. Klebanow had not fully reflected her
          comments in his original plan.

    205. But the criticism of Mr. Klebanow's contribution is misplaced in light of Ms.
         Koo's description of how the mass marketing plan was prepared. Ms. Koo
         declared under the heading "GGAM Had Little to No Involvement in the
         Development of Marketing Plans":

          "Todd Chandler and Rober Reichard led the creation of the Casino Mass
          Market Strategy, which was put together by the marketing team. Robert
          presented it at our weekly Marketing Steering Committee Meeting on January 3,
          2013. On February 14, 2013, the Mass Market Strategy was presented at the
          EXCOMM meeting which Mr. Saunders and Mr. Stone attended.

          Actually, each department within marketing was responsiblefor creating its own
          marketing plan. Similarly, each department within marketing was responsible
          for drafting a section of the Business Plan, which we then provided to Dennis
          Andreaci. At the February 14, 2013 EXCOM meeting, Dennis Andreaci and I
          also presented the VIP Premium Player and Junket Strategies " 189.

    206. The Tribunal notes that the process to prepare the Marketing Plan, as described
         by Ms. Koo, a witness of the Respondents, coincides with the description of the
         preparation of the Business Plan of Mr. Klebanow, a witness of the Claimants.
         It is not surprising that the same approach was followed for what became a
         single document. The Marketing Plan, like the Business Plan, was prepared by
         the Solaire's Management Team working in conjunction with GGAM. Thus,
         GGAM developed the Marketing Plan partially by its own efforts working with
         Mr. Klebanow and partially through the Management Team of the Solaire. In
         any event, under the contractual structure, the Marketing Plan must be attributed
         to the efforts of GGAM.



187 Respondents' Closing Argument at slide 75 et seq.
188 Klebanow Declaration at para. 98.
189 Koo Supplemental Declaration at paras. 10 —11.




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    207. The Tribunal finds the arguments of the Respondents unconvincing. It is
         contradictory to attribute the defects of the Business Plan or the Marketing Plan
         to GGAM, and at the same time, to argue that GGAM had little or no
         involvement in their development.

    208. As regards the lack of sufficient detail on the international mass-market segment
         and the VIP and junket market, the criticism is disputed by the Claimants who
         note that the plan discussed marketing strategies to attract premium and junket
         operators and addressed issues such as table games, niche marketing, player
         acquisition, etc. The Claimants have also explained that VIP and premium mass
         marketing of a new casino should take into account a ramp up period i.e. it is
         only after the essential facilities and services are running smoothly that VIP and
         premium mass marketing activities can swing into full gear. This would explain
         the modest marketing efforts in the initial, pre-ramp up period. The Tribunal
         accepts this explanation for the lack of detail on these market segments, and
         recalls that, as stated by Ms. Koo, Mr. Andreaci and Ms. Koo took responsibility
         for their preparation.

    209. The Tribunal also notes that, as part of the budget review, EXCOMM was
         presented with the VIP Marketing Plan and the Mass Market and Advertising
         Plan. There is no record that these plans encountered any criticism by
         EXCOMM at that time.

    210. The criticism of the post-opening phase is focused on the lack of proper
         marketing to the local mass-market. A few weeks after opening, the
         Respondents became alarmed by the shortfall in revenues as compared to the
         pre-opening forecast, in particular in the mass-market segment. In the case of
         that segment the shortfall seems to be attributable to overestimation of the
         strength of the local market by the Owners, by GGAM and by the Innovation
         Group, consultants to the Respondents before GGAM joined the Solaire. At the
         time of the IPO, the Offering Circular stated: "The Company considers the Mass
         Market in the Philippines to be an established gaming market and believes that
         the Solaire Manila product offering, relative to its existing competitors in the
         Philippines, will enable it to secure a substantial share of Philippine Mass
         Market customers"19°. This statement was based on the work of the Innovation
         Group, hired by the Owners. It turned out to be a misperception for reasons
         unrelated to GGAM's performance, including the fact that the Solaire was
         designed as a best in its class luxury five-star resort, and thus expensive for the

190 Claimants' Exhibit CE-8 (Bloomberry Offering Circular dated May 1, 2012) at pp 10 and 64.



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           mass market, it was of difficult access because of insufficient transportation
           infrastructure, amenities at the Solaire were incomplete, and it was the first
           property to open in Entertainment City.

    211. The Tribunal notes that the shortfall in the mass market continued for more than
         a year after the termination of the MSA (including many months after the
         termination of GGAM), but that the other segments were close to the estimated
         level of revenues by July 2013.

    212. To conclude, the Tribunal finds that GGAM fulfilled its obligation to prepare,
         through the Management Team, the Business and Marketing Plans under Clause
         2.10 of the MSA, and, through the Management Team, started to implement
         them. Regardless of the criticisms that have been leveled at the Business and
         Marketing Plans of the Solaire in this arbitration, the fact remains that they were
         prepared through the Management Team, discussed at the EXCOMM191, and
         approved by the management of the Solaire, including the Owners. This by itself
         renders hollow the belated criticism of the Business Plan and the Marketing
         Plans. Therefore, the Tribunal finds no merit in the Respondents' argument that
         GGAM breached its obligation to prepare and implement Business and
         Marketing Plans.




191 JCB-146/ Claimants' Exhibit CE-189, email of Mr. French to Messrs. Saunders and Stone dated February 9,
   2013.



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X. BREACH OF THE OBLIGATION TO ESTABLISH POLICIES AND
   PROCEDURES (ANNEX A TO THE MSA)

    A.     Respondents' Arguments

    213. The Respondents submit that the Claimants failed to establish policies and
         procedures as required in Annex A of the MSA.

    214. To the Respondents, "[t]he preparation and implementation of policies and
         procedures [was] critical for the successful operation of an integrated casino"
         since "Waving policies and procedures that are already drafted, and which can
         be implemented with certain minor adjustments, creates enormous efficiencies
         and is one of the major benefits of hiring a management company"192.

    215. The Respondents' fundamental complaint is that GGAM "failed to" either "have
         already" or "prepare" such policies and procedures "prior to the casino
         opening", such that "Solaire personnel had to develop `from scratch" the
         policies, systems, and procedures in-house to be able to operate the Facilities,
         with little to no inputfrom GGAM"193

    216. According to the Respondents, the Claimants also "fail[ed] to provide any
         guidance in developing policies and procedures for Solaire or in ensuring that
         the policies were integrated into a coherent, workable system"194. The Claimants
         produced no evidence that shows they "provided... insight and guidance" on the
         development of policies and procedures for the Solaire195.

    217. In particular, "llive] months prior to the casino grand opening, GGAM still had
         not provided policies and procedures in place for the credit and collections
         department" 196.

    218. The Respondents also complain that GGAM "delegated fully their obligation to
         establish and implement policies and procedures to the Management Team" 197,
         and submit that such delegation is "not in line with a management company's



192 Defense at para. 103; Lat Declaration at para. 5.
193 Defense at para. 105.
194 Rejoinder at para. 88.
195 Rejoinder at para. 87.
196 Defense at para. 105; Toh Declaration at para. 8.
197 Rejoinder at para. 84.




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           responsibilities" and that "Mr. Razon did not anticipate that Bloomberg's
           employees would be expected to draft the policies and procedures in-house"198.

    B.     Claimants' Arguments

    219. According to the Claimants, GGAM developed the necessary operating policies
         and procedures199. In particular, GGAM satisfied its obligations required under
         Annex A of the MSA:

           (a)    GGAM worked on systems, policies and procedures ("SP&Ps") relating
                  to time and attendance, training, sales incentive policy, code of good
                  behavior, employee manual, shuttle service, performance management,
                  employee discount, parking privilege, and child care center2°°.

           (b)    GGAM also completed an SP&P on internal controls, and submitted full
                  finance procedures to the EXCOMM for review2°1.

           (c)    GGAM also completed a System of Internal Control evidencing
                  compliance with the MSA (as assessed by the Claimants' experts)2°2.

    C.     Analysis of the Tribunal

    220. The Tribunal first notes that (as in respect of other obligations that GGAM had
         to discharge through the Management Team), the fact that the policies and
         procedures were prepared through the Management Team headed by Mr. French
         was sufficient for the discharge of GGAM's obligations. There was no
         obligation for GGAM to prepare policies and procedures separately and
         independently from the Management Team. Per the MSA, GGAM was to
         perform its obligations through the Management Team.

    221. The Tribunal also notes that, in respect of timing, the Respondents assert that,
         "these policies and procedures need to be in place prior to the casino
         opening"2°3. The Respondents fail to cite any clause of the MSA in support of
         this position, nor has it been pointed out which, if any, policies, were allegedly


198 Rejoinder at para. 85.
199 Reply at para. 36; Karoul & Macomber Report at para. 150 — 153, 166; Lucas Report at para. 28.
2c* Karoul & Macomber Report at para. 174.
201 Ibid.
2°2 Karoul & Macomber Report at para. 175.
203 See Defense at para. 103; Lat Declaration at para. 5.



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          late in their preparation, or how that affected or prejudiced the performance of
          the Solaire. Without such evidence it is impossible to find a breach, much less a
          material breach. Witness testimony shows that most of the policies were in place
          before opening. Thus, in his declaration, Mr. Lat, a witness for the Respondents,
          affirmed that "We have so far drafted about 80 policies and procedures, most of
          those were prepared by us during the pre-opening period, all of which are
          currently implemented"204. At the Liability Hearing Mr. Lat confirmed that the
          policies prepared under GGAM's management are currently in use 205 . The
          Minutes of the Weekly Leadership Team Meetings also confirm that policies on
          finance, gaming controls, human resources, etc. were being prepared in the
          course of 2012 and early 2013, were commented on by the principals of
          GGAM 206 , and were reviewed at a high level of the management of the
          Solaire207 including the EXCOMM and Mr. Razon for major policies. The
          Respondents make no complaints about the substance of the policies and
          procedures that were prepared by the Management Team and are in place.

    222. The Tribunal concludes that the members of the Management Team appointed
         or recruited by GGAM and the principals of GGAM brought to the table their
         knowledge of policies and procedures from their previous work experience, and
         contributed it to the preparation of those policies and procedures for the Solaire,
         for the most part before the casino opened. No evidence suggests that those
         policies and procedures that were prepared by the Management Team were not
         comprehensive and competent. As a result, the Tribunal finds, based on the
         evidence in the record, that GGAM fulfilled its contractual obligations with
         regard to policies and procedures and, therefore, the Respondents had no
         grounds to terminate the MSA on account of the Claimants' failure to fulfill
         such obligations.




2°4 Lat Declaration at para. 7 (emphasis added by the Tribunal).
205 Transcript (October 21) at p 63, lines 2 —11.
206 See SOC, Exhibit 28.
207 See the SOC, Exhibits 26, 27 and 30.



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XI. BREACH OF CLAUSE 23 OF THE MSA ("STANDARD OF CARE")

     A. Respondents' Arguments

     223. The Respondents' claim for breach of the standard of care is intertwined with
          their arguments of breach of other obligations by the Claimants, in particular the
          obligations to prepare policies and procedures, and business and marketing
          plans. The Respondents argue that, even if the Claimants prepared such policies
          and procedures or such plans, they failed to meet the standard of care in their
          preparation or implementation.

     224. According to the Respondents, "The problem here isn't where the policies and
          procedures are coming from, it's the lack of GGAM involvement, exercise of a
          standard of care that is expected in the creation of these policies and procedures
          in a rational way and in a harmonized way"208. The Respondents relate the
          breach of this obligation to the fact that certain parts of the Business and
          Marketing Plans were plagiarized from other plans, consultants were hired to
          prepare them, the Business Plan failed to establish appropriate business
          infrastructure, and the Claimants did not market the Solaire vigorously in the
          international mass market. For the Respondents, the Business and Marketing
          Plans were merely strategic overview documents without key performance
          objectives, and without adequate financial information or benchmarks against
          which to measure success or failure as required by the standard of care.

     B. Claimants' Arguments

     225. The Claimants assert that GGAM developed an appropriate business plan that
          followed prudent industry practice and satisfied the requisite standard of care.
          As regards timing, the Claimants recall that GGAM "began developing the
          Business Plan and sharing detailed drafts with the Owners as soon as it arrived
          at Solaire, in late 2011, more than 13 months prior to the Opening"2°9.

     226. According to the Claimants, they communicated the Business Plan to the
          Respondents and the Solaire's management during its development. As early as
          "January 2012", GGAM "began to circulate detailed drafts of the Business Plan
          to, and discuss financial projections with, the Owners' representatives,
          underwriters, and attorneys. These initial drafts contained business and

 208 Transcript (October 15) at p 148, line 6.
 209
    Reply at para. 74; Saunders Declaration at para. 62; French Declaration at para. 39; Karoul & Macomber Report
    at para. 76.



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           marketing sections of the Business Plan that also had to be incorporated into the
           Offering Circular for Bloomberg Resorts Corp.'s equity offering. The Owners
           and their representatives reviewed and vetted these drafts"210. Afterwards the
           Respondents' EXCOMM "accepted the final Business Plan without
           exception"211. Furthermore, GGAM contends that it supplemented the Business
           Plan with a comprehensive strategy designed to implement it.

      227. The Claimants dismiss as "quibbles" the deficiencies identified in the content of
           the Business Plan by the Respondents in this arbitration, and emphasize that the
           Business Plan constituted a dynamic document "designed to be adjusted
           periodically as warranted by changing circumstances"212. The Claimants affirm
           that the Business Plan contained the following213:

           (a)   Abundant discussion and analysis of the Philippine gaming market,
                 including the specifics of that market214.

           (b)   Key performance objectives and indicators, as well as necessary metrics to
                 monitor and measure performance, even if it may not have labelled them
                 as such215.

           (c)   All the financial information required under Annex H of the MSA216.

           (d)   All the essential systems required by the MSA, including necessary
                 software systems, employee training programs, a loyalty club program,
                 transportation programs, and use of third parties for advertising, media
                 placement and public relations217.

      228. The Claimants reject the Respondents' criticism that the Marketing Plan was a
           disorganized assembly of data, and affirm that it was based on extensive market
           research and customer analysis of the local market commissioned for the
           Solaire.



210
    Reply at para. 75; Claimants' Exhibits C-179 and C-180; Saunders Declaration at paras. 62 — 63; French
    Declaration at paras. 38, 40 and 43.
211
    Reply at para. 75; Claimants' Exhibit C-189.
212
    Reply, para. 80.
213 See also Karoul & Macomber Report at paras. 67 — 69.
214
    Reply at para. 77.
215 Reply at para. 78.
216
    Reply at para. 79.
217 Reply at para. 80.




                                                   80
229. The Claimants find unjustified the Respondents' criticism of the engagement of
     consultants by the Claimants. The Claimants explain that the engagement of
     specialized consultants to assist with the development of a marketing strategy is
     a normal and cost-effective gaming industry practice. It does not show lack of
     time and attention to the Solaire by the Claimants, as argued by the
     Respondents. Moreover, the Claimants assert that Mr. Razon and the EXCOMM
     were aware that a portion of the marketing strategy was based on the analysis of
     a consultant — Mr. Klebanow.

230. The Claimants address the Respondents' argument that the marketing plans were
     merely strategic overview documents with vague references to the VIP and
     junket market segments. The Claimants explain that a marketing plan can never
     encapsulate the entire marketing effort. It serves as a road map and, in the case
     of the Solaire, it was supplemented with other marketing documents such as the
     marketing research study of Mr. Klebanow, an advertising plan, a media
     campaign strategy, etc. The Claimants further explain that the lack of detail
     related to the foreign VIP and junket segments was due to their belief that
     targeted outreach to these customers should not begin immediately upon a
     casino's opening; it is necessary to make sure that the facilities are operating at
     the level that such customers would expect. The Claimants point out that the
     Respondents only discuss a PowerPoint presentation and not the actual
     Marketing Plan.

231. The Claimants argue that they did not pursue vigorously the international mass
     market because the local mass market was relatively inexpensive to attract and
     that the Solaire, as a new casino, needed a ramp-up period before pursuing the
     international mass-market segment. The Claimants submit that their marketing
     strategy was planned accordingly.

232. According to the Claimants, the Respondents' belated focus on the international
     mass market is due to their late realization that the Solaire was not designed,
     located or equipped to attract the local mass market. The underperformance in
     that segment reflects the Owners' overly optimistic prediction of the Solaire's
     ability to attract the local mass market rather than a marketing failure of GGAM.
     The Claimants point out that poor local mass-market performance meant that the
     VIP and junket segments performed relatively better than the Respondents
     expected, with gross gaming revenue exceeding the 35% expected by the
     Owners. The Claimants add that it was in light of these unmet expectations that
     they terminated the MSA, since they would owe GGAM higher fees than
     anticipated.


                                            81
233. Finally, the Claimants argue that underperformance of the mass-market segment
     could not be a basis for the termination of the MSA; the MSA provided that it
     could not be terminated for failure to meet the performance standards at least
     until the fourth year of the Solaire's commercial operations. Furthermore,
     financial performance is not a proxy for compliance with the Standard of Care
     and, in any case, the Respondents did not claim until this arbitration that the
     Solaire's financial performance was the basis for the MSA termination.

C. Analysis of the Tribunal

234. Clause 2.5 of the MSA provides as follows.

     "2 OBLIGATIONS OF GGAM

     Clause 2.5 Standard of Care

     GGAM warrants and undertakes that, in performing the Services through the
     Management Team, it shall use commercially reasonable efforts to comply with
     thefollowing, which shall be collectively referred to as the "Standard of Care":

     (a)   It shall exercise all the skill and care reasonably to be expected of a
           professionally qualified and competent manager of casino and hotel
           facilities experienced in performing work of similar nature and scope as
            the Services ("Prudent Industry Practice');

     (b)   It acts in the highest standards of business ethics;

     (c)   It will at all times act in the best interests of the shareholders of
           [Bloomberg] and [Sureste], and to maximize such shareholders' value in
           the performance of its obligation under this Agreement and in all dealings
           carried out by it in its capacity under this Agreement; and

     (d)   It shall comply with applicable Philippine law in the performance of the
           Services under this Agreement.

     Provided that GGAM's obligation to meet the Standard of Care set forth in this
     Clause 2.5 shall be subject to: (A) Owners ' funding of the amounts set forth in
     the Annual Budget for each operating year and as provided in this Agreement,
     and (B) equitable adjustment in the event of any Force Majeure, change in law,


                                             82
           or change in the provisions of the PAGCOR License. If the Owners disapprove
           of any Proposed Annual Budget prepared by GGAM with expenditure levels
           reasonably required in order to provide the Services and GGAM can reasonably
           demonstrate that the Owners' refusal to approve such Proposed Annual Budget
           will have an adverse effect on GGAM's ability to comply with this Clause 2.5,
           then GGAM will not be in breach of the provision of this Clause 2.5 that is so
           adversely affected by such disapproval."

    235. At the outset, the Tribunal notes that the obligation of the Claimants under
         Clause 2.5 of the MSA is an obligation to use "commercially reasonable
         efforts" in complying with the standard of care as defined in that clause. It is
         clear for the Tribunal that this is essentially a best efforts clause as understood in
         the gaming industry practice.

    236. It is also clear for the Tribunal that there is no objective statement of the
         standard of care in the gaming industry. When the Tribunal asked Mr. Saunders,
         the Claimants' witness, whether there was an objective statement of the standard
         of care or was it just a matter of personal knowledge and how people do
         business, he replied: "More the latter. I mean, one of the things about the
         standard of care, it's a business that you want to be successful and to make
         money, that's what we've done in our career with other gaming properties" 218.
         The Tribunal posed a similar question to expert Karoul, "Is there any objective
         manifestation of industry practice or industry standard of care for us to look to,
         or is it just based only on their experience?" He replied: "I think a lot of that is
         based on experience ..." 219 In the same line of questioning by the Tribunal,
         expert Macomber added:

              "...you need process to continue to iterate identifying what is wrong and
             fixing them. There is no financial book that I'm aware of no objective
              metric that I know of that measures process...we have spent substantial
              time looking over thousands of documents and it appears to us that... they
              had process.

              That's why we conclude, sir, perhaps without the metric you'd like, but
              that led to our conclusion they not only met but exceeded the standard of
              care in the case of Solaire"22°.


218 Transcript (October 19) at p 91, line 19.
219 Transcript (October 21) at p 54, line 15.
220
   Transcript (October 21) at p 218, line 7.



                                                  83
    237. The Tribunal has already addressed the alleged shortcomings in the Business
         and Marketing Plans and the Policies and Procedures. To a large extent, the
         grounds adduced here by the Respondents overlap with those argued under these
         headings. The Tribunal will address here the engagement of consultants to
         prepare the Business and Marketing Plans, and the Policies and Procedures, the
         process followed in their preparation, and ethical questions raised at the Liability
         Hearing.

    238. In the view of the Tribunal, the hiring of consultants to prepare plans or
         procedures does not show per se lack of care. In fact, it may prove otherwise,
         that certain tasks required specialized knowledge and it would have been in the
         best interests of Respondents that consultants provided expertise for those tasks.
         The Respondents' emphasis on the business plan being prepared by the
         Claimants ignores the obligation that the plan was to be prepared through the
         Management Team; the contracting of consultants through the Management
         Team would not mean that this obligation was not performed. In any event, the
         Respondents approved the employment of the consultants.

    239. Experts Karoul and Macomber, in replying to the Tribunal's questions,
         emphasized process in the preparation of policies and the business plan. The
         Claimants have described the iterative process in the preparation of the business
         plan prior to the IPO and afterwards until January 2013: "Now following the
         IPO, these elements [of the business plan] are refined and developed in iterative
         and working process, the process that respondents' own experts highlight.
         Under the supervision of GGAM, Valdes and French produced drafts. They
         required different divisions within Solaire to draft the segments, ensuring the
         divisions understood the goals and expectations, and bought into the
         implementation" 221.As explained by the Claimants, Mr. Valdes had prepared
         the business plan of Galaxy in Macau and used it "as a template for the Solaire
         plan in terms of its structure and organization, the relevant topics and the
         requisite level of detail"222 . The Claimants pointed out that Mr. Lee, the
         Respondents' expert, extolled the Galaxy business plan as a model. Thus it is
         not surprising that sections of the Galaxy's business plan found its way into the
         Business Plan of the Solaire.

    240. In the matter of process, and as already noted at paragraph 206 above, Ms. Koo
         testified to the process by which her team created a VIP marketing plan of 40


221 Transcript (October 15) at p 56, lines 5 — 12.
222 Transcript (October 15) at p 57, lines 1 — 4.




                                                     84
     pages. She sent it to Mr. Andreaci who reviewed it and in turn passed it to
     Messrs. Stone and Saunders, who reviewed it and copied it to Mr. French. The
     plan was later discussed at an EXCOMM meeting at which Messrs. Stone and
     Saunders were present. Consequently, that section of the plan had been prepared
     at the ground level of the Solaire and then it progressed through the management
     of the institution, including the EXCOMM with participation of two GGAM
     principals and the COO of the Solaire.

241. As also already noted, Mr. Lat testified that about 80 policies were prepared
     (mostly before casino opening) and are still being used. The Tribunal has not
     been presented with any concrete evidence of how these policies lack harmony
     or rationalization that can be attributed to the alleged disengagement or lack of
     care of GGAM.

242. The undisputed fact is that the management of the Respondents approved either
     explicitly or by default the policies, procedures, and the business and marketing
     plans, which had been previously prepared with the assistance of GGAM.

243. Best efforts to comply with the highest ethical standards is one of the four
     components of the standard of care in Clause 2.5 of the MSA. During the cross-
     examination of Mr. French, the Respondents revealed that Mr. Stone fired Mr.
     French from Las Vegas Sands ("LVS") because he failed to stop a rigged game
     after he became aware of it. Later, when Mr. Stone hired Mr. French to be the
     COO of the Solaire, GGAM did not disclose to the Respondents this incident in
     Mr. French's background. In the application form for a gaming license in the
     Philippines, Mr. French did not disclose why he had been fired at LVS, but
     stated that he left LVS to be a consultant. He also replied "no" to the question of
     whether he had ever been licensed in another jurisdiction. These facts were
     elicited for the first time at the Liability Hearing; they were not argued in the
     Respondents' prior memorials.

244. The Respondents have asserted that they only became aware of this issue in Mr.
     French's background through a Google search when they were preparing for Mr.
     French's cross-examination. Since the Respondents were not aware of this
     evidence at the time of the termination of the MSA, the Tribunal inquired from
     counsel as to the relevance of evidence discovered after the fact. Neither party
     was able to enlighten the Tribunal with certainty in this respect. In replying to
     the Tribunal's question of what was their case theory in this respect, counsel for
     the Respondents replied: "I would not say that that incident in isolation is a



                                            85
           material breach. It is further evidence that GGAM, as manager, did not follow
           the standard of care."223

    245. The Tribunal finds that this evidence does not prove a breach of Clause 2.5 of
         the MSA. This issue was not pleaded or joined, but instead it was belatedly
         raised in an attempt to bolster the claim that GGAM breached Clause 2.5(b) of
         the MSA (i.e. that it failed to act "in the highest standards of business ethics"),
         but it was not claimed that it constituted a breach itself. Although the evidence
         does raise legitimate concerns, it seems to be an isolated event; there is no other
         evidence of unethical conduct by GGAM, and thus, this evidence does not
         bolster or support similar evidence. Furthermore, this evidence was not known
         or considered by the Respondents at the time of terminating GGAM's contract,
         nor have the Respondents shown that they were prejudiced or damaged by such
         conduct. The Tribunal has taken this evidence into account, along with the stage
         at which it was introduced and the fact that the Respondents are not claiming
         that it is itself a breach. Even if this conduct could be said to fall within the
         terms of either Clause 2.5(b) specifically or the standard of care requirement in
         Clause 2.5 generally, the Tribunal is unable to find in the totality of the
         circumstances that the actions and/or omissions of Mr. Stone, Mr. French or
         GGAM in relation to these events — i.e. the circumstances of Mr. French's
         departure from LVS, Mr. Stone's subsequent appointment of Mr. French as
         COO of the Solaire and non-disclosure — either individually or collectively
         constitute a breach of Clause 2.5.

    246. To conclude on the standard of care, the Tribunal determines that the evidence
         presented to the Tribunal is not sufficient to substantiate a material breach of the
         obligation to make commercially reasonable efforts to comply with the standard
         of care. Therefore, there were no grounds to terminate the MSA based on a
         breach of Clause 2.5.




223 Transcript (October 24) at p 191, lines 21 — 24.




                                                       86
XII. BREACH OF THE                       OBLIGATION              TO       PROVIDE           "HANDS-ON
     MANAGEMENT'

     A. Respondents' Arguments

     247. The Respondents submit that the Claimants failed to provide "hands-on
          management"224. The source of this obligation is, according to the Respondents,
          based on the following "assurance" by Mr. Weidner: "During the Parties'
          initial discussions, Mr. Razon made clear that he expected "as close to full-time
          management" as possible, with Mr. Weidner as the "main driver." Mr. Weidner
          assured him that GGAM would provide a "hands-on approach to management"
          of the Solaire. Moreover, Mr. Weidner assured Mr. Razon that he would
          "personally oversee" the management activities, spending "significant time in
          Manila with the team"225.

     248. According to the Respondents, Mr. Weidner further "promised" to Mr. Razon
          that "[he] will personally oversee these activities, initially spending significant
          time in Manila with the team, then traveling about once a month to both be in
          Manila and in the region to set up a high end marketing network for
          Solaire Manila"226.

     249. The Respondents submit that the Claimants breached their promise to provide
          "hands-on management" for the following reasons:

            (a)    First, Mr. Weidner only came to Manila three times227.

            (b)    Second, Mr. Stone and Mr. Saunders spent only a few days each month at
                   the Solaire228.

            (c)    Third, GGAM's principals did not increase the frequency of their visits to
                   the Solaire, even when Bloomberry specifically requested their presence to
                   address problems and issues that were not being competently addressed by
                   Mr. French229.



 224 Defense at paras. 117 — 120.
 225 Defense at para. 117; Razon Declaration at para. 8; Claimants' Exhibit C-104; Rejoinder at para. 27.
 226
    Rejoinder at para. 27; Claimants' Exhibit C-33.
 227 Defense at para. 118; Razon Declaration at para. 32.
 228 Defense at para. 118; Claimants' Exhibit C-81.
 229 Defense at para. 118; Respondents' Exhibit R-56; Claimants' Exhibit C-96.




                                                            87
              (d)   Fourth, "there were extensive periods of time when not one of GGAM's
                    three principals was on the ground. Solaire, like any integrated casino
                    resort, is a 24/7 business. GGAM's principals were absent from its
                    premises more than one year — 440 days — out of the two years GGAM
                    was to act as Solaire's management services provider. Thus, the "hands
                    on" approach GGAM promised boiled down to leaving Solaire without
                    any GGAMpresence on the groundfor nearly 2/3 of the time the MSA was
                    in force"23°.

       B. Claimants' Arguments'

       250. The Claimants submit, first, that GGAM did not promise that its principals
            would be physically present at the Solaire "while performing their Services
            under the MSA". Even if they did, such promises are negated by the MSA's
            entire agreement clause231. Further, the MSA "does not contain any on-site man-
            hour requirement", and such a requirement is contrary to standard industry
            practice232.

       251. According to the Claimants, the Respondents did not engage GGAM to be the
            "day-to-day on-the-ground direct managers of Solaire", for the following
            reasons233:

              (a)    First, that requirement would have been inconsistent with GGAM's
                     obligation to generate high-end marketing networks for the Solaire
                     elsewhere in Asia;

              (b)    Second, that requirement would have been inconsistent with the MSA's
                     requirement (insisted upon by the Owners) that GGAM was to perform its
                     services through the Management Team.

       252. Further, it is "implausible" that, in "today's age of telephonic and electronic
            communications", GGAM's CEO could only successfully oversee GGAM's
            activities at the Solaire by personally being present there234.




230
      Rejoinder at para. 53.
231 Clause 18.12.
232
      Reply at paras. 37 — 38.
233 Reply at para. 38.
234
      Reply at para. 38.



                                                   88
       253. In denying the Respondents' claims in relation to the Claimants' representations
            as to being hands-on, the Claimants submit that "Mr. Stone made clear that — as
            was the case in their prior senior executive roles at Las Vegas Sands and Melco
            Crown — the GGAM management principals did not need to be physically
            present full-time in Manila to develop the property, oversee operations, and
           fulfill GGAM's MSA obligations"235.

       254. The Claimants further submit that "Mr. Weidner devoted significant efforts to
            the Project without needing to be physically present at Solaire"; that "Mr.
            Weidner developed the overall strategyfor the Project and personally conducted
            or oversaw the development of VIP marketing and business development
            initiatives by leveraging his contacts and relationships in Asia" and that once
            "GGAM put in place the elements of Solaire's overall strategy, it was hardly
            unusual for Mr. Weidner to monitor the Project's progress from wherever he
            was99236.

       C. Analysis of the Tribunal

       255. While the GGAM Principals could have spent more time in Manila at the
            Solaire and provided more `hand-holding' to their first customer who, as they
            acknowledge, was inexperienced in developing and operating a five-star
            integrated resort, the Tribunal is not persuaded that the evidence discloses any
            breach of the MSA. There is no obligation in the MSA that would have required
            the principals of GGAM to be physically present in Manila. The assurances of
            the Claimants at an early stage of the project did not find a place in the text of
            the signed MSA. The Tribunal has already dealt with the issue of the Integration
            Clause237 as a general issue and the extent to which extrinsic evidence may be
            taken into account in the interpretation of the MSA. Here the issue is not a
            matter of interpretation of a text, but of inserting new obligations into the MSA.

       256. Further, even if Mr. Weidner's "assurance" of "hands-on management" were to
            be considered part of the MSA (despite the Integration Clause) or as a
            representation, the situation changed after Mr. Razon revised the management
            structure. These changes in the management structure necessarily had
            implications for the direct involvement of the GGAM principals. The revised
            management structure provided that GGAM was to recruit the Management


235 Reply at para. 73; Claimants' Exhibit C-136.
236
      Reply at para. 49; Weidner Declaration at paras. 24 — 39.
237
      See above para. 67 et seq.



                                                           89
Team and thereafter perform its obligations through that team. This, the
Claimants did. Thus, the Tribunal finds that the Claimants have provided the
necessary hands-on management through the COO, Mr. French, and the
Management Team, and therefore, the Tribunal concludes that the Respondents
had no grounds to terminate the MSA on the basis of lack of hands-on
management by GGAM. Given the revised management structure, there was
also no misrepresentation, and certainly none on which Respondents could
justifiably rely.




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XIII. BREACH OF CLAUSE 16.2 OF THE MSA

      A.     Respondents' Arguments

      257. The Respondents submit for the first time in their Rejoinder (the last written
           pleading of either party) that GGAM's entry into a Support Services Agreement
           with Cantor (dated August 28, 2012)238 ("SSA"), under which GGAM relied on
           "Cantor, an investment bank, to run its management company and provide
           numerous services to GGAM... which GGAM then owed to Bloomberg",
           amounts to "an effective assignment of the MSA, in violation of the MSA 's
           assignment clause, which requires Bloomberg 's written consent before GGAM
           assigns either its obligations or benefits arising under the MSA"239.

      258. The Respondents explain that GGAM was obliged to provide the following to
           the Respondents24°:

                "(1) recommend the selection and order FF&E in accordance with the
                pre-opening plan and budget; (2) recommend the selection and order the
                gaming facilities' data processing equipment and software, surveillance,
                and security systems; (3) recruit, select, and hire employees for the
                Facilities and implement necessary procedures, techniques and training
                programs to obtain and evaluate qualified applicants; (4) review and
                consult on Owners' risk management program; and (5) appoint counsel."

      259. Under the SSA, Cantor agreed to provide the following services to GGAM.

                "(1) Payroll services; (2) Financial, risk management and operations
                services (including providing technical advice as requested on
                commercial contracts); (3) Accounting and treasury services (including
                "such other accounting and treasury services as may be requested for
                time to time'); (4) Legal services; (5) Human Resources; (6) IT Services
                and Communication Facilities; (7) Promotional Sales and Marketing; (8)
                Investor Relations; and (9) Miscellaneous—Cantor shall provide such
                other miscellaneous services to the Receiving Parties as the parties may
                reasonably agree."



  238 Respondents' Exhibit R-187.
  239 Rejoinder at paras. 167 — 168.
  240 See Annex A to the MSA, "Pre-Opening Services", items 7-9, 14 and 21.



                                                        91
      260. The Respondents submit that "[tJo accomplish these obligations, a management
           company would have a complete support staff organized department by
           department, broad in function and deep in personnel, and replete with systems,
           manuals, policies, procedures, audit, marketing, sales, and performance
           benchmarks"241.

      261. The Respondents characterize the SSA as an "effective assignment" of the MSA.
           Further, "Bloomberg was not aware of the existence of the SSA until December
           2014 and never received written notice of this assignment"242. The Respondents
           submit that the Claimants are therefore in breach of Clause 16.2 of the MSA.

      B.   Claimants' Arguments

      262. There are no arguments from the Claimants in this respect in the written
           pleadings because the assignment argument of the Respondents can only be
           found in their Rejoinder. The Claimants made a brief comment in their Opening
           Statement: "Respondents say, well, there is a support services agreement
           between GGAM and Cantor, and that was an assignment. The SSA only permits
           Cantor to provide GGAM, not to third parties, and they are the typical support
           services; accounting and treasury, legal services, human resources"243.

      C.   Analysis of the Tribunal

      263. It will be useful to reproduce here Clause 16.2 of the MSA. It reads as follows:

           "16. ASSIGNMENT AND SUB-CONTRACTING



           16. 2 Assignment by GGAM

           GGAM shall not, without the written consent of the Owners, assign either its
           obligations or benefits arising under this Agreement. The Parties acknowledge
           that GGAM may assign its functions under the Agreement to its Affiliates where
           William Weidner is the CEO, or William Weidner, Brad Stone or Garry
           Saunders, or any person nominated by any of them and approved by the
           Owners, are the senior officers who will be actively involved in the performance
           of such transferee's obligations under this Agreement, provided that such
241
    Rejoinder at para. 168.
242
    Rejoinder at para. 168.
243 Transcript (October 15) at p 88, lines 4 — 90.




                                                     92
            Affiliate shall have adequate capitalization and financial resources to comply
            with its obligations under the Agreement, including the indemnity obligations
            under Clause 12.1. Notwithstanding anything to the contrary herein, GGAM
            may assign this Agreement to an entity organized and existing under the laws of
            the Netherlands as required to satisfy the tax structure of GGAM provided that
            such entity must at all times be owned by the same constituent owners and
            controlled by the same individuals as GGAM (except for independent Dutch
            board members required under Netherlands law)."

    264. The legal nature of the "SSA" is not that of an assignment of the obligations of
         GGAM under the MSA. In this respect the Tribunal first notes that the SSA was
         signed on August 28, 2012, before the execution of the MSA. There is also no
         mention of the MSA in the SSA or that the services to be provided under the
         SSA would be services that GGAM needed to provide to the Solaire. The SSA
         provides that the Receiving Parties may request and Cantor may provide, or
         arrange for the provision of, the services listed in the agreement. Thus, Cantor
         has no exclusive right to provide services to the Receiving Parties. The parties to
         the SSA further acknowledge that the services to be provided are "intended to be
         administrative, technical and ministerial and are not intended to set policy for
         either Receiving Party"244. Furthermore, services are to be provided "subject to
         the ultimate authority of each Receiving Party to control its own business and
         affairs"245. It is obvious that GGAM maintained the right to set its own policies
         and make its own decisions in the operation of its business.

    265. It is clear from the terms of the SSA that it does not reflect an assignment of
         obligations or services under the MSA, or even relate to the MSA.
         Consequently, the Tribunal concludes that the Claimants have not breached
         Clause 16.2 of the MSA, since the SSA did not assign the MSA's obligations.




244 Article 3 of the SSA.
245 Ibid.




                                                 93
XIV. TERMINATION OF THE MSA UNDER CLAUSES 15.3(b) OR 17

    266. The Respondents claim that the Philippine Bureau of Internal Revenue's
         ("BIR") issuance of Memorandum Circular No. 33-2013 (the "BIR Circular")
         constitutes grounds to terminate the MSA either under Clause 17 or Clause
         15.3(b).

    267. Clause 17 deals with events offorce majeure. It provides as follows:

         "17. FORCE MAJEURE

              17.1 Event of Force Majeure

              "Event of Force Majeure" means:

             any events which was unforeseeable at the time this Agreement was signed,
             the occurrence and consequences of which cannot be avoided or overcome,
             and which arises after the time this Agreement was signed and prevents
             total or partial performance of this Agreement by a Party of its
             commitments under this Agreement. Such events will include war, declared
             or not, or hostilities involving the Republic of the Philippines or
             belligerence, blockade, revolution, insurrection, insurgency, riot, public
             disorder, expropriation, requisition, confiscation or nationalization by or
             involving any governmental authority of or within the Republic of the
             Philippines, earthquakes, typhoons, flood, fire, war, failures of
             international or domestic transportation, acts of Philippine or U.S.
             government or public agencies, epidemics, strikes and any other instances
             which cannot be foreseen, avoided or overcome, including instances which
             are accepted as force majeure in general international commercial
             practice.

              17.2 Consequence of Event of Force Majeure

             If an Event of Force Majeure occurs, a Party's obligations under this
             Agreement that are affected by such an event will be suspended during the
             period of delay caused by the Event of Force Majeure and will be
             automatically extended, without penalty, for a period equal to such
             suspension. The Party claiming an Event of Force Majeure will promptly
             inform the other Party in writing and will furnish within thirty (30) days
             thereafter sufficient evidence of the occurrence and duration of such Event
             of Force Majeure. The Party claiming an Event of Force Majeure will also
             use all reasonable endeavours to terminate that Event of Force Majeure.
             When an Event of Force Majeure occurs, the Parties will immediately
             consult with each other in order to find an equitable solution and will use



                                               94
                all reasonable endeavours to minimize the consequences of such Event of
                Force Majeure.

                As provided in Clause 3.6, the Owners shall use the insurance proceeds to
                restore or rebuild the damage or loss on the Facilities."

    268. In the letter of July 12, 2013246 from Mr. Razon to Messrs. Weidner, Stone and
         Saunders, Mr. Razon adduced as a further ground for termination of the MSA
         the issuance of the BIR Circular as an event of force majeure. But the
         Respondents have made no further references to force majeure as a justification
         for termination of the MSA, and did not make this argument in their pleadings.
         In the SOC, the Claimants noted that, "it appears that Respondents have
         abandoned this argument."247

    269. Clause 15.3(b), on the other hand, provides as follows:

           "15. TERMINATION


           15.3 Mutual Termination Rights

           Either Party may at anytime, by written notice addressed to the other Party,
           give notice of its termination of this Agreement, without the same being deemed
           a breach or default by either Party hereto, if any of the following have
           occurred:

           (a) a change in the terms and/or conditions of the PAGCOR License (or its
               cancellation, revocation or termination) and compliance with the revised
               terms and/or conditions would be likely to cause a material adverse effect
               on Owners' or GGAM's rights and obligations under this Agreement.

           (b) if there is any change in law, order, nule, regulation, or policy in any
              jurisdiction inside or outside the Philippines that results or would result in
               the carrying on of the Owners' or GGAM's business in the Philippines
               being unlawful or materially burdensome, or the Owners or GGAM losing
               its qualification, license, authority or capacity to perform under this
               Agreement.

           (c) if there is a change in the national gaming legislation in the Philippines that
               results in a material adverse impact on either Party's interests in the



246 Claimants' Exhibit C-3.
247 SOC at para. 212, footnote 334.




                                                  95
               Facilities, under this Agreement, or on any other business of GGAM inside
               or outside the Philippines.

           (d) a failure by GGAM under the provisions of items 2 or 3 of Annex B on the
               Performance Standards.

           (e) the (i denial, revocation, suspension or non-renewal of any gaming license,
               approval or permit of one Party which is caused by any action or inaction of
               the other Party or their respective Affiliates; or

               (ii) commencement of any action by the applicable regulatory authority
               seeking such a denial, revocation, suspension or nonrenewal that, if
               adversely determined, would result in the denial, revocation, suspension or
               non-renewal of any gaming license, approval or permit which is caused by
               any action or inaction of the other Party or their respective Affiliates;
               provided, however, the Party causing such event shall have the lesser of (A)
               one hundred eighty (180) days from commencement of such action, (B) such
               other time period as may be granted by the applicable regulatory authority
               and (C) such time period required by the threatened Party (as reasonably
               determined based upon the advice of legal counsel) to avoid the denial,
               revocation or suspension of any such gaming license, approval or permit
               held by such Party, as applicable, to cure any event giving rise to the
               commencement of such action described in clause (ii) hereof"

    270. In his letter of September 3, 2013248 to Messrs. Weidner, Stone and Saunders,
         Mr. Tan alternatively justified termination of the MSA under Clause 15.3(b)
         because the issuance of the BIR Circular made the operation of the Solaire
         "materially burdensome" for the Respondents. As explained by the Claimants,
         the BIR Circular had the effect of subjecting all PAGCOR licensees, including
         the Solaire, to a 30% corporate income tax on net taxable income, instead of the
         5% franchise tax on gross gaming revenues, which was embedded within the
         gaming fees that PAGCOR licensees had been required to pay. The
         Respondents have not pursued this issue further, and have not noted it in their
         pleadings.

    271. Since the Respondents have adduced no proof supporting these (potential)
         defences, to the extent that they are a live issue, the Tribunal finds that there is
         no evidence to support termination of the MSA based on Clause 15.3(b) or
         Clause 17.




248 Claimants' Exhibit C-37.




                                                 96
XV. THE CLAIMANTS' CLAIM THAT RESPONDENTS BREACHED THE MSA
    BY TERMINATING IT

   272. The Tribunal has rejected all of the Respondents' alleged material breaches of
        the MSA on which they relied to terminate the MSA, and finds that the
        Claimants have affirmatively satisfied their burden to prove that the
        Respondents breached materially the MSA by terminating it without cause.

   273. The Claimants have also argued that the MSA was wrongly terminated because
        the Respondents did not provide any opportunity to cure the alleged breaches as
        required by the MSA. The Respondents' contention is that those breaches were
        incurable. Given the Tribunal's conclusion on the termination of the MSA, the
        Tribunal does not need to consider whether the Respondents granted GGAM a
        cure period.




                                             97
XVI. LEGALITY OR PROPRIETY OF THE TERMINATION OF THE MSA:
     PRIOR CONFIRMATION OF THE TERMINATION BY AN ARBITRAL
     TRIBUNAL

       A. Claimants' Arguments

       274. The Claimants submit that, under Philippine law, "a party may not unilaterally
            rescind or terminate the contract for whatever cause without first resorting to
            arbitration... When an arbitration clause in a contract is availing, neither of the
            parties can unilaterally treat the contract as rescinded since whatever infraction
            or breaches by a party or differences arisingfrom the contract must be brought
           first and resolved by arbitration, and not through extrajudicial rescission or
            judicial action"249.

       275. Since the MSA contained an arbitration clause (Clause 19.2) and the
            Respondents terminated the MSA before the resolution of the Parties' dispute by
            arbitration, the Claimants submit that "Because Respondents' premature and
            unlawful implementation of the MSA 's termination has prejudiced GGAM and
            prevented GGAM from continuing its performance under the contract,
            Respondents are liable to GGAM for the forfeited management fees it would
            have received in the interim" 250.

       B. Respondents' Arguments

       276. The Respondents submit that Clause 19.1 of the MSA provides that "any
            dispute" may be settled by arbitration, including disputes regarding the contract
            breach or propriety of termination251.

       277. Further, if the Parties intended for termination to be effectuated only after the
            determination of an arbitral tribunal, then the Parties could have specified as
            much in the MSA. They did not, and the Claimants "should not be permitted
            now to insert extra-contractual language inconsistent with the Parties'
            agreement" 252.




  249 SOC at para. 204; Korea Techs. v. Lerma, G.R. No. 143581, January 27, 2008 ("Korea Techs").
  250 SOC at para. 205.
  251 Defense at para. 134.
  252 Ibid.




                                                        98
C. Analysis of the Tribunal

278. In light of the Tribunal's findings that the Claimants did not breach the MSA
     and that the Respondents had no valid grounds for termination, it is not
     necessary for the Tribunal to make a determination on this point.




                                         99
XVII. WHETHER THE RESPONDENTS FAILED TO PAY GGAM ITS
      MANAGEMENT SERVICE FEES AND THEREBY BREACHED CLAUSES
      3.4 AND 4 OF THE MSA

    279. Clause 3.4 of the MSA provides as follows.

           "3. OBLIGATIONS OF THE OWNERS

              3.4 Payment

                The Owners shall pay the GGAM Fees in accordance with Clause 4. The
                obligations of the Owners to pay the GGAM Fees shall be joint and
                several."

    280. Clause 4 of the MSA provides a schedule of fees, which can be summarized as
         follows:

        (a)   The Owners shall pay to GGAM a "Development Fee" of USD 100,000
              per month from the execution of the MSA to the Start Date of the Solaire.

        (b)   The Owners shall pay to GGAM a base "Pre-Opening Operations Fee" of
              USD 75,000 per month from the execution of the MSA to the Start Date of
              the Solaire.

        (c)   The Owners shall pay to GGAM an "Annual Base Fee" of USD 100,000
              per month.

        (d)   The Owners shall pay to GGAM certain "EBITDA-based Fees" which are
              pegged at specific percentages of the EBITDA generated post-opening
              from the Facilities' different revenue segments (such as the mass market
              segment and foreign VIP players).

    A. Claimants' Arguments

    281. Under Clause 3.4 of the MSA, the Respondents are required to pay GGAM
         management service fees in accordance with Clause 4. The management fee
         structure of this clause has been summarized above.




                                             100
       282. The Claimants submit that, "as a result of Respondents' wrongful termination,
            GGAM has been deprived of its management service fees under the MSA" 253.
            These fees include: (1) fees for the period between March 16 to September 12,
            2013, which represent the start of commercial operations of the Facilities
            through the date of Respondents' wrongful termination of the MSA, and (2) fees
            that GGAM expected to earn for the period after September 12, 2013 and over
            the course of the entire ten-year term of the MSA, but for Respondents'
            wrongful termination.

       283. The Claimants further submit that "in addition to the amount of fees for the
            period from March 16, 2013 to September 12, 2013, but for Respondents'
            wrongful termination of the MSA, GGAM would have earned fees over the
            course of the 10-year term of the MSA", and are claiming "the combinedfees for
            Base Fee EBITDA, Local VIP EBITDA, and Foreign VIP EBITDA, for the
            period from September 13, 2013 to March 15, 2023, in an amount to be
            determined at a final hearing in this matter"254.

       284. The Claimants' legal case for the recovery of all the management fees owed to it
            had the Respondents not terminated the MSA is set out in the following
            paragraphs.

       285. The Claimants characterize the management fees as "lost profits"255 . The
            Claimants submit that the legal doctrine of lucrum cessans ("the recovery of lost
            profits") is a "standard remedy for a breach of contract under the Philippine
            Code and case /aw"256.

       286. The Claimants also submit that their "right to recover lost profitsfor a breach of
            contract is well-established under international law", citing as an example the
            UNIDROIT Principles 2010257. In So v. Food Fest, Inc., G.R. Nos. 183628 &
            183670 (S.C., Feb. 9, 2011) ("Food Fest"), the Supreme Court of the
            Philippines explained that "[iJf there exists a basis for a reasonable expectation
            that profits would have continued to be generated had there been no breach of
            contract, indemnification for damages based on such expected profits is
            proper"258.

253
      SOC at para. 207.
254 SOC at para. 210.
255 Reply at para. 126.
256 Reply at para. 126; § 2200 Philippine Civil Code; Titan-Ikeda Construction & Development Corp. v. Primetown
    Property Group, Inc., G.R. No. 158768 (S.C., Feb. 12, 2008) ("Titan-Ikeda").
257
    Ibid.
258 Ibid. at footnote 351.




                                                       101
       287. The Claimants submit that this means GGAM need only have a reasonable
            expectation that future management fees would have continued to be
            generated259 and that on the facts, "GGAM had a reasonable expectation that it
            would earn the Management Fees for the MSA 's full ten-year term, had
            Respondents not wrongfully terminated the MSA" 26°.

       288. In the circumstances, GGAM submits that the "lost profits" in this case are the
            full amount of management fees which would have been earned pursuant to the
            schedule of fees in Clause 4 of the MSA, without any further expected costs,
            since "Management Fees are calculated based on EBITDA", under which the
            "costs for operated Solaire are deducted from revenue before calculating
            Management Fees" 261.

       289. The Claimants support the submission in the paragraph above, as well as their
            claim for "lost profits" generally, by submitting that the compensation structure
            was "backloaded"; GGAM was paid "only US$175,000 per month before
            Solaire's Opening", and "[iJn turn, the Parties understood that GGAM would be
            paid considerably more after Solaire's Opening through the Management
            Fees"262. According to the Claimants, "[s]tanding alone, the Pre-Opening Fee
            and Development Fee were not full compensation for the two years of the
            preceding work: the work was essential to setting up the Solaire for success and
            those fees were never contemplated to be the full compensation for GGAM's
            services"263.

       B. Respondents' Arguments

       290. The Respondents appear to deny — implicitly — the Claimants' alleged
            reasonable expectation that they were to be paid the full amount of Management
            Fees, and submit that the Claimants were already "compensated" for their
            contributions prior to the opening of the Solaire: "[aJlthough GGAM is careful
            not to acknowledge this expressly --GGAM was paid more than US$ 3.7 million
            in pre-opening and development fees for their services" 264. Furthermore, the



259
      Ibid.
260 Reply
          at para. 127.
261
    Reply at para. 128.
262
    Reply at para. 130.
263 Ibid.
264 Defense at para. 175 (emphasis in original).




                                                   102
     Respondents contend that the Equity Option was intended as compensation for
     the management services under the MSA.

C. Analysis of the Tribunal

291. The Tribunal has already established that the Respondents had no legitimate
     contractual basis for terminating the MSA and has upheld the claim of the
     Claimants that the Respondents wrongly terminated the MSA. Therefore, the
     failure to pay fees due under the MSA until its termination by the Respondents
     is in breach of the Respondents' obligation to pay such fees. The Tribunal does
     not now make a finding in respect of the amount of the fees due under the MSA
     before or after the MSA's termination or in respect of the Claimants' claim for
     lucrum cessans. These matters will be considered as part of the next phase of
     this arbitration (the "Remedies Phase").




                                          103
XVIII. THE CLAIM THAT THE RESPONDENTS MADE FALSE AND
       DEFAMATORY STATEMENTS ABOUT THE CLAIMANTS AND/OR THE
       ALLEGED BREACHES OF CLAUSE 14.2 AND 18.9 OF THE MSA

       A. Claimants' Arguments

       292. The Claimants submit that the Respondents had made the following defamatory
            statements (among others) (collectively, the "Allegedly Defamatory
            Statements") about the Claimants:

              (a)   "[GGAMJ turned out to be a very expensive, glorified executive-search
                    firm,' Razon said" 265.

              (b)    "Ricky [Razon] said the Las Vegas management group had turned out to
                     be nothing more than an expensive and glorified search team, disclosing
                     that CEO Bill Weidner (the former president of Las Vegas Sands Corp.)
                     visited the casino and resort complex only once — during the opening day
                     in March" 266.

              (c)    "For Solaire's nine and a half months of operations, the loss was nearly
                     US$6 million. Bloomberg blamed the red ink largely on mistakes and
                     inefficiencies' by consultant Global Gaming Asset Management (GGAM),
                     headed by former Las Vegas Sands president and chief operating officer
                     William Weidner" 267.

              (d)    The Claimants failed to spend "any material time in attending to the
                     management of Solaire" and to its "obligations and deliverables under the
                     MSA" 268.



       293. The Claimants explain that these statements were made "as early as September
            12, 2013, through various media outlets and to the Philippine Stock
            Exchange", and claim that they have caused "GGAM economic harm beyond
            the loss of the agreed fees under the MSA". According to the Claimants, these
            statements:




   265 SOC at para. 159; Claimants' Exhibit C-108.
   266 SOC at para. 159; Claimants' Exhibit C-109.
   267 SOC at para. 159; Claimants' Exhibit C-110.
   268 SOC at paras. 11.




                                                     104
              (a)   Violated the MSA, and were intended to harm the reputation of GGAM
                    and its principals, William Weidner, Bradley Stone, and Garry
                    Saunders269.

              (b)   Violated Clause 14.2 of the MSA, which prohibits the disclosure of any
                    information, for purposes unconnected with the MSA, which "by its
                    nature or may be marked to be confidential concerning the other party,
                    the Project Agreements, or the Facilities (including information
                    concerning the costs of operation or the business situation or financial
                    condition of the other party)
                                                "270   .




              (c)   Violated Clause 18.9 of the MSA, which requires the Respondents to
                    consult with GGAM "on all press releases containing previously non-
                    public information relating to the Facilities" and requires that "neither
                    Party shall issue such a press release without the prior written approval of
                    the other Party" 271.

              (d)   Are false because: (i) GGAM "spent significant time and effort performing
                    its responsibilities under the MSA, both inside and outside the Philippines,
                    including recovering the Project, ensuring the timely Opening of Solaire,
                    recruiting a world-class management team, assisting in the preparation
                    and delivery of a comprehensive Business Plan, including targeted
                    marketing plans, and establishing numerous other operating policies,
                    systems, and procedures necessary for the operation of the Facilities";
                    and (ii) GGAM also "spent a significant amount of time on site at Solaire.
                    On these days, GGAM's management principals walked the Facilities;
                    conducted in person reviews of the Facilities and operations; met with the
                    Management Team and the Owners' representatives, including Mr. Razon,
                    to discuss the operational status of the Facilities and any necessary
                    adjustments; and attended EXCOMM meetings. When not on site, GGAM
                    communicated frequently with the Management Team via telephone, e-
                    mail, and Skype"272.




269 SOC at para. 231.
270 SOC at para. 233.
271
      Ibid.
272
       SOC at paras. 235 - 236.



                                                       105
    B. Respondents' Arguments

    294. The Respondents deny that the allegedly defamatory statements are false, since
         they say the Claimants did in fact breach their obligations under the MSA273.

    295. Further, the Respondents submit that, in any event, their statements were
         justified:

           (a)    In respect of statements made to the Philippine Stock Exchange ("PSE"),
                  Bloomberry was required by the PSE to make a prompt disclosure of this
                  event. Notably, the PSE Disclosure Rules require prompt disclosure not
                  only of the removal of senior management, but also of the reasons for such
                  removal 274 . Therefore, the Respondents did not violate Clause 14.2
                  (governing confidentiality) of the MSA since Clause 14.2 provides, in
                  pertinent part, as follows:

                      "... Notwithstanding the foregoing, the Receiving Party may
                      disclose such confidential information (0 as required by law or by
                      the court of any competent jurisdiction or by an [sic] government
                      or regulatory body having jurisdiction over the Receiving Party
                      including gaming, tax, financial regulators..."

           (b)    In respect of the other statements, under Philippine law, statements made
                  in self-defense or with respect to a mutual controversy are not considered
                  libelous. In particular, "an expression of opinion by one affected by the act
                  of another and based on actualfact is not libelous" 275.

           (c)    With regard to the statements attributed to Mr. Razon, these statements
                  were "expressions of his opinion arisingfrom the mutual controversy with
                  GGAM'. They were merely made as an incident to the questions
                  surrounding the Respondents and the termination of the MSA.




273 Defense at para. 136.
274 Defense at para. 135.
275 Defense at para. 138; Respondents' Exhibit RL-43, Luis B. Reyes, The Revised Penal Code, Book Two (2001)
   (excerpts) at Art. 353.



                                                    106
    C. Analysis of the Tribunal

    296. To begin with, it appears that the Claimants are, in fact, advancing two different
         sets of claims on the basis of the various statements and publications cited,
         although the manner in which these are framed has tended to conflate them.

    297. The first is essentially a contractual claim for a breach of Clause 14.2 and 18.9
         of the MSA. On this claim, the Tribunal finds that the Claimants have simply
         not discharged their burden of proof to show that that the particular statements
         relied on fall within the scope of these clauses and amount to a breach. The
         Claimants have also not adequately addressed whether these statements are
         permitted by the contractual exceptions cited by the Respondents.276 Therefore,
         the Tribunal is unable to find that the Respondents have breached Clauses 14.2
         and/or 18.9 of the MSA.

    298. The second claim is essentially one for defamation or its equivalent under
         Philippine law. In this regard, the Tribunal observes that it has received precious
         little assistance from either party regarding the constituent elements and/or the
         applicable legal test for defamation under Philippine law. On the final day of the
         hearing, the Claimants' counsel provided some exegesis on this matter, which is
         captured in the exchange below.277

                       "MR PATRIZIA: The leading case, as we understand it, on
                        defamation is -- it's actually an interesting case.
                        It's what we in the US would think of as a first
                        amendment case. It's called MVRS Publications v the
                        Islamic Da'wah Council. GR 135306, 2003from the
                        Supreme Court, and it said to establish defamation,
                        the claimant must establish by a preponderance of
                        the evidence that there is an imputation of a crime
                        or a vice, defect, real or imaginary, or any act,
                        omission, condition, status or circumstance. That
                        imputation must be made publicly, it must be
                        malicious, it must be directed at a natural or
                        juridical person and the imputation must tend to
                        cause dishonour, discredit, or contempt of the
                        person defamed."




276 See Defense at para. 135.
277 See Transcript (October 24) at p 59, line 19 top 60, line 8.




                                                          107
    299. If the Tribunal accepts this formulation of the test for defamation under
         Philippine law, then the Claimants must establish "by a preponderance of the
         evidence that there is an imputation of a crime or a vice, defect, real or
         imaginary, or any act, omission, condition, status or circumstance" and that the
         imputation in question was made publicly, was malicious, was directed at a
         natural or juridical person and must "tend to cause dishonour, discredit, or
         contempt of the person defamed". These elements have not been established.

    300. Accordingly, the Tribunal finds that the Claimants have not discharged their
         burden to prove defamation on the basis of the statements relied upon. In
         particular, the Tribunal is not satisfied that there is a `preponderance of
         evidence' to show that the statements were made maliciously, especially in the
         context of the ongoing disputes between the Parties. The Claimants' counsel
         accepted that malice was a requisite part of a claim for defamation under
         Philippine law278.

    301. Much of the Claimants' case on malice hinged on an email from Mr. Razon on
         July 12, 2013, which the Claimants characterize as "an email stating their intent
         to defame GGAM as a negotiating tactic."279 The contents of the email28° are set
         out in full below:

                          "Attached is our letter to GGAM, as yet unsigned, clearly outlining
                          the facts and issues that have accumulated over the last few
                          months regarding GGAM"s execution of the MSA, of which we
                          have come to the firm conclusion has failed. I am very much aware
                          of the sensitive nature of this kind ofprocess and I strongly believe
                          that an amicable parting of ways between us is in everyone's
                          interest. I have not signed the letter as this would qualify as a
                          major event and trigger disclosure and I am also conscious that
                          you are trying to build a business in Gaming management and may
                          not welcome the publicity that would accompany such a
                          disclosure."

    302. Nothing in this email would allow a rational observer to conclude that Mr.
         Razon was threatening "to use the destruction of GGAM's reputation as a
         negotiating tactic"281 or that there was a malicious intent to defame generally.


278 See Transcript (October 24) at p 59, lines 13 to 14.
279 Reply at para. 258.
288 See Claimants' Exhibit C-96.
281
   Reply at para. 258.



                                                           108
303. This alone is sufficient to dispose of the Claimants' claims for defamation but
     the Tribunal also notes that:

     (a)   The mere act of setting out one's position in the context (or `heat') of a
           dispute, even if done vigorously, cannot be sufficient to constitute malice,
           especially when (as in this case) the evidence suggests that the maker
           believed in the accuracy of the impugned statements at the time they were
           made;

     (b)   The Claimants failed to properly address the effect of the Philippine Stock
           Exchange's disclosure requirements on their claims for defamation; and

     (c)   The Claimants did not adduce any convincing evidence to show that the
           impugned statements tended to "cause dishonour, discredit, or contempt"
           of the Claimants.




                                           109
XIX. WHETHER THE RESPONDENTS ARE ENTITLED TO RESOLUTION OR
     ANNULMENT OF THE MSA, INCLUDING THE EQUITY OPTION AND
     THE EOA UNDER PHILIPPINE LAW

         304. It is common ground between the Parties that "rescission or resolution of a
              contract is available for "substantial and fundamental violations" of the
              contract that would "defeat the very object of the parties in making the
              agreement"282. In other words, rescission or resolution of the MSA can occur if
              there are "substantial andfundamental violations" of the MSA.

         305. The Tribunal has determined that GGAM did not commit causal fraud and did
              not breach the terms of the MSA. The Tribunal further finds that the grounds
              for termination of the MSA adduced by the Respondents do not qualify as
              material or "substantial and fundamental" violations of the MSA that would
              justify rescission or annulment of the MSA. Since the Respondents' arguments
              about the Equity Option and the EOA are based on rescission or annulment of
              the MSA and there are no legal bases for rescinding or annulling the Equity
              Option granted in the MSA and the EOA, there is equally no basis to require
              GGAM to return the Shares.

         306. The Tribunal will turn next to the question of whether the Shares should be
              returned on grounds of unjust enrichment.




  282
        Rejoinder at para. 222; Reply at para. 121 citing Spouses Viloria v. Continental Airlines, Inc., G.R. No. 188288,
        January 16, 2012 ("Viloria") which provides that "rescission of a contract will not be permitted for a slight or
        causal breach, but only for substantial andfundamental violations as would defeat the very object of the parties
        in making the agreement".



                                                            110
XX. RESPONDENTS' CLAIM OF UNJUST ENRICHMENT

     A. Respondents' Arguments

     307. According to the Respondents, unjust enrichment exists "when a person unjustly
          retains a benefit to the loss of another, or when a person retains money or
          property of another against the fundamental principles of justice, equity, and
          good conscience"283.

     308. The Respondents further submit that a claim for restitution based on unjust
          enrichment "requires two conditions: (1) a person is benefitted without a valid
          basis or justification and (2) such benefit is derived at the expense of
          another"284.

     309. The Respondents' factual case is that GGAM "not only failed to render the
          required services under the MSA, but also misrepresented what GGAM, as a
          management company, not an investment vehicle, was able to offer Bloomberg
          and Sureste, equitable principles necessitate that GGAM should not retain the
          value of the option"285.

     310. On the assumption that GGAM breached the MSA, the Respondents' Philippine
          law expert Mr. Justice Vitug opined:

              66
                  whether or not such breach produces rescission under Article 1191 of
                   ...


              the Civil Code or mere contractual termination, the return of the Shares,
              whether in full or partial, may be ordered by the Tribunal in consideration
              of equity... If the Tribunal finds that such services were not rendered in
              accordance with the MSA, then an equitable return of the Shares may be
              ordered in exercise of its equity jurisdiction. As held in Reyes v Lim (G.R.
              No. 134241, 11 August 2003)_ 99286




 283 Rejoinder at para. 227 citing Vitug Supplemental Opinion at para. 38.
 284 Defense at para. 182; Vitug Opinion at para. 64, citing Republic v. Court of Appeals, G.R. No. 160379, August
     14, 2009, 596 SCRA 57 ("Republic"), Benguet Corporation v. Department of Environment and Natural
     Resources-Mines Adjudication Board, G.R. No. 163101, February 13, 2008, 545 SCRA ("Benguef') and Cool
     Car Philippines, Inc. v. Ushio Realty and Development Corporation, G.R. No. 138088, January 23, 2006, 479
     SCRA 404 ("Cool Car").
 285 Defense at para. 183.
 286
     Vitug Opinion at para. 62.



                                                         111
    311. The Respondents also point to the following facts to establish the benefits
         received by GGAM "without valid justification"287.

           (a)    The Shares were trading between PHP 8.28 to PHP 15.82. Thus, GGAM
                  has already earned a book gain of about PHP 8.2 billion (or nearly US$
                  200 million) after walking away from the partnership merely six months
                  after the Solaire opened, and failing to deliver on its many promises and
                  obligations.

           (b)    Such compensation would be beyond extreme in any context, given the
                  Parties' agreement, the Respondents unrealized expectations, and the
                  minimal work performed by GGAM.

           (c)    These circumstances mean that "it would be unjust to allow GGAM to sell
                  the Shares and enrich itself at Bloomberg's expense".

    B. Claimants' Arguments

    312. The Claimants submit that, under Philippine law and on the basis of Justice
         Feliciano's legal opinion, unjust enrichment is only applicable in situations in
         which there is no express contract between the parties. Accordingly, the
         Respondents cannot succeed in their claim for unjust enrichment given the
         uncontroverted existence of a written agreement that established the Parties'
         relationship288.

    313. The salient parts of Justice Feliciano's Opinion are reproduced below289:

             "79. For an action for recovery of what has been paid without just cause...
              the following conditions must concur: (0 the defendant has been enriched;
              (ii) the plaintiff has suffered a loss; (iii) the enrichment of the defendant is
              without just or legal ground; and (iv) the plaintiff has no other action or
             process available to him based on contract, quasi-contract, crime, or
              quasi-delict29°.




287 Defense at para. 184.
288 Reply at paras. 20 and 123; Feliciano Opinion at paras. 73 — 80.
289 Feliciano Opinion at paras. 79 — 85.
290 Citing Shinryo (Philippines) Company, Inc. v RRN Incorporated, G.R. No. 172525, October 20, 2010.




                                                         112
       81. As a general proposition, I respectfully submit that the principle of
       unjust enrichment finds application only in situations where there is no
       contract expressly entered into by the parties. Where there is a contract,
       which governs the rights and obligations of the parties, as in this case, the
       equitable remedy of unjust enrichment is not applicable.

       82. Even assuming that the equitable remedy might be available, it should
       be noted that [the Respondents' have not shown that all the prerequisites
       necessary to sustain a claim for unjust enrichment are present.

       83. There has been no enrichment of GGAM and no corollary loss on the
       part of[the Respondents] under the EOA because the transfer of the shares
       in BRC has been perfected and completed in accordance with the terms of
       the EOA Based on the pleadings of both parties, I understand that it is
       established fact that the purchase price for the BRC shares amounting to
       approximately US$37 million has been fully paid as of December 2012.
       GGAM, therefore, retains no benefitfor which it has not paid.




       85. ... The compensation for services rendered by GGAM under the MSA is
        clearly set out in Clause 4 thereof The compensation includes development
       fee, pre-opening fee, annual base fee, local VIP fee, and foreign VIP fee.
        ON the other hand, the option is set out in Clause 18.3 of the MSA; a close
       scrutiny of Clause 18.3 does not show any intention of the parties to have
        the shares subject of the option considered as part of the compensation or
        to have such option subject to GGAM's performance of tis MSA
        obligations."

C. Analysis of the Tribunal

314. Article 22 of the Philippine Civil Code provides as follows:

       "Every person who through an act ofperformance by another, or any other
       means, acquires or comes into possession of something at the expense of
       the latter without just or legal ground shall return the same to him."

315. The opinions of the two distinguished former Philippine justices diverge on the
     basic question of whether unjust enrichment applies in the case of an existing



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     contract. Given the determination of the Tribunal that the Claimants did not
     breach the MSA, it is of no consequence to follow either line of argument.

316. Indeed, if the remedy of unjust enrichment does not apply in the context of a
     contractual relationship, then the claim of the Respondents should be rejected
     for this reason alone. On the other hand, if unjust enrichment is applicable in a
     contractual relationship, then it will depend on whether the contract has been
     breached. Judge Vitug's opinion hinges on the assumption that there has been a
     breach of the MSA. Since the Tribunal has determined that the Claimants did
     not breach the MSA and has found that the Claimants did not make any
     misrepresentations, then there is no basis for a claim for unjust enrichment.
     Thus, the Tribunal finds that there is no basis for the Respondents to recover any
     amounts from the Claimants based on unjust enrichment.




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XXI. DISCLOSURE OF THE LIABILITY AWARD

      317. The Claimants have requested that the Tribunal determine that the final award291
           be made public in order for Claimants "to vindicate their right to respond to the
           continuing effects of Respondents' defamatory statements"292. In their Closing
           Argument at the Liability Hearing the Claimants also requested the Tribunal to
           "allow GGAM to provide a copy of the award to the Philippine courts,
           government authorities and any person involved in an opportunity to sell the
           shares, so that GGAM can demonstrate conclusively that there is no cloud on its
           title to the shares and its right to sell them"293.

      318. The Respondents have not specifically addressed the disclosure request as set
           forth by the Claimants in their Closing Statement.

      319. The Tribunal has rejected the Claimants' defamation claim, which was the basis
           for the Claimants' request in their Reply to make this Liability Award public.
           Therefore, there is no justification for the Tribunal to grant this request on
           grounds of defamation by the Respondents.

      320. However, the Claimants' request made at the Liability Hearing is more limited
           and is unrelated to the defamation claim; it relates to the validity of GGAM's
           title to the shares. Because this request was made at the closing of the Liability
           Hearing and the Respondents have not had an opportunity to address it, the
           Tribunal reserves this matter for further order, after the Liability Award.




  291 This request was made before the bifurcation of the proceedings.
  292
     Reply at para. 266(4)(d).
  293 Claimants' Closing Argument at Slide 204. See also the Claimants' Opening Statement at Slide 166.




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XXII. RESPONDENTS' CONCERNS ON PROCEDURAL EQUALITY AND
      BALANCE

      321. At the closing of the Liability Hearing, Counsel for the Respondents stated:

               "[ ...]we have been quite concerned in this proceeding and we made quite
                some record of it, which again I just don't think it's appropriate to
                rehearse right now, of the manner in which, in particular among other
                things, evidence has come in, to our mind, very much out of sequence, very
                much out of the procedure established by the tribunal.

                Immediately before these hearings, there was a simply overwhelming and
               wildly-improper submission of what was a complete re-do, a complete third
               round, and frankly, as we told the tribunal, in our judgment, completely
               destroyed the order and appropriate development of written evidence.

               As you've seen, we have been really unable to deal with that material in the
               way that I think our client has the right to expect us to do. I don't want to
               belabor that.

               There were earlier applications which, very unfortunately, required the
               tribunal to bifurcate these proceedings, multiplying expense quite
               considerably, and also as part of our applications, we were quite
               concerned about other aspects of those submissions.

               But again, I won't go on, but I must say that in this case, I really do have to
               be quite ample in saying that I, with no disrespect to the efforts that the
               tribunal has made to deal with this, we have been confronted with endless
               attempts to upset the procedural balance and equality of these proceedings,
               and I must say that I think they have had that effect."294

      322. Given the generality of these remarks and in order for the Tribunal to assess
           their significance, on November 6, 2015, the Tribunal invited the Respondents
           to advise the Tribunal of "your complaints in detail and what, if anything, you
           are requesting the Tribunal to do."

      323. The voluminous ensuing correspondence of the Parties, the related Procedural
           Order No. 14, and further correspondence of the Respondents are described in
           the Annex to this Liability Award. The Tribunal addresses the Respondents'
           concerns in said Annex, which is an integral part of this Liability Award.

  294 Transcript (October 24) at p 202, line 13 top 203, line 18.




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XXIII. OTHER MATTERS

       324. The Tribunal reserves its decision on the following matters:

             (a)    The Claimants' request that the Tribunal "[s]pecifically allow GGAM to
                    provide a copy of the award to the Philippine courts, government
                    authorities and any person involved in an opportunity to sell the shares, so
                    that GGAM can demonstrate conclusively that there is no cloud on its title
                    to the shares and its right to sell them"295; and

             (b)    The Claimants' request that the Tribunal "direct Respondents to inform
                    Deutsche Bank AG that Respondents and Bloomberry Resorts Corporation
                    have no objection to the immediate release of all dividends paid by
                    Bloomberry Resorts Corporation for the account of the Claimant Global
                    Gaming Philippines LLC'296.

       325. The Tribunal will issue its directions for the determination of the matters
            outlined above separately from this Liability Award.




   295 Claimants' Closing Argument at Slide 204.
   296 Claimants' Daniel Weiner's Email dated May 4, 2016.




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XXIV. RELIEF AND REMEDIES

       326. The Tribunal reserves its decision on the Parties' respective claims for relief and
            remedies which will be determined in the Remedies Phase, in accordance with
            the order for bifurcation in Procedural Order No. 11 dated August 12, 2015. The
            Tribunal will issue its directions for the Remedies Phase separately from this
            Liability Award.

       327. The Claimants, in their Closing Argument, requested that the Tribunal find the
            MSA to be "enforceable."297 The Tribunal is unsure as to what this request
            entails. It might suggest that the MSA be treated as continuing but that would
            appear to be inconsistent with the Claimants' requests for relief in their SOC298
            and Reply299, which suggest that the MSA be treated as being at an end. In any
            case, the Tribunal reserves this question to the Remedies Phase, especially since
            it is a question that is inextricably linked to the question of remedies.

       328. The Tribunal also reserves to the Remedies Phase its decision on the Claimants'
            request that the "Respondents, having obtained an injunction to prevent the sale
            of the shares, and having hindered and blocked the sale of the shares after the
            Tribunal's order, are liable in damages in an amount to be determined in a later
            hearing"3°°. The Tribunal notes that this issue involves both a question of
            liability (i.e. whether the Claimants "hindered and blocked the sale of the shares
            after the Tribunal's order") and, in the event that liability is established, any
            appropriate remedies to be ordered.




   297 Claimants' Closing Argument at Slide 202.
   298
      At para. 239.
   299 At para. 266.
   300 Claimants' Closing Argument at Slide 203.




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XXV. COSTS

    329. The Claimants and the Respondents have respectively pleaded that the Tribunal
         award them reasonable attorneys' fees, costs and expenses, their share of the
         fees and costs paid to the Tribunal and all other fees and expenses incurred in
         connection with this proceeding.

    330. The Tribunal reserves its decision on costs until the next phase of the
         proceedings.




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XXVI. DECISION

     For the reasons set forth above, the Tribunal has decided:

     1. That there was no causal fraud or misrepresentation by the Claimants in relation to the
        MSA.

     2. That the Respondents have not substantiated their claim that the MSA is voidable on
        the basis of Article 1331 of the Philippine Civil Code.

     3. That the Respondents' termination of the MSA was not justified, and thus constitutes a
        breach of the MSA.

     4. That the Respondents had no basis to rescind or annul the MSA.

     5. That there is no basis on which to rescind the EOA or to require the return of the
        shares.

     6. To reject the Respondents' claim that GGAM would be unjustly enriched if permitted
        to sell the Shares.

     7. That there is no basis for the Respondents to challenge GGAM's title to the Shares in
        BRC on the grounds pleaded, and thus GGAM can exercise its rights in relation to the
        Shares, including the right to sell them.

     8. That the Respondents breached the MSA and are liable for the management fees in an
        amount to be determined in the Remedies Phase.

     9. To reject the claim that the Respondents have defamed GGAM and breached Clauses
        14.2 and 18.9 of the MSA.

     10. To reserve its decisions on the matters outlined in paragraph 324 above.

     11. To reserve its decisions on relief, remedies and costs to the Remedies Phase (as well
         as the question of whether there is any difference between the respective rights and
         liabilities of each of the Claimants and/or the Respondents).

     12. Except as reserved and decided above, all other claims and counterclaims are
         dismissed.

     13. To consult the Parties on the organization of the Remedies Phase.

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                                                Mr Michael Hwang S.C.
              Arbitrator                              Arbitrator




                            Dr.
                            Or. Andres Rigo Sureda
                              Presiding Arbitrator
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  ANNEX TO THE AWARD ON LIABILITY: RESPONDENTS' CONCERNS ON
  PROCEDURAL FAIRNESS AND EQUALITY

    1.    In their Letter to the Tribunal dated November 20, 2015 captioned
          "Respondents' Concerns Regarding Procedural Fairness and Equality of this
          Arbitration" (the "November 20 Letter"), the Respondents took up the
          Tribunal's invitation to elaborate on their oral remarks described in paragraph
          321 above and did so under the following four headings:

           (a)     "Claimants' manipulation of the document disclosure process deprived
                   Bloomberry of its due process right to present its defence in the Liability
                   Phase of the arbitration".

           (b)     "Claimant's continued leveraging of the procedural schedule resulted in
                   a proceeding that disregarded Bloomberg 's basic due process rights to
                   be heard and to present its defence".

           (c)     "Claimants improper interim measures request expedited the Tribunal's
                   consideration of the merits of the case, on an incomplete and distorted
                   record, resulting in preconceived notions of Bloomberg 's positions and
                   counterclaims before Bloomberry had the opportunity to put forward its
                   case".

           (d)     "The Tribunal issued an Interim Measures Order in disregard and
                   violation of the procedures it had established and to which the Parties
                   agreed".

    2.     Apart from the allegations/submissions the Respondents made under the four
           broad headings above, they made only two requests for relief, as follows3°1:

           (a)     "In light of the fact that the Tribunal has not yet closed the record,
                   Bloomberry respecffidly reiterates its request for appointment of a
                   special master and/or in camera review of the disputed documents" (the
                   "First Request"); and

           (b)     "Bloomberry also respectfully requests the opportunity to propound
                   document requests related to Claimants' damages claims" (the "Second
                   Request").

301 See p 18 of the November 20 Letter.



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3.   At the Tribunal's invitation, the Claimants responded to the Respondents'
     November 20 Letter by their Letter to the Tribunal dated December 1, 2015 (the
     "December 1 Letter"). Apart from responding to the various
     statements/submissions, the Claimants submitted that the Respondents' First
     and Second Requests should be denied.

4.   In Procedural Order No. 14 dated December 12, 2015 ("PO 14"), the Tribunal
     made the following directions in response to the Respondents' November 20
     Letter and the Claimants' December 1 Letter:

     (a)    The Tribunal would address the allegations made by the Respondents, to
            the extent that they refer to the Tribunal, in the Liability Award;

     (b)    The Tribunal dismissed the Respondents' First Request; and

     (c)    With regard to the Second Request, in the event that the Tribunal were
            to find against the Respondents in the Liability Award, the Tribunal
            would consult with the Parties on the appropriate directions for the
            Remedies Phase of the proceedings.

5.   On December 14, 2015, the Respondents made further (unsolicited) submissions
     to the Tribunal by way of email (the "December 14 Email"). The Respondents
     submitted that, contrary to the Tribunal's indications in PO 14:

     (a)    The Tribunal had previously found that the Respondents' document
            requests were relevant and material to the outcome of this arbitration (in
            its Decision on Respondents' Document Requests dated February 16,
            2015); and

     (b)    The IBA Rules 2010 "specifically contemplate the appointment of a
            special master" under Rule 3(8).

6.   On December 28, 2015, the Tribunal wrote to both Parties by email to indicate
     that it had taken note of the Respondents' December 14 Email and would
     address the matters raised in the Liability Award.

7.   The Tribunal now addresses each of the Respondents' allegations/submissions
     that they advanced in their November 20 Letter and December 14 Email, in so



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     far as they have not been addressed already by the Tribunal during the course of
     these proceedings.

A.   "Claimants' manipulation of the document disclosure process deprived
     Bloomberry of its due process right to present its defence in the Liability
     Phase of the arbitration"

8.   The Respondents made several allegations under this heading, most of which
     broadly relate to the document disclosure process in this arbitration:

     (a)    That the "Claimants engaged in a massive fishing expedition,
            propounding more than 170 document requests", of which the "Tribunal
            rejected (or Claimants withdrew) more than half of their improper
            requests".

     (b)    That the Claimants "withheld their privilege logfor 6 weeks, frustrating
            the timetable" and when they did produce the privilege log, it was "rife
            with deficiencies" and produced "at the last possible moment at which
            Claimants could obtain maximum advantage in the briefing schedule".

     (c)    That the Tribunal "determined that the procedural schedule did not
            allow for appointment of a special master because, at that late date in
            the proceeding, to do so would have disrupted the hearing schedule".

     (d)    That the Respondents' expert "verified that Claimants' privilege
            designations appear to be improper under U.S. law".

     (e)    That the "suppression of critical evidence has prejudiced Bloomberg 's
            right to a fair hearing in the liability phase of the Arbitration" with its
            only examples of such prejudice relating to the role/involvement of
            Cantor.

     (f)    That the Claimants' "[bJy improperly withholding their damages case
            until after the conclusion of the document exchange period...have
            deprived Bloomberry of an opportunity to request documents relevant
            and material to Claimants' damages claims".

9.   The Tribunal notes that the bulk of the Respondents' allegations under this
     heading are directed at the Claimants' conduct and not the Tribunal's
     application of the relevant law and rules. Nevertheless, the Tribunal has


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           considered the Respondents' allegations/submissions under this heading in the
           context of the propriety of the document disclosure process in this arbitration,
           and specifically the Liability Phase.

    10.    The Tribunal also notes that the document disclosure process in this arbitration
           is governed by the IBA Rules 2010302 read with the relevant provisions of the
           UNCITRAL Arbitration Rules 20103°3. The Respondents, however, scarcely
           attempted to ground their allegations/submissions on the relevant provisions of
           the applicable rules.

    11.    In respect of the objection at paragraph 8(a) above, the Tribunal duly applied
           Article 3 of the IBA Rules 2010, which produced a result (where "more than
           half' of the Claimants' requests were refused or withdrawn) and with which the
           Respondents seemed broadly satisfied. Indeed, after the Tribunal issued its
           decisions on the Claimants' First Redfern Schedule on February 16, 2015, the
           Respondents did not raise any objections to the Tribunal's decisions on the
           Claimants' requests until its November 20 Letter.

    12.    In respect of the objection at paragraph 8(b) above, the Tribunal notes that the
           first and only time the Respondents raised the issue (before the November 20
           Letter) was by their counsel's email of April 7, 2015. The Claimants then
           produced their privilege log on April 10, 2015. Moreover, the Respondents were
           not prejudiced in their procedural rights since (a) they were afforded more than
           four months thereafter to file their Rejoinder on Liability and (b) in any case,
           the documents on the privilege log and the issues to which they were alleged to
           be related were held not to be relevant and material to the outcome of the
           dispute3°4.

    13.    In respect of the objection at paragraph 8(c) above, the Tribunal notes that the
           IBA Rules 2010 obliges the Tribunal to consider procedural economy in dealing
           with requests for document production and related evidentiary matters. Further,
           the procedural schedule was not the sole reason for the Tribunal's decision to
           refuse the Respondents' requests for the appointment of a "special master". The
           Tribunal specifically considered the value and utility of such an appointment
           and weighed it against any procedural inefficiencies. For example, in Procedural
           Order No. 7 the Tribunal expressly stated that "the appointment of an expert


3°2 See Clause 19.2(g) of the MSA.
3°3 See Clause 19.2 of the MSA.
3°4 See paras. 16 — 36 on the Privilege Log in the Liability Award above.




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           would be of limited value as compared to the procedural delays that may result
          from such appointment".

    14.    At this juncture, it is appropriate to consider the Respondents' most recent
           request for the appointment of "a special master and/or in camera review" of
           the documents on the Claimants privilege in their November 20 Letter3°5, which
           was refused. In addition to the considerations which it weighed when faced with
           the earlier request, the Tribunal was additionally satisfied, after having heard the
           evidence and submissions of the Parties, that the documents on the privilege log
           and the issues to which they were alleged to have related were not relevant and
           material to the outcome of the dispute36. PO 14 expressly recorded that the
           Tribunal was "not persuaded that, regardless of claims of privilege, the
           documents, if admitted, would be relevant and material to the outcome of the
           case". It is also pertinent to note that under Singapore law (as the lex arbitri)
           there is no "special master" or "an in camera review" (both terms in the sense
           known under US law, and presumably the sense that the Respondents intended
           them to bear when they made their submissions).

    15.    For the avoidance of doubt, the Tribunal reaffirms that (assuming that
           Singapore arbitration law permitted a Singapore-seated tribunal to make such
           appointment or order) it is satisfied that the appointment of a special master
           and/or an order for in camera review was, on each of the occasions that it was
           requested, not appropriate or warranted in the circumstances of this case.

    16.    The Tribunal notes, in passing, that the Respondents, in raising its plea for the
           appointment of a special master or an "in camera review", did not consider (a)
           whether such an appointment or order was permitted and/or customary under
           the law of the seat i.e. Singapore, and (b) what the concept of a "special master"
           entailed, given that this appeared to be a procedural mechanism borrowed from
           American court procedure (when the US is not the seat), with which not all
           members of the Tribunal were familiar. Neither did the Respondents adequately
           explain and/or justify its attempt to shoehorn this request under Rule 3(8) of the
           IBA Rules or Article 29 of the UNCITRAL Rules, apart from referring to these
           provisions (at a late stage of the proceedings) with little elaboration. Nor did the
           Respondents provide any useful authorities or literature which supported the
           utilization of such a mechanism in this case. Nevertheless, the Tribunal



305 Referred to at para. 2(a) above.
306 See paras. 16 — 36 on the Privilege Log in the Liability Award above.



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           proceeded to consider these provisions fully and concluded that they were not
           applicable and/or appropriate in these circumstances.

    17.    The Tribunal reaffirms that its decision to refuse the Respondents' request for
           the appointment of a special master, an independent expert or an in camera
           review in respect of the privileged documents ultimately rested on its analysis of
           the procedural implications of such an order weighed against its potential utility,
           viewed in light of the Parties' submissions on the relevance and materiality of
           those documents to the disputed issues in this arbitration.

    18.    In respect of the objection at paragraph 8(d) above, the Tribunal fully heard and
           considered the evidence, both written and oral, of the Respondents' expert on
           U.S. law. That evidence, however, did not assist the Respondents in overcoming
           the difficulties of establishing the relevance and materiality of the documents on
           the privilege log.

    19.    In respect of the objection at paragraph 8(e) above, the Respondents were
           afforded the opportunity to present their various requests for documents as well
           as any further or consequential matters flowing from such requests. The
           Tribunal heard and considered both Parties in respect of each
           request/application and reached its determination in accordance with the
           applicable rules. The two examples cited by the Respondents in support of their
           allegation of a "suppression of critical evidence" both relate to "documents
           regarding Cantor Fitzgerald". The Tribunal has determined that this issue is
           effectively a red herring and does not have either a factual or legal bearing on
           any of the pleaded grounds advanced by either party307.

    20.    At this juncture, it is appropriate to consider the Respondents' further
           submission in their December 14 Emai1308. The effect of that submission is that
           the Tribunal's statement in PO 14 that it was not persuaded on the relevance and
           materiality of the Respondents' document requests in relation to the privilege
           log contradicted its own earlier finding on relevance and materiality in its
           decisions on the Respondents' First Redfern Schedule dated February 16, 2015.

    21.    The Tribunal notes that PO 14 (and the issue of the documents on the privilege
           log generally) dealt with individual documents rather than the classes of
           requested documents identified in the Redfern Schedule. By the time of PO 14,


307 See paras. 140 — 148 of the Liability Award above for the Tribunal's findings on Cantor's Role.
308 See para. 5(a) above.



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           the Tribunal also had the benefit of various rounds of submissions on this issue
           as well as the full suite of evidence and oral arguments presented at the Liability
           Hearing, which led to its conclusion on the relevance and materiality of the
           documents in PO 14. Therefore, the findings in PO 14 are not contradictory to
           the Decisions on the Redfern Schedule, but rather, with the benefit of the
           evidence and submissions of the Parties through the course of the Liability
           Phase, the Tribunal arrived at a more detailed understanding of the relevance
           and materiality (or lack of it) of those documents.

    22.    For completeness, the Tribunal reiterates that, with the benefit of the evidence
           and submissions presented by the Parties through the full course of the Liability
           Phase of this arbitration, it has determined that the Respondents have not been
           able to demonstrate that the documents on the Claimants' privilege log are
           relevant and materia13°9.

    23.   In respect of the objection at paragraph 8(f) above, the Tribunal notes that
          substantially the same grounds were relied upon in support of the Respondents
          request for bifurcation, which the Respondents submitted "would maintain the
          present procedural calendar with respect to briefing on liability and the
          October hearing without imposing on Bloomberg the additional burden to
          respond to Claimants' new quantum arguments and evidence on a truncated
          timeframe"31°. In their further submissions on bifurcation in their letter dated
          August 5, 2015, the Respondents stated that "Bloomberry... is equally entitled to
          a fair opportunity prepare its case, which at this stage can only be
          accomplished by bifurcation" [emphasis added]. The request for bifurcation
          was granted by the Tribunal and the Respondents were also allowed until
          December 15, 2015 to file their Rejoinder on damages311.

    24.    The Tribunal also repeats and reaffirms the directions made in response to the
           Respondents' request in their November 20 Letter "to propound document
           requests related to Claimants' damages claims" (referenced at paragraph 2(b)
           above) i.e. that the Tribunal will consult with the Parties on the appropriate
           directions for the Remedies Phase of this arbitration.




309 See paras. 16 — 36 on the Privilege Log and paras. 140 — 148 on the Tribunal's findings on Cantor's Role in the
    Liability Award above.
310 See Respondents' Request for Bifurcation dated July 22, 2015.
311 See Procedural Order No. 11 dated August 12, 2015 ("PO 11").




                                                       128
    B.     "Claimant's continued leveraging of the procedural schedule resulted in a
          proceeding that disregarded Bloomberry's basic due process rights to be
          heard and to present its defence"

    25.   The table below records the actual dates of filing for the respective pleadings:

            Event                                                        Date
            Claimants' Statement of Claim                                September 8, 2014
            Respondents' Defense and Counterclaims                       December 7, 2014
            Respondents' Amended Defense and Counterclaims               February 2, 2015
            Claimants' Reply                                             June 15, 2015
            Respondents' Rejoinder                                       September 4, 2015

    26.   The Tribunal is satisfied that, taking the circumstances individually and as a
          whole, the Parties were afforded a fair and reasonable opportunity to present
          their respective cases and that the procedural timetable for the Liability Phase of
          this arbitration was in accordance with the applicable rules and the Parties' due
          process rights.

    27.   The Tribunal also notes that the Respondents have not provided any illustrations
          of how additional time in respect of any one or more of the procedural deadlines
          above would have made a real difference to any of the pleaded grounds
          advanced by either party in the Liability Phase of this arbitration.

    28.   Further, the substance of the Respondents' protestations is substantially the
          same as that previously relied upon in support of the Respondents' request for
          bifurcation312. In respect of the bifurcation request, the following points are
          especially salient:

          (a)         The Respondents themselves submitted that bifurcation "into a liability
                     phase and a quantum phase will enable the Tribunal to maintain the
                     present procedural calendar without depriving Bloomberry of a full and
                     fair opportunity to respond in a meaningful way to Claimants' damages
                     case". The Respondents expressly prayed that "Bloomberry s Rejoinder
                      (limited to the merits of Claimants' claims for improper termination of
                      the MSA and to Bloomberg 's counterclaims) would be filed on
                     September 4, 2015, and the merits hearing would be held October 15-
                     24, 2015 in Singapore".

312 See Respondents' Request   for Bifurcation dated July 22, 2015 and further submissions in their letter dated
   August 5, 2015.



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      (b)    The thrust of the Respondents' bifurcation case was based on the
             following:

             (i)     Its "substantial concern that Claimants wholly withheld their
                     damages case, including all supporting evidence and expert
                     reports" until the Reply;

             (ii)    That it was only in the Reply that the "Claimants first
                     articulated and quantified damages and provided any evidence
                     at all in support of these claims" (emphasis added);

            (iii)     That the "Claimants raise an entirely new damages claim" and
                     "also articulate the theories underlying their damages claims
                     for thefirst time" (emphasis added);

            (iv)     That the "Claimants' damages case spans nearly 80 pages
                     (more than half of their "Reply" brief)" (emphasis added); and

             (v)     The Respondents' position at the time of the request was that
                     "[ill bifurcation is denied, Bloomberg will not be able to
                     respond to Claimants' damages case" and that the restoration of
                     its "fair opportunity prepare its case [sic]" could "only be
                     accomplished by bifurcation" (emphasis added).

29. By PO 11 the Tribunal granted the Respondents' request for bifurcation and
    allowed it until December 15, 2015 for the Respondents to file their Rejoinder
    on damages. Having prayed for this "remedy" in such stark terms in their
    Request for Bifurcation, the Respondents have not been able to demonstrate the
    basis for their attempted resurrection of these objections at this stage, especially
    given that they mostly relate to the Claimants' damages case in their Reply.
    Further, with the bifurcation of the proceedings and the fresh, separate timelines
    for the Remedies Phase, the Respondents have not suffered any demonstrated
    prejudice in respect of the Liability Phase of this arbitration.

30.   In respect of the additional documents filed by both the Claimants and the
      Respondents, the following records the chronology of material events:

      (a)    The Respondents filed their Rejoinder on Liability on September 4,
             2015.


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(b)   On September 11, 2015, a pre-hearing telephone conference was held.
      The Claimants suggested responding to any new evidence in the
      Respondents' Liability Rejoinder by way of direct examination of
      witnesses during the hearing. The Respondents' rejected this and
      proposed instead that the Claimants submit "supplemental declarations"
      of their witnesses. The Parties, in consultation with the Tribunal,
      eventually agreed to the Respondents' proposal.

(c)   That agreement was memorialized in Procedural Order No. 12 dated
      September 17, 2015 ("PO 12"). The relevant part of paragraph 4
      provided that there would be "No direct examination (other than
      introduction of the witness or expert), however Claimants may file, no
      later than October 5, 2015, supplemental declarations related to new
      evidence submitted by Respondents with the Rejoinder. Cross-
      examination shall be limited in scope to the witness 's declaration".

(d)   On October 5, 2015, the Claimants filed their supplemental declarations
      consisting of five witness declarations and two expert reports (the
      "Claimants' Supplemental Documents").

(e)   On October 7, 2015, the Respondents wrote to the Tribunal to state, inter
      alia, the following:

          "Bloomberry respectfully requests at least that the hearing on
          the merits be postponed so that it may have some meaningful
          opportunity to consider and be heard with respect to the
          massive 11th hour submission that Claimants elected to make.
          Given that a further hearing is already contemplated with
          respect to remedies, Bloomberry submits that for the oral
          proceeding concerning the merits to take place at the same
          time as the oral proceeding concerning the remedies (which
          was postponed due to Claimants' tactical withholding and late
          provision of materials regarding their damages request) so as
          to lessen to some degree the unfair prejudice to Bloomberry of
          the procedural imbalance Claimants have created.

          Should the Tribunal not wish at this point to alter the schedule
          by ordering a single oral proceeding on both merits and
          remedies, Bloomberry submits that, at a minimum, the


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                          examination of the witnesses and experts who submitted
                          additional statements and exhibits Monday night should not
                          take place during the oral hearing that is to commence next
                          week Those examinations, at least, should take place during
                          the subsequent oral hearing. This would also mean that
                          Bloomberg 's witnesses and experts directly concerned by
                          Claimants' submission of Monday night, and who are to be
                          expected to address the extensive new materials, should be
                          examined at the next evidentiary hearing as well. To do
                          otherwise would be to tolerate serious procedural inequality
                          and deny fundamentalfairness to Bloomberg."

           (f)      On October 9, 2015, the Tribunal issued Procedural Order No. 13 ("PO
                    13") in which it noted that "the opportunity to file supplemental
                    declarations was in lieu of direct examination opposed by Respondents
                    who wished to avoid surprises at the hearing for which they could not
                    prepare" and, after considering the arguments of the Parties, rejected the
                    request for postponement.

           (g)      On October 13, 2015, the Respondents requested that, "in light of
                    Claimants' submission of witness statements, expert reports, factual
                    exhibits, and legal authorities", a number of their own additional
                    exhibits (consisting of approximately twenty one documents) should "be
                    included in the record of the Arbitration and also be available for cross
                    and rebuttal" (the "Respondents' Supplemental Documents").

           (h)      On October 15, 2015, at the opening of the first day of the Liability
                    Hearing, the Tribunal heard each of the Parties on the other's
                    Supplemental Documents313. The Tribunal then issued the following
                    directions314:

                          "As regards the documents filed recently by respondents, we
                          will take them in the record provisionally, and as we go along
                          and see what use you make of them, we will consider it at the
                          time specifically on each document, what we do as you use it."




313 Transcript (October 15) from p 2, line 23 top 8, lines 1.
314 Transcript (October 15) from p 91, line 12 —17.




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    31.   With regard to each of the steps above, the Tribunal heard the submissions of
          both Parties, considered the principles of equality of treatment in arbitration and
          the need to afford each party a fair opportunity to be heard, and applied the
          relevant rules that guided its procedural and evidentiary powers, including IBA
          Rules 2010 and the UNCITRAL Arbitration Rules 2010 and arrived at this
          decision accordingly.

    32.   In respect of the Claimants' Supplemental Documents, the Respondents suggest
          that "[iJt was a denial offundamental procedural fairness for Bloomberry to be
          required to address such extensive materials during a single week immediately
          before an oral hearing was scheduled to begin and without being given the right
          to put witness testimony." The method and deadline for the submission of the
          Claimants' Supplemental Documents were agreed by the Parties and recorded in
          paragraph 4 of PO 12. The Respondents then proceeded to file their own
          Supplemental Documents eight days later, which were provisionally admitted
          by the Tribunal.

    33.   In their November 20 Letter, the Respondents specifically (and only) pointed to
          the report of Professor Subramanian. The Tribunal considered the report fully
          but did not find it of substantial assistance in reaching the findings and
          conclusions on liability in this Liability Award, particularly since Professor
          Subramanian was opining on US law rather than the governing law of this
          dispute.

    34.   With regard to the Respondents' Supplemental Documents that were
          provisionally admitted on to the record on the first day of the hearing315, the
          Tribunal notes that the Respondents did not refer to any of those documents
          during the course of the nine-day Liability Hearing.

    35.   When considered again with the benefit of hindsight and the submissions of
          both Parties, the Tribunal affirms that it is satisfied that the decisions and/or
          directions it made in each of the instances above, when considered individually
          and cumulatively, were within the bounds of the applicable rules and respected
          the Parties' due process rights.

    36.   In respect of the Respondents' allegation that "Bloombeny's witnesses were not
          permitted to testify in response to questions from the Tribunal that would clarify
          positions put forward by both sides", the Tribunal has reviewed the transcripts


315 See paragraph 30(h) above.




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           of the nine-day Liability Hearing and is satisfied that the relevant rules were
           duly applied and that the Parties were each given a fair opportunity to present its
           case.

    37.    The example cited in the Respondents' November 20 Letter316 simply relates to
           objections raised by the Claimants which, after consideration, the Tribunal
           sustained in accordance with the applicable rules.

    C.    "Claimants improper interim measures request expedited the Tribunal's
          consideration of the merits of the case, on an incomplete and distorted record,
          resulting in preconceived notions of Bloomberry's positions and
          counterclaims before Bloomberry had the opportunity to put forward its case"

    38.   The Respondents make several allegations regarding the conduct of the
          Claimants in relation to the Request for Interim Measures of Protection (the
          "Request") and its purported effect on the Tribunal. At the outset, the Tribunal
          highlights the following:

           (a)     As noted in page 19 — 20 of the Claimants' December 1 Letter, the
                   Respondents' submissions relating to the Request were not raised by the
                   Respondents' counsel on the last day of the hearing 317 and were
                   therefore beyond the scope of the Tribunal's directions on matters to be
                   addressed by the Respondents in the November 20 Letter;

           (b)     Between the issuance of the Tribunal's Order on the Claimants' Request
                   for Interim Measures dated December 9, 2014 (the "Order") and the
                   November 20 Letter, the Respondents did not raise any objections on
                   these matters; and

           (c)     To the Tribunal's knowledge, no challenges against the Order have been
                   made before the Tribunal or the courts of the seat (Singapore).

    39.    In any case the Tribunal shall address the gist of the Respondents' objections,
           among which are the following:




316 See pages 8 — 9 of the November 20 Letter.
317 See paragraph 321 above.




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      (a)   That the "Claimant's sought (and appear to have largely succeeded) to
            bias and prejudice the Tribunal against Bloomberry by submitting an
            extensive and overheated interim measures application";

      (b)   That the "Claimants upended the typical arbitral process by presenting
            the Shares as being disembodied and disconnectedfrom the dispute";

      (c)   The "extremely accelerated, abbreviated, and unbalanced basis on
            which the Claimants asked this Tribunal to resolve one of the ultimate
            issues in this Arbitration, out ofsequence with the UNCITRAL Rules and
            before Bloomberry had an opportunity to articulate its counterclaims";

      (d)   That the "period of time in which Bloomberry was required to respond
            to Claimants' sprawling submission was insufficient to prepare a full
            response";

      (e)   That "what should have been a preliminary hearing on an interim
            measures request became a full-blown substantive hearing on the
            merits";

      (f)   That the "interim measures hearing was replete with Claimants'
            unsubstantiated factual statements and misleading characterizations
            that colored the Tribunal's perspective and inaccurately framed the
            issues in this Arbitration"; and

      (g)   That the result of the "improper application" was that the "Arbitration
            was unmoored from the factual record and the Tribunal, in
            Bloomberg 's view, was improperly inflamed against it at a very early
            stage".

40.   The relevant procedural timetable concerning the Request is recorded at
      paragraphs 12 — 23 of the Order. The following points on the timetable are
      highlighted:

      (a)   Upon the Respondents' objection that the Request was not an
            application for interim measures within the meaning Article 26 of the
            UNCITRAL Rules 2010, both Parties were afforded an opportunity to be
            fully heard through written submissions on that point. The timelines for
            these written submissions were agreed between the Parties, in



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                    consultation with the Tribunal, at the teleconference on April 30,
                    2014318.

           (b)      In respect of the main proceedings on interim measures, the Parties were
                    unable — almost two months after the Request was filed — to agree on a
                    procedural timetable and also disagreed on other related procedural
                    matters. The Tribunal, after considering both Parties' positions and
                    concerns, exercised its case management powers in accordance with
                    Article 17 of the UNCITRAL Rules 2010 to set the appropriate timelines
                    and procedural directions for the Parties' written cases on interim
                    measures319.

           (c)      The Interim Measures Hearing took place from October 20 — 22, 2014,
                    nearly six months after the Request was first filed. The hearing was
                    moved from Singapore to Washington D.C. to accommodate the
                    Respondents' counse132°.

    41.    The Tribunal affirms that the Parties were afforded a fair, and in fact ample,
           opportunity to be heard on the matter of interim measures. The Tribunal also
           notes that beyond its bare statements of an "expedited", "extremely accelerated"
           and "truncated" timetable, the Respondents' November 20 Letter did not
           identify any specific basis which would have warranted more time for the
           Respondents. It is also unclear what (if anything) more time would have enabled
           the Respondents to do, which could have had a real and/or material bearing on
           the Tribunal determinations on the issues raised by the Request.

    42.    The Tribunal also affirms that the Request was considered and decided in
           accordance with the relevant provisions of the applicable law and rules, in
           particular section 12 of Singapore's International Arbitration Act (Cap. 143A)
           (the "IAA") read with Article 17 of the UNCITRAL Model Law (the First
           Schedule to the IAA) (being the relevant parts of the law of the seat) and Article
           26 of the UNCITRAL Rules 2010 (being the applicable rules as agreed by the
           Parties).

    43.    It is noted that much of the Respondents' complaints under this heading concern
           interim measures applications generally, which are by their very nature


318 See paragraphs 14 — 15 of the Order.
319 See Procedural Order No. 1 dated June 10, 2014.
320                        Order.
   See paras. 21 — 23 of the



                                                      136
          preliminary and provisional321. The applicable rules on such applications also
          require the Tribunal to consider whether there is a "reasonable possibility that
          the requesting party will succeed on the merits of the claim"322.

    44.   Since the Order was issued — more than a year ago — the Respondents have not
          raised any further complaints regarding the interim measures application or
          Order until its November 20 Letter, nor have any challenges been filed before
          the Tribunal or the courts of the seat (Singapore).

    45.   Finally, the Tribunal addresses the serious suggestion of "bias and prejudice"
          and/or that the Tribunal prejudged the material issues in this dispute during
          and/or as a result of the interim measures Request. The Tribunal expressly
          stated the following at paragraph 139 of the Order:

              "The Tribunal emphasises that it makes no declaration as to the
              ownership of the Shares, and has not pre-judged any aspect of each
              side's pleaded case, and Parties shall have the full opportunity to
              ventilate their respective cases at the merits hearing. Accordingly, the
              Tribunal defers any decision as to the declaration of the legal and/or
              beneficial ownership of the Shares to the merits phase of the Arbitration
              (which is the appropriate phase in which to determine this question)."

    46.   The Tribunal reiterates its conviction that its impartiality was not affected or
          hampered in any way. The Tribunal previously considered the written and oral
          submissions, evidence and applicable rules and arrived at its decision on interim
          measures as recorded in the Order.

    47.   Subsequently, the Tribunal has considered de novo the Parties' respective
          pleadings, written and oral submissions, witness statements/declarations,
          reports, exhibits and all such relevant materials submitted by the Parties in the
          Liability Phase of this arbitration and arrived at the reasoned conclusions in this
          Liability Award. In doing so, the Tribunal freshly reviewed the full evidence
          before it at the conclusion of the liability hearing, independently from the
          interim measures hearing and without relying upon the conclusions reached at
          the earlier phase.




321 See Article 26(2) of the UNCITRAL Rules 2010.
322 See Article 26(3)(b) of the UNCITRAL Rules 2010.




                                                       137
48.   The Tribunal also notes that, apart from referencing the Claimants' conduct
      during the interim measures proceedings, the Respondents have not raised any
      evidence of the Tribunal's actual or perceived bias which may give rise to
      justifiable doubts as to its impartiality in this arbitration. No such challenges
      against one or more members of the Tribunal have been filed by either Party,
      whether to the Tribunal or to the courts of the seat (Singapore).

D.    "The Tribunal issued an Interim Measures Order in disregard and violation
      of the procedures it had established and to which the Parties agreed"

49.   The Tribunal repeats the points at paragraph 38 above.

50.   In any case, the entirety of the submissions under this heading concern the
      findings and/or determinations made in the Order, and, in particular, the issue of
      the applicable burden of proof of each Parties' respective case on interim
      measures. In essence, these submissions suggest, but stop short of explicitly
      stating, that the Tribunal made errors of law in that Order. The Tribunal does
      not agree.

51.   In any event, those determinations do not affect or have any material bearing on
      the determinations and conclusions in this Liability Award. Notably, the
      Respondents have not sought any relief from the Tribunal under this heading. It
      is therefore, neither necessary nor appropriate for the Tribunal to address the
      correctness of the conclusions in the Order or the Respondents' substantive
      submissions under this heading in this Liability Award.

52.   In so far as the submissions under this heading relate to the conduct of the
      Parties before other fora, including the relevant Philippine courts, these by and
      large do not affect the material findings and conclusions in this Liability Award,
      and the Tribunal does not regard it as necessary or appropriate to comment on
      this. Wherever they are relevant, the Tribunal has objectively considered the
      submissions of both Parties and the exhibits of any relevant court documents
      that are part of the record.

53.   In so far as the submissions under this heading relate to the quantum of
      damages, these proceedings having been bifurcated, such submissions — in so
      far as they may be relevant — may be raised in the Remedies Phase of this
      arbitration.




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